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                    IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF DELAWARE

ALEX MIKULSKI, derivatively on behalf of
ALEXION PHARMACEUTICALS, INC.,
                                           C.A. No. ________________
      Plaintiff,

      vs.

LEONARD BELL, DAVID L. HALLAL,             DEMAND FOR JURY TRIAL
DAVID R. BRENNAN, LUDWIG N.
HANTSON, VIKAS SINHA, DAVID J.
ANDERSON, CARSTEN THIEL, ALVIN S.
PARVEN, ANDREAS RUMMELT, ANN M.
VENEMAN, M. MICHELE BURNS,
CHRISTOPHER J. COUGHLIN, JOHN T.
MOLLEN, FELIX J. BAKER, R. DOUGLAS
NORBY, WILLIAM R. KELLER, JOSEPH A.
MADRI, and LARRY L. MATHIS,

      Defendants,

      and

ALEXION PHARMACEUTICALS, INC.,

      Nominal Defendant.

              VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT
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                                       INTRODUCTION

       Plaintiff Alex Mikulski (“Plaintiff”), by his undersigned attorneys, derivatively and on

behalf of Nominal Defendant Alexion Pharmaceuticals, Inc. (“Alexion” or the “Company”), files

this Verified Shareholder Derivative Complaint against Individual Defendants Leonard Bell,

David L. Hallal, David R. Brennan, Ludwig N. Hantson, Vikas Sinha, David J. Anderson,

Carsten Thiel, Alvin S. Parven, Andreas Rummelt, Ann M. Veneman, M. Michele Burns,

Christopher J. Coughlin, John T. Mollen, Felix J. Baker, R. Douglas Norby, William R. Keller,

Joseph A. Madri, and Larry L. Mathis (collectively, the “Individual Defendants”) for breaches of

their fiduciary duties as directors and/or officers of Alexion, unjust enrichment, abuse of control,

gross mismanagement, waste of corporate assets, and violations of Sections 10(b), 14(a) and

20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and SEC Rules 10b-5 and

14a-9 promulgated thereunder. As for his complaint against the Defendants, Plaintiff alleges the

following based upon personal knowledge as to himself and his own acts, and information and

belief as to all other matters, based upon, inter alia, the investigation conducted by and through

Plaintiff’s attorneys, which included, among other things, a review of the Defendants’ public

documents, conference calls and announcements made by Defendants, United States Securities

and Exchange Commission (“SEC”), wire and press releases published by and regarding

Alexion, legal filings, news reports, securities analysts’ reports and advisories about the

Company, and information readily obtainable on the Internet. Plaintiff believes that substantial

evidentiary support will exist for the allegations set forth herein after a reasonable opportunity

for discovery.
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                                  NATURE OF THE ACTION

       1.      This is a shareholder derivative action that seeks to remedy wrongdoing

committed by Alexion’s directors and officers between January 30, 2014 and the present (the

“Relevant Period”).

       2.      Alexion is a biopharmaceutical company that develops and markets drugs to

patients with devastating and ultra-rare disorders.

       3.      Its lead product since its founding in 1992 has been Soliris® (eculizumab), which

is the first and only therapeutic approved for patients with either paroxysmal nocturnal

hemoglobinuria (“PNH”), a life-threatening and ultra-rare genetic blood disorder, or atypical

hemolytic uremic syndrome (“aHUS”), a life-threatening and ultra-rare genetic disease

       4.      Only 11,000 patients worldwide suffer from PNH and aHUS, collectively, and

thus the Company was under tremendous pressure to make sales of Soliris to that limited pool of

patients. To do this, the Individual Defendants engaged in several schemes during the Relevant

Period and made a plethora of false and misleading statements and omissions of material fact.

       5.      During the Relevant Period, the Individual Defendants engaged in and/or caused

the Company to engage in the following scheme: (1) management of the Company placed

immense and unsustainable pressure on salespeople to make sales of Soliris; and

(2) management of the Company encouraged salespeople to use unethical and potentially illegal

methods to secure patient orders of Soliris, including using misleading threats to doctors who did

not prescribe Soliris that their patient could die if Soliris was not prescribed, even though there

was insufficient evidence to indicate that use of Soliris lowers or even affects a patient’s risk of

death (collectively, the “Fraudulent Sales Pitch Misconduct”)




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       6.       Similarly, during the Relevant Period, the Individual Defendants engaged in

and/or caused the Company to engage in the following scheme: (1) management of the Company

encouraged and even applied pressure on personnel to use pull-in sales1 in order to meet certain

financial targets even if use of pull-in sales involved inappropriate business conduct, and senior

management applied particularly significant pressure on personnel to use pull-in sales to meet

targets during the fourth quarter of 2015; (2) senior management did not set an appropriate

“Tone at the Top,” which resulted in inappropriate business conduct, including conduct that was

inconsistent with, and in violation of, the Company’s policies and procedures; (3) Company

personnel did in fact engage in inappropriate business conduct to realize pull-in sales, as a result

of pressure from senior management; and (4) senior management failed to reinforce the need for

compliance with the Company’s policies and procedures which contributed to inappropriate

business conduct in connection with some pull-in sales, including conduct that was inconsistent

with, and in violation of, Company policies and procedures (collectively, the “Pull-in Sales

Misconduct”).

       7.       Between January 30, 2014 and May 26, 2017, the Individual Defendants willfully

or recklessly made and/or caused the Company to make false and misleading statements of

material fact that failed to disclose: (1) the Company’s engagement in the Fraudulent Sales Pitch

Misconduct; (2) the Company’s engagement in the Pull-in Sales Misconduct; and (3) that if

management stopped applying inappropriate pressure on salespeople and stopped encouraging

unethical use of the aforementioned sales methods, and instead reinforced compliance among the




1
 Generally, “pulling-in” refers to marketing and sales practices that seek to induce customers to
buy product beyond their actual current needs. “Pull-in” sales occur when a customer is
encouraged by a sales representative to place an order earlier than it needs to so that the selling
company can record the sale in an early financial quarter.


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sales force, the Company would not meet its sales targets, projections, and full-year guidance

(collectively, the “Adverse Material Facts Regarding Soliris Sales Methods”).

       8.      Moreover, during the Relevant Period, the Individual Defendants caused the

Company to engage in a conspiracy involving the use of patient advocacy groups (“PAGs”) to

file fraudulent lawsuits against the Brazilian government on behalf of patients, some of whom

did not even have the conditions that Soliris is indicated to treat, in order to get the Brazilian

authorities to pay for the patients’ purchases of Soliris (the “Fraudulent Lawsuit Scheme”).

       9.      In addition, during the Relevant Period, the Individual Defendants caused the

Company to engage in the following schemes, which are described in much further detail herein:

               (a) the Company relied on a team of in-house nurses, who worked with the
               Company’s sales team, to pressure patients and doctors to use Soliris, even
               if not in the patients’ interest (the “Nurse Coordination Scheme”);

               (b) the Company encouraged doctors to send patients’ test results to
               “partner labs,” which, in turn, would inappropriately share with Alexion
               the results of these tests so that Alexion could identify patients diagnosed
               with PNH and aHUS (i.e., potential customers) (the “Patient Information
               Scheme”); and

               (c) the Company made grants to patient advocacy groups so that Alexion
               could have greater access to patient populations, and the Company’s
               relatedly used certain of these groups to obtain illegal reimbursement for
               Soliris from foreign governments (the “Patient Advocacy Group
               Scheme”).

       10.     During the Relevant Period, in breach of their fiduciary duties, the Individual

Defendants personally made and/or caused the Company to make a series of materially false

and/or misleading statements to the investing public regarding the Company’s business,

operations, prospects, and legal compliance. Specifically, the Individual Defendants willfully or

recklessly made and/or caused the Company to make false and/or misleading statements and/or

omissions of material fact that failed to disclose: (1) the Adverse Material Facts Regarding

Soliris Sales Methods; (2) the Company and Individual Defendants’ engagement in the


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Fraudulent Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the

Nurse Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the

Patient Information Scheme; (5) the Company and Individual Defendants’ engagement in the

Patient Advocacy Group Scheme; (6) the real reasons for the abrupt departures of the Company’s

Chief Executive Officer (“CEO”) and Chief Financial Officer (“CFO”); and (7) that Alexion was

not maintaining effective internal controls or disclosure controls and procedures, and in fact had

a material weakness in such controls. As a result of the foregoing, the Company’s public

statements referenced herein were materially false and misleading at all relevant times.

          11.     Due to the artificial inflation of the Company’s stock price caused by the

foregoing misrepresentations, certain Individual Defendants profited handsomely from their

engagement in insider sales of Company stock, collectively selling over $356 million2 worth of

Company stock on material inside information.

          12.     Moreover, due to the artificial inflation of the Company’s stock price caused by

the foregoing misrepresentations and the Company’s engagement in the schemes described

herein, the Company overpaid $409.2 million for repurchases of its own stock through reckless

repurchase programs that were initiated and approved by the Individual Defendants during the

Relevant Period.

          13.     The Company’s schemes and misconduct have subjected Alexion to, inter alia:

(1) massive financial losses; (2) investigations by the SEC, U.S. Attorney’s Office for the

District of Massachusetts, the Department of Justice, the U.S. Department of Health and Human

Services’ Office of Inspector General, and Brazilian authorities; (3) significant monetary and

regulatory penalties; (4) the need to make massive layoffs; and (5) the need to move its

headquarters to another state, sacrificing state grants and cutting short obligations on state-
2
    Unless otherwise noted, all emphases added throughout.


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provided loans. Moreover, the Company was forced to expend considerable sums of money

dealing with a massive number of high-level resignations; between December 2016 and May

2017, Alexion announced the departure of (i) its CEO, (ii) two different CFOs, (iii) its founder

and Chairman of the Board, (iv) its Chief Compliance Officer, (v) its Chief Commercial Officer,

and (vi) two executive vice presidents.

           14.   In light of the Individual Defendants’ misconduct, which has subjected the

Company and 7 of its current and/or former officers and/or directors, including its former CEO,

former interim CEO, and two of its former CFOs, to being named as defendants in a consolidated

federal securities fraud class action lawsuit pending in the United States District Court for the

District of Connecticut, making claims for violations of the Exchange Act (the “Securities Class

Action”), and has also subjected the Company to the need to undertake internal investigations,

the need to implement adequate internal controls over its financial reporting, the losses from the

waste of corporate assets, including from over paying for repurchases of Company stock, the

losses due to the unjust enrichment of the Individual Defendants who were improperly over-

compensated by the Company and/or who benefitted from the wrongdoing alleged herein,

including through insider transactions, the Company will have to expend many millions of

dollars.

           15.   In light of the breaches of fiduciary duty engaged in by the Individual Defendants,

most of whom are the Company’s current directors, their collective engagement in fraud, the

substantial likelihood of the directors’ liability in this derivative action and certain Individual

Defendants’ liability in the Securities Class Action, their being beholden to each other, their

longstanding business and personal relationships with each other, and their not being

disinterested and/or independent directors, a majority of the Alexion Board of Directors (the




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“Board”) cannot consider a demand to commence litigation against themselves on behalf of the

Company with the requisite level of disinterestedness and independence.

                                  JURISDICTION AND VENUE

       16.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 because Plaintiff’s claims asserted herein arise under §§ 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b), 78t(a) and 78t-1), Section 14(a) of the Exchange Act (15 U.S.C. §

78n(a)), and SEC Rules 10b-5 (17 C.F.R. § 240.10b-5) and 14a-9 (17 CFR § 240.14a-9)

promulgated thereunder. This Court also has subject matter jurisdiction under § 27 of the

Exchange Act (15 U.S.C. § 78aa).

       17.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367(a).

       18.     This derivative action is not a collusive action to confer jurisdiction on a court of

the United States that it would not otherwise have.

       19.     Venue is proper in this District because Alexion is incorporated in this District.

In addition, the Defendants have conducted business in this District, and Defendants’ actions

have had an effect in this District.

                                            PARTIES

       Plaintiff

       20.     Plaintiff is a current shareholder of Alexion. Plaintiff has continuously held

Alexion common stock since he purchased it during the beginning of the Relevant Period.

       Nominal Defendant Alexion

       21.     Alexion is a Delaware corporation with its principal executive offices at 100




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College Street, New Haven, Connecticut 06510. 3 Alexion’s shares trade on the NASDAQ

Global Select Market under the ticker symbol “ALXN.”

         CEO Defendants

         Defendant Bell

         22.   Defendant Leonard Bell (“Bell”) was the principal founder of Alexion and served

as CEO of the Company from January 1992 to March 31, 2015. Bell served as a director from

1992 to May 10, 2017 and as Chairman of the Board from October 2014 (upon the death of the

Company’s longtime Chairman, Dr. Max Link) until May 10, 2017.              According to the

Company’s Schedule 14A on Form DEF 14A filed with the SEC on April 8, 2015 (the “2015

Proxy Statement”), as of March 9, 2015, Defendant Bell beneficially owned 1,690,924 shares of

Alexion common stock.4 Given that the price per share of the Company’s common stock at the

close of trading on March 9, 2015 was $184.91, Bell owned $312.67 million worth of Alexion

stock.

         23.   For the fiscal year ended December 31, 2014, Defendant Bell received

$20,570,703 in compensation from the Company, which included $1.2 million in base salary,

over $2 million in non-equity incentive plan compensation, and over $17 million in all other

compensation. For the fiscal year ended December 31, 2015, the year that Defendant Bell

resigned from his position as CEO, he received a whopping $24,918,377 with only $358,308

coming from his base salary.

         24.   The 2015 Proxy Statement stated the following about Defendant Bell:



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  On September 12, 2017, the Company announced that it would be relocating the Company’s
headquarters to Boston, Massachusetts in 2018.
4
  The Company also filed a Schedule 14A on Form DEF 14A with the SEC on April 15, 2013
(the “2013 Proxy Statement”), April 23, 2014 (the “2014 Proxy Statement”), March 31, 2016
(the “2016 Proxy Statement”), and March 31, 2017 (the “2017 Proxy Statement”).


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                The principal founder of Alexion and a director of Alexion since February
                1992. Dr. Bell was Alexion’s Chief Executive Officer since its founding in
                January 1992 until he retired as CEO on March 31, 2015. Dr. Bell was
                appointed Chairman of the Board in October 2014. From 1991 to 1992,
                Dr. Bell was an Assistant Professor of Medicine and Pathology and co-
                Director of the program in Vascular Biology at the Yale University School
                of Medicine. From 1990 to 1992, Dr. Bell was an attending physician at
                the Yale-New Haven Hospital and an Assistant Professor in the
                Department of Internal Medicine at the Yale University School of
                Medicine. Dr. Bell was a recipient of the Physician Scientist Award from
                the National Institutes of Health and Grant-in-Aid from the American
                Heart Association as well as various honors and awards from academic
                and professional organizations. His work has resulted in more than 20
                scientific publications and 9 patent applications. Dr. Bell received his A.B.
                from Brown University and M.D. from Yale University School of
                Medicine. Dr. Bell is currently an Adjunct Assistant Professor of Medicine
                and Pathology at the Yale University School of Medicine.5

         Defendant Hallal

         25.    Defendant David L. Hallal (“Hallal”) served as Alexion’s Chief Executive Officer

from April 1, 2015, until his resignation on December 12, 2016. Before that, he was Alexion’s

Chief Operating Officer (“COO”) since September 2014. Moreover, from May 2010 to October

2012, Hallal was Senior Vice President, Global Commercial Operations, and from November

2008 to May 2010, Hallal was Senior Vice President, Commercial Operations Americas. Lastly,

from June 2006 until November 2008, Hallal was Senior Vice President, US Commercial

Operations. According to the 2016 Proxy Statement, as of March 15, 2016, Defendant Hallal

beneficially owned 482,367 shares of the Company’s common stock. Given that the price per

share of the Company’s common stock at the close of trading on March 15, 2016 was $134.44,

Hallal owned over $64.85 million worth of Alexion stock.

         26.    For the fiscal year ended December 31, 2016, Defendant Hallal received

$13,136,341 compensation from the Company on a $1.15 million base salary.


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  Unless otherwise noted, formatting amended to fit this Complaint and emphases added
throughout.


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          27.   The 2016 Proxy Statement listed the following qualifications for Defendant

Hallal:

                (1) Extensive knowledge and experience with all aspects of Alexion’s
                business, (2) More than 27 years of experience in the biopharmaceutical
                industry, [and] (3) Extensive experience managing biopharmaceutical
                global commercial operations.

          28.   The 2016 Proxy Statement stated the following about Defendant Hallal:

                Mr. Hallal became Chief Executive Officer on April 1, 2015. Previously,
                he was Alexion’s Chief Operating Officer since September 2014. From
                October 2012 to September 2014, Mr. Hallal served as Alexion’s
                Executive Vice President, Chief Commercial Officer. From May 2010
                until October 2012, Mr. Hallal was Senior Vice President, Global
                Commercial Operations and was Senior Vice President, Commercial
                Operations, Americas from May 2008 until May 2010. Mr. Hallal joined
                Alexion in June 2006 to build and lead Alexion’s U.S. commercial
                operations, initially with the company’s first product launch of Soliris.
                Prior to joining Alexon in 2006, he had 18 years of commercial operations
                and leadership experience at a number of companies, including OSI
                Eyetech, Biogen, Amgen, and Upjohn and he was involved in multiple
                blockbuster product launches in the areas of hematology, oncology,
                nephrology and immunology. Mr. Hallal holds a BA in Psychology from
                the University of New Hampshire.

          Defendant Brennan

          29.   Defendant David R. Brennan (“Brennan”) served as Alexion’s interim CEO from

December 11, 2016 to March 27, 2017, when he was replaced by Defendant Ludwig N. Hantson.

He currently serves, and has served, as a Company director since 2014, and was appointed

Chairman of the Board on May 10, 2017. He is a member of the Board’s Pharmaceutical

Compliance and Quality Committee (the “Quality Compliance Committee”), Science and

Innovation Committee, and Strategy and Risk Committee. Defendant Brennan is also a director

at Innocoll Holdings plc and Insmed Incorporated, and has held directorships on the boards of

AstraZeneca plc and Reed Elsevier plc in the past five years. According to the 2016 Proxy

Statement, as of March 15, 2016, Defendant Brennan beneficially owned 7,017 shares of the



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Company’s common stock. Given that the price per share of the Company’s common stock at

the close of trading on March 15, 2016 was $134.44, Brennan owned over $943,000 worth of

Alexion stock.

       30.       For the fiscal year ended December 31, 2015, Defendant Brennan received

$320,082 in fees earned or cash paid as compensation from the Company for his role as a

director. For the fiscal year ended December 31, 2016, Defendant Brennan received over half-a-

million dollars from the Company as compensation for his short service as interim CEO and his

service as a director. The Company represented that Defendant Brennan’s base salary for 2016

was set at $6 million.

       31.       The 2017 Proxy Statement listed the following qualifications for Defendant

Brennan:

                 (1) Extensive experience as an executive leader in the pharmaceutical
                 industry, serving as chief executive officer of one of the largest
                 multinational pharmaceutical companies in the world, (2) Significant
                 industry and regulatory knowledge from a more than 39 year career in the
                 pharmaceutical industry and serving as a director on multiple public
                 company and industry trade group boards, (3) Extensive experience
                 evaluating and developing complex strategic business plans, (4) Brings
                 valued operational perspectives to the Board on matters of talent recruiting
                 and development, executive compensation, benefits and leadership, [and]
                 (5) Extensive global and M&A experience.

       32.       The 2017 Proxy Statement also stated the following about Defendant Brennan:

                 Mr. Brennan served as Interim Chief Executive Officer of Alexion from
                 December 11, 2016 to March 27, 2017. From 2006 to 2012 he was Chief
                 Executive Officer and Executive Director of AstraZeneca PLC, one of the
                 world’s largest pharmaceutical companies. Mr. Brennan worked for
                 AstraZeneca in increasing roles of responsibility from 1992 through 2012,
                 including as Executive Vice President of North America from 2001 to
                 2006, and as Senior Vice President of Commercialization and Portfolio
                 Management from 1999 to 2001. Prior to the merger of Astra AB and
                 Zeneca Plc, he served as Senior Vice President of Business Planning and
                 Development of Astra Pharmaceuticals LP, the American subsidiary of
                 Astra AB. Mr. Brennan began his career at Merck and Co. Inc., where he
                 rose from Sales Representative in the U.S. Division to General Manager of


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                 Chibret International, a French subsidiary of Merck. He received a BA in
                 business administration from Gettysburg College, where he is a member
                 of the Board of Trustees.

       Defendant Hantson

       33.       Defendant Ludwig N. Hantson (“Hantson”) has served as Alexion’s CEO since

March 27, 2017, when the Board approved him to replace interim CEO Brennan. He has also

been a Company director since that time. Defendant Hantson has served on the boards of

Baxalta Incorporated and Baxter International Inc. in the past five years.

       34.       The 2017 Proxy Statement stated the following about Defendant Hantson:

                 Dr. Hantson became Chief Executive Officer of Alexion on March 27,
                 2017. Prior to joining Alexion, Dr. Hantson was President and Chief
                 Executive Officer of Baxalta Incorporated. He led Baxalta’s successful
                 spin-off as a public company from Baxter International Inc. in July 2015
                 where he was President of Baxter BioScience. He joined Baxter in May
                 2010 and established the BioScience division as an innovative specialty
                 and rare disease company with a pipeline of 25 new product candidates,
                 and 13 products launches. Prior to Baxter, from 2001 - 2010, Dr. Hantson
                 held several leadership roles at Novartis AG, including CEO of Pharma
                 North America, CEO of Europe, and President of Pharma Canada. Prior to
                 Novartis, Dr. Hantson spent 13 years with Johnson & Johnson in roles of
                 increasing responsibility in marketing and research and development. Dr.
                 Hantson received his Ph.D. in motor rehabilitation and physical therapy,
                 Master’s degree in physical education, and a certification in high
                 secondary education, all from the University of Louvain in Belgium.

       CFO Defendants

       Defendant Sinha

       35.       Defendant Vikas Sinha (“Sinha”) served as Alexion’s CFO and Senior Vice

President from September 2005 until his resignation on December 12, 2016. According to the

2015 Proxy Statement, as of March 9, 2015, Defendant Sinha beneficially owned 403,421 shares

of Alexion common stock. Given that the price per share of the Company’s common stock at the

close of trading on March 9, 2015 was $184.91, Sinha owned over $74.6 million worth of

Alexion stock.


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           36.   For the fiscal year ended December 31, 2015, Defendant Sinha received

$4,736,454 in compensation from the Company, which included $670,000 in base salary,

$700,000 in non-equity incentive plan compensation, and over $3.3 million in all other

compensation.

           37.   The Company has described Defendant Sinha’s experience as follows:

                 From June 1994 to August 2005, Sinha held various positions with Bayer
                 AG in the United States, Japan, Germany, and Canada, most recently
                 serving since February 2001 as Vice President and Chief Financial Officer
                 of Bayer Pharmaceuticals Corporation, USA. At Bayer, Mr. Sinha has
                 been responsible for financial and business risk management, strategic
                 planning, contracting, customer services, information systems, and supply
                 chain and site administration in North America. Mr. Sinha was also a
                 member of the Pharmaceutical Management Committee for North
                 America. Prior to his appointment in the United States, Mr. Sinha was
                 Vice President and Chief Financial Officer of Bayer Yakuhin Ltd., in
                 Japan and Manager, Mergers and Acquisitions with Bayer AG in
                 Germany. He began his career at Bayer in Toronto as part of an executive
                 development program in the healthcare division. Prior to Bayer, Mr. Sinha
                 held several positions of increasing responsibilities with ANZ Bank and
                 Citibank in South Asia. Mr. Sinha holds a Masters of Business
                 Administration from the Asian Institute of Management which included an
                 exchange program with the University of Western Ontario (Richard Ivey
                 School of Business). He is also a qualified Chartered Accountant from the
                 Institute of Chartered Accountants of India and a CPA in the United
                 States.

           Defendant Anderson

           38.   Defendant David J. Anderson (“Anderson”) served as Alexion’s CFO from

December 12, 2016 until his resignation, which became effective on July 31, 2017 (he resigned

from the Company completely on or around August 31, 2017). On July 31, 2017, Anderson was

officially replaced by Paul J. Clancy, who assumed the roles of CFO and principal financial

officer.

           39.   In fiscal 2016, Defendant Anderson was paid over $1.18 million for holding his

position for 14 work-days, and was given a base salary of $4,550,000.



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       40.      The Company stated the following about Defendant Anderson:

                David J. Anderson, M.B.A. has been with Alexion since December 2016,
                serving as Executive Vice President and Chief Financial Officer. Prior to
                joining Alexion, Mr. Anderson served as Senior Vice President and Chief
                Financial Officer of Honeywell International from 2003-2014, where he
                was responsible for all corporate finance activities including accounting,
                treasury, tax, audit, investments, financial planning and acquisitions, and
                was integral to the reshaping of the company’s business portfolio. Prior to
                joining Honeywell, Mr. Anderson was Senior Vice President and Chief
                Financial Officer of ITT Industries, as well as Newport News
                Shipbuilding. Previously, he also held senior financial positions with RJR
                Nabisco and the Quaker Oats Company. Mr. Anderson serves on the
                Boards of several public companies, including Cardinal Health, a Fortune
                20 leader in healthcare products and services. Mr. Anderson received a
                Bachelor of Science in Economics from Indiana University and a Masters
                of Business Administration from the University of Chicago (Booth School
                of Business).

       Other Executive Officer Defendants

       Defendant Thiel

       41.      Defendant Carsten Thiel (“Thiel”) served as Alexion’s Chief Commercial Officer

(“CCO”) from September 2015 until June 1, 2017. According to the 2016 Proxy Statement, as

of March 15, 2016, Defendant Thiel beneficially owned 46,425 shares of the Company’s

common stock. Given that the price per share of the Company’s common stock at the close of

trading on March 15, 2016 was $134.44, Thiel owned over $6.24 million worth of Alexion stock.

       42.      For the fiscal year ended December 31, 2016, Defendant Thiel received

$4,187,952 in compensation from the Company, which included $686,069 in base salary,

$438,000 in non-equity incentive plan compensation, and about $3 million in all other

compensation.

       43.      The Company has stated the following about Defendant Thiel:

                Carsten Thiel, Ph.D. has been with Alexion since September 2014 and has
                served as Chief Commercial Officer since September 2015. From January
                2015 to September 2015, Mr. Thiel served as Senior Vice President
                EMEA and Asia Pacific and from September 2014 to January 2015, Mr.


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              Thiel was Senior Vice President EMEA and Australasia-Canada. Prior to
              joining Alexion, Mr. Thiel served in various senior leadership positions at
              Amgen from 2002 to 2014, including Vice President, Head of Europe,
              General Manager, Germany, General Manager, CEE and Head of the
              Oncology Franchise in Europe. Prior to Amgen, Mr. Thiel held several
              sales and marketing leadership roles across Europe at Roche. Mr. Thiel
              has a Master Degree in Biochemistry from the University of Marburg,
              Germany, and a Ph.D. in Molecular Biology and Biochemistry from the
              Max Planck Institute, Germany.

       Director Defendants

       Defendant Parven

       44.    Defendant Alvin S. Parven (“Parven”) has served as a Company director since

1999 but has notified the Board that he will not stand for re-election at Alexion’s 2018 annual

meeting of shareholders. He is a member of the Company’s Audit and Finance Committee,

Leadership and Compensation Committee, and Nominating and Corporate Governance

Committee. According to the 2015 Proxy Statement, as of March 9, 2015, Defendant Parven

beneficially owned 43,161 shares of Alexion common stock. Given that the price per share of

the Company’s common stock at the close of trading on March 9, 2015 was $184.91, Parven

owned about $8 million worth of Alexion stock.

       45.    For the fiscal year ended December 31, 2015, Defendant Parven received

$328,805 in fees earned or cash paid as compensation from the Company.

       46.    The 2017 Proxy Statement lists the following qualifications for Defendant Parven:

              (1) More than 30 years in executive management positions at a
              multinational insurance company, (2) Extensive experience in managing
              developed organizations that provide specialized and technical services,
              particularly in the areas of health insurance and benefits, (3) Possesses
              extensive experience in provider operations, which brings an important
              perspective to the Board and to management on matters of reimbursement,
              (4) Brings valued operational perspectives to the Board on matters of
              talent recruiting and development, executive compensation, benefits and
              leadership, [and] (5) Extensive global and deep M&A experience.

       47.    The 2017 Proxy Statement also stated the following about Defendant Parven:


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                 Mr. Parven has been President of ASP Associates, a management and
                 strategic consulting firm, since 1997. From 1994 to 1997, Mr. Parven was
                 Vice President at Aetna Business Consulting, reporting to the Office of the
                 Chairman of Aetna. From 1987 to 1994, Mr. Parven was Vice President,
                 Operations at Aetna Health Plans. Prior to 1987, he served in various
                 capacities at Aetna including Vice President, Pension Services from 1983
                 to 1987. Mr. Parven is a trustee of the Employee Retirement Board of the
                 Town of Palm Beach and a director of the Palm Beach Civic Association.
                 Mr. Parven received his B.A. from Northeastern University.

       Defendant Rummelt

       48.       Defendant Andreas Rummelt (“Rummelt”) has served as a Company director

since 2010. He is Chair of the Quality Compliance Committee, and a member of the Science and

Innovation Committee and the Strategy and Risk Committee. According to the 2015 Proxy

Statement, as of March 9, 2015, Defendant Rummelt beneficially owned 23,308 shares of

Alexion common stock. Given that the price per share of the Company’s common stock at the

close of trading on March 9, 2015 was $184.91, Rummelt owned over $4.3 million worth of

Alexion stock.

       49.       For the fiscal year ended December 31, 2015, Defendant Rummelt received

$345,082 in fees earned or cash paid as compensation from the Company.

       50.       The 2017 Proxy Statement lists the following qualifications for Defendant

Rummelt:

                 (1) More than 25 years in the areas of pharmaceutical manufacturing,
                 quality and technical development, providing an important perspective to
                 the Board and to management, (2) More than 20 years in executive
                 management positions in the pharmaceutical industry, including as a chief
                 executive officer and as a senior executive of a large, multinational
                 pharmaceutical company, [and] (3) Possesses a broad understanding of
                 international business operations, particularly with respect to
                 manufacturing, quality and technical matters

       51.       The 2017 Proxy Statement also stated the following about Defendant Rummelt:

                 Dr. Rummelt has served as the Chief Executive Officer of
                 InterPharmaLink AG, a management consulting firm focused on advising


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              companies in the healthcare industry, since July 2011. From December
              2008 until January 2010, Dr. Rummelt was Group Head of Quality
              Assurance and Technical Operations at Novartis. He had been a member
              of the Executive Committee of Novartis from January 2006 until his
              resignation in January 2010. He joined Sandoz Pharma Ltd. in 1985 and
              held various positions of increasing responsibility in development. In
              1994, he was appointed Head of Worldwide Technical Research and
              Development, a position he retained following the merger that created
              Novartis in 1996. From 1999 to 2004, Dr. Rummelt served as Head of
              Technical Operations of the Novartis Pharmaceuticals Division and from
              2004 to 2008 as Head of Sandoz. Dr. Rummelt graduated with a Ph.D. in
              pharmaceutical sciences from the University of Erlangen-Nuernberg,
              Germany.

       Defendant Veneman

       52.    Defendant Ann M. Veneman (“Veneman”) has served as a Company director

since February 2010. She is Chair of the Nominating and Corporate Governance Committee,

and a member of the Pharmaceutical Compliance and Quality Committee and the Strategy and

Risk Committee. Defendant Veneman is also a director at Nestle SA, and has been a director at

S&W Seed Company within the past five years. According to the 2015 Proxy Statement, as of

March 9, 2015, Defendant Veneman beneficially owned 29,342 shares of Alexion common

stock. Given that the price per share of the Company’s common stock at the close of trading on

March 9, 2015 was $184.91, Veneman owned over $5.4 million worth of Alexion stock.

       53.    For the fiscal year ended December 31, 2015, Defendant Veneman received

$345,082 in fees earned or cash paid as compensation from the Company.

       54.    The 2017 Proxy Statement lists the following qualifications for Defendant

Veneman:

              (1) An attorney who has dedicated more than 25 years to government
              service, including senior national and international positions, (2) Led state
              and federal government agencies and an international organization,
              (3) Possesses extensive experience working with government leaders and
              organizations, (4) Worked closely with national governments throughout
              the world and possesses a deep understanding of international political
              organizations, and (5) Public service experience brings an important


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              perspective to the Board and an important understanding of state and
              federal government and international organizations.

       55.    The 2017 Proxy Statement also stated the following about Defendant Veneman:

              Ms. Veneman served as Executive Director of UNICEF, appointed by the
              United Nations Secretary General, from May 2005 until April 2010. As
              Executive Director, Ms. Veneman worked on behalf of the United Nations
              children’s agency to help children around the world by advocating for and
              protecting their rights. Ms. Veneman was responsible for more than
              11,000 UNICEF staff members in more than 150 countries. Prior to
              joining UNICEF, Ms. Veneman served as Secretary of the U.S.
              Department of Agriculture, or USDA, from January 2001 until January
              2005. From 1986 until 1993, she served in various positions at the USDA,
              including Deputy Secretary, Deputy Undersecretary for International
              Affairs and Commodity Programs, and Associate Administer of the
              Foreign Agricultural Service. From 1995 until 1999, Ms. Veneman served
              as Secretary of the California Department of Food and Agriculture. Ms.
              Veneman has also practiced law in Washington, DC and California in both
              the private and public sectors. Ms. Veneman serves on the not-for-profit
              boards of the Global Health Innovative Technology Fund and Just Capital.
              Ms. Veneman received a B.A. from the University of California, Davis, a
              Master’s degree in Public Policy from the University of California,
              Berkeley, and a J.D. from the University of California, Hastings College
              of Law.

       Defendant Burns

       56.    Defendant M. Michele Burns (“Burns”) has served as a Company director since

2014. She is Chair of the Strategy and Risk Committee, and a member of the Leadership and

Compensation Committee, and the Nominating and Corporate Governance Committee.

Defendant Burns also serves as a director for The Goldman Sachs Group, Cisco Systems, Inc.,

Etsy, Inc., and AB InBev, in addition to having served on the board of Wal-Mart Stores, Inc. in

the past five years. According to the 2015 Proxy Statement, as of March 9, 2015, Defendant

Burns beneficially owned 20 shares of Alexion common stock. Given that the price per share of

the Company’s common stock at the close of trading on March 9, 2015 was $184.91, Burns

owned about $3,700 worth of Alexion stock.




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         57.   For the fiscal year ended December 31, 2015, Defendant Burns received $345,082

in fees earned or cash paid as compensation from the Company.

         58.   The 2017 Proxy Statement listed the following qualifications for Defendant

Burns:

               (1) Extensive experience and expertise in executive management, human
               resources, finance, strategy and operations of global organizations,
               (2) Broad experience serving on public company and non-profit boards
               provides valued perspective on corporate governance, executive
               compensation and strategic matters, and (3) Extensive experience in
               financial accounting and reporting.

         59.   The 2017 Proxy Statement also stated the following about Defendant Burns:

               From 2006 to 2012, Ms. Burns served as the Chairwoman and Chief
               Executive Officer of Mercer LLC, a subsidiary of Marsh & McLennan
               Companies, Inc. (MMC), a global professional services and consulting
               firm. She currently serves as Center Fellow and Strategic Advisor,
               Stanford University Center on Longevity. She served in senior executive
               roles with MMC, including as Chief Executive Officer, Retirement Policy
               Center sponsored by MMC from 2012 to 2014, Chief Executive Officer of
               Mercer from 2006 to 2012, and Executive Vice President and Chief
               Financial Officer of MMC in 2006. From 2004 to 2006, Ms. Burns served
               as Executive Vice President, Chief Financial and Chief Restructuring
               Officer for Mirant Corporation. From 1999 to 2004 she worked in
               increasing roles of responsibility at Delta Air Lines, serving as Executive
               Vice President and Chief Financial Officer of Delta from 2000 to 2004.
               Michele began her career with Arthur Andersen, and over an 18-year
               tenure rose to Senior Partner, leading Andersen’s Southern Region Federal
               Tax Practice, heading its U.S. Healthcare Tax Practice and its
               Southeastern Region Financial Services Tax Practice, and serving on its
               Global Advisory Council. Ms. Burns also serves on the Executive Board
               and as Treasurer of the Elton John Aids Foundation. She received a BBA
               in business administration and a Master of Accountancy from the
               University of Georgia.

         Defendant Coughlin

         60.   Defendant Christopher J. Coughlin (“Coughlin”) has served as a Company

director since 2014. He is Chair of the Audit and Finance Committee, and a member of the

Nominating and Corporate Governance Committee and the Quality Compliance Committee.



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Defendant Coughlin also serves as a director for Allergan plc and Dun & Bradstreet Corp., and

has served on the boards of Covidien Ltd., Dipexium Pharmaceuticals, Forest Laboratories, and

Hologic Inc. in the past five years. According to the 2015 Proxy Statement, as of March 9, 2015,

Defendant Coughlin owned no shares of Alexion common stock.

       61.    For the fiscal year ended December 31, 2015, Defendant Coughlin received

$339,615 in fees earned or cash paid as compensation from the Company.

       62.    The 2017 Proxy Statement listed the following qualifications for Defendant

Coughlin:

              (1) Extensive experience in complex financial and accounting matters,
              including public accounting and reporting, (2) Extensive experience
              evaluating and developing strategic goals for global organizations, [and]
              (3) Broad experience serving on public international and domestic
              company boards provides valued perspective on corporate governance and
              financial matters.

       63.    The 2017 Proxy Statement stated the following about Defendant Coughlin:

              Mr. Coughlin served as Advisor to the Chairman and CEO of Tyco
              International Ltd., a global provider of diversified products, services and
              industries, from 2010 to 2012, and as Executive Vice President and Chief
              Financial Officer of Tyco from 2005 to 2010, during a period of
              significant international growth and restructuring. Mr. Coughlin
              previously served at the Interpublic Group of Companies, Inc. as
              Executive Vice President, Chief Operating Officer from 2003 to 2004.
              From 1998 to 2003, he served as Executive Vice President and Chief
              Financial Officer of Pharmacia Corporation. From 1997 to1998 he was
              President, International at Nabisco Group Holdings and from 1996 to 1997
              was Executive Vice President and Chief Financial Officer of Nabisco.
              From 1981 to 1996, Mr. Coughlin held various positions with Sterling
              Winthrop Incorporated, including Chief Financial Officer. Mr. Coughlin
              received a BS in accounting from Boston College.

       Defendant Mollen

       64.    Defendant John T. Mollen (“Mollen”) has served as a Company director since

2014. He is Chair of the Leadership and Compensation Committee, and a member of the Audit

and Finance Committee and the Nominating and Corporate Governance Committee. According


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to the 2015 Proxy Statement, as of March 9, 2015, Defendant Mollen beneficially owned 2,785

shares of Alexion common stock. Given that the price per share of the Company’s common

stock at the close of trading on March 9, 2015 was $184.91, Mollen owned about $515,000

worth of Alexion stock.

       65.    For the fiscal year ended December 31, 2015, Defendant Mollen received

$336,359 in fees earned or cash paid as compensation from the Company.

       66.    The 2017 Proxy Statement listed the following qualifications for Defendant

Mollen:

              (1) Significant experience in executive compensation policy and
              administration, (2) More than 30 years as chief human resources senior
              executive, (3) Extensive operational experience leading human resource
              function for large, public, complex, global organizations, including a
              Fortune 200 company, (4) Brings valued operational perspectives to the
              Board on matters of talent recruiting and development, executive
              compensation, benefits and leadership, [and] (5) Extensive global and
              deep M&A experience,

       67.    The 2017 Proxy Statement stated the following about Defendant Mollen:

              Mr. Mollen served as Executive Vice President, Human Resources of
              EMC Corporation from May 2006 until his retirement in February 2014,
              including two years as special advisor to the President. He joined EMC as
              Senior Vice President, Human Resources in September 1999. Prior to
              joining EMC, Mr. Mollen was Senior Vice President of Human Resources
              with Citigroup Inc., a financial services company, from July 1997 -
              September 1999. Prior to Citigroup, he held a number of positions of
              increasing responsibility with Harris Corp., an international
              communications and technology company, including Vice President of
              Administration. Mr. Mollen serves as a director for a number of not-for-
              profit and professional boards, including the New England Healthcare
              Institute, the HR Policy Association, and the Center on Executive
              Compensation, and is an advisory board member for Working Mother
              magazine, and he is Chairman of the Board of Trustees of Worcester
              Polytechnic Institute. Mr. Mollen received a B.A. in Economics from St.
              John Fisher College, and a Master’s degree in Labor Relations from St.
              Francis College in Pennsylvania.




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         Defendant Baker

         68.   Defendant Felix J. Baker (“Baker”) has served as a Company director since 2015.

He is Chair of the Science and Innovation Committee, and a member of the Quality Compliance

Committee and the Strategy and Risk Committee. Defendant Baker also serves as a director for

Genomic Health, Inc. and Seattle Genetics, Inc., and has served on the boards of Synageva

BioPharma Corp. and Ardea Bioscience, Inc. in the past five years. According to the 2016 Proxy

Statement, as of March 15, 2016, Defendant Baker beneficially owned 6,702,819 shares of the

Company’s common stock, which represented 2.98% of all outstanding Company common

stock. Given that the price per share of the Company’s common stock at the close of trading on

March 15, 2016 was $134.44, Baker owned over $901.1 million worth of Alexion stock.

         69.   For the fiscal year ended December 31, 2015, Defendant Baker received $373,222

in fees earned or cash paid as compensation from the Company.

         70.   The 2017 Proxy Statement listed the following qualifications for Defendant

Baker:

               (1) Broad experience serving as both a director and investor of
               biotechnology companies providing a strategic perspective of the industry,
               [and] (2) Extensive experience evaluating and developing strategic
               business plans and transactions in the biotechnology industry.

         71.   The 2017 Proxy Statement stated the following about Defendant Baker:

               Dr. Baker is Co-Managing Member of Baker Bros. Advisors LP, an
               investment advisor focused on investments in life science and
               biotechnology companies. Dr. Baker and his brother, Julian Baker, started
               their fund management careers in 1994 when they co-founded a
               biotechnology investing partnership with the Tisch Family. Dr. Baker
               holds a B.S. and a Ph.D. in Immunology from Stanford University, where
               he also completed two years of medical school.




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         Defendant Norby

         72.   Defendant R. Douglas Norby (“Norby”) was a Company director from 1999, and

Lead Independent Director from 2014, until September 14, 2017. He was a member of the

Company’s Audit and Finance Committee, Leadership and Compensation Committee, and

Nominating and Corporate Governance Committee. In the past five years he has also been a

director for Ikanos Communications, Inc., InveSense Inc., MagnaChip Semiconductor

Corporation, and Stats ChipPAC, Ltd. According to the 2015 Proxy Statement, as of March 9,

2015, Defendant Norby beneficially owned 65,903 shares of Alexion common stock. Given that

the price per share of the Company’s common stock at the close of trading on March 9, 2015 was

$184.91, Norby owned about $12.2 million worth of Alexion stock.

         73.   For the fiscal year ended December 31, 2015, Defendant Norby received

$360,549 in fees earned or cash paid as compensation from the Company.

         74.   The 2017 Proxy Statement listed the following qualifications for Defendant

Norby:

               (1) Extensive experience in financial and accounting matters, including
               public accounting and reporting, (2) 40 year career, served in executive
               management positions at several multinational organizations, including as
               president, chief operating officer and chief financial officer, (3) Extensive
               experience in financial and accounting reporting processes and internal
               control systems, [and] (4) Experience serving on public company boards
               provides valued perspective on corporate governance and financial
               matters.

         75.   The 2017 Proxy Statement stated the following about Defendant Norby:

               Mr. Norby served as Sr. Vice-President and Chief Financial Officer of
               Tessera Technologies, Inc., a provider of intellectual property for
               advanced semiconductor packaging from July 2003 until January 31,
               2006. From March 2002 to February 2003, Mr. Norby served as Senior
               Vice President and Chief Financial Officer of Zambeel, Inc., a data storage
               systems company. From December 2000 to March 2002, Mr. Norby
               served as Senior Vice President and Chief Financial Officer of Novalux,
               Inc., a manufacturer of lasers for optical networks. From 1996 until


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                December 2000, Mr. Norby served as Executive Vice President and Chief
                Financial Officer of LSI Logic Corporation, a semiconductor company.
                From July 1993 until November 1996, he served as Senior Vice President
                and Chief Financial Officer of Mentor Graphics Corporation, a software
                company. Mr. Norby served as President of Pharmetrix Corporation, a
                drug delivery company, from July 1992 to September 1993, and from
                1985 to 1992, he was President and Chief Operating Officer of Lucasfilm,
                Ltd., an entertainment company. From 1979 to 1985, Mr. Norby was
                Senior Vice President and Chief Financial Officer of Syntex Corporation,
                a pharmaceutical company. Mr. Norby received a B.A. in Economics from
                Harvard University and an M.B.A. from Harvard Business School.

          Defendant Keller

          76.   Defendant William R. Keller (“Keller”) served as a Company director between

2009 and May 2015, when he retired. During his time on the Board, Defendant Keller served as

a member of the Leadership and Compensation Committee and the Nominating and Corporate

Governance Committee.        According to the 2015 Proxy Statement, as of March 9, 2015,

Defendant Keller beneficially owned 3,598 shares of Alexion common stock. Given that the

price per share of the Company’s common stock at the close of trading on March 9, 2015 was

$184.91, Keller owned over $665,300 worth of Alexion stock.

          77.   The 2014 Proxy Statement listed the following qualifications for Defendant

Keller:

                (1) Lives and works in China and possesses extensive working knowledge
                and experience of the pharmaceutical industry in China, (2) More than
                thirty years of executive management experience in the pharmaceutical
                industry, (3) Former chief executive officer in China, [and] (4) Led the
                Latin American expansion and operations for a major pharmaceutical
                company in markets where Alexion is currently focused.

          78.   The 2014 Proxy Statement stated the following about Defendant Keller:

                A director of Alexion since December 2009. Mr. Keller is the founder of,
                and since September 2009 a principal of, Keller Pharma Consultancy, a
                pharmaceutical consulting firm in China. He is also a senior consultant to
                the Shanghai Foreign Investment Development Board and the deputy
                general manager of Zhangjiang Biotech & Pharmaceutical Base
                Development Co., Ltd. From 2007 to September 2009, Mr. Keller was the


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             chairman of HBM Biomed China Partners, a specialized venture capital
             organization dedicated exclusively to life sciences in China. From 1994 to
             2003, Mr. Keller was the general manager of Roche China Ltd. and
             Shanghai Roche Pharmaceutical Ltd. From 1974 to 2003, Mr. Keller
             served in various positions at Roche Group in South America and Asia.
             Mr. Keller is the honorary president of the R&D-based Pharmaceutical
             Association in China, and holds directorships in Cathay Industrial Biotech
             Ltd. and Coland Pharmaceutical Co., Ltd., which is a pharmaceutical
             company listed on the Taiwan stock exchange. Mr. Keller graduated from
             the School of Economics and Business Administration (Zurich) and is
             Honorary Citizen of Shanghai.

      Defendant Madri

      79.    Defendant Joseph A. Madri (“Madri”) served as a Company director between

1992 and May 2014, when he retired. Defendant Madri served as a member of the Leadership

and Compensation Committee and the Quality Compliance Committee.

      80.    The 2013 Proxy Statement stated the following about Defendant Madri:

             A director of Alexion since February 1992. Since 1980, Dr. Madri has
             been on the faculty of the Yale University School of Medicine and is
             currently a Professor of Pathology and Molecular, Cellular and
             Developmental Biology. Dr. Madri serves on the editorial boards of
             numerous scientific journals and he is the author of over 243 scientific
             publications. Dr. Madri works in the areas of regulation of angiogenesis,
             vascular cell-matrix interactions, cell-cell interactions, lymphocyte-
             endothelial cell interactions and endothelial and smooth muscle cell
             biology and neural stem biology, and has been awarded a Merit award
             from the National Institutes of Health. Dr. Madri received his B.S. and
             M.S. in Biology from St. John’s University and M.D. and Ph.D. in
             Biological Chemistry from Indiana University.

      Defendant Mathis

      81.    Defendant Larry L. Mathis (“Mathis”) served as a Company director between

2004 and May 2014, when he retired. Defendant Mathis served as Chair of the Nominating and

Corporate Governance Committee and as a member of the Audit and Finance Committee.

      82.    The 2013 Proxy Statement stated the following about Defendant Mathis:

             A director of Alexion since March 2004. From 1971 until 1998, he served
             as an executive at The Methodist Hospital System in Houston, Texas - an


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                organization comprising 16 corporations and 37 hospital affiliates in the
                U.S. and abroad. During the last fourteen years of his tenure, Mr. Mathis
                served as President and CEO and as a member of the Executive
                Committee and the Board of Directors. Following his executive service, he
                was an organization, management and leadership consultant with D.
                Peterson & Associates in Houston. Mr. Mathis is also director of
                Healthcare Trust of America, Inc., a real estate investment trust listed on
                the NYSE. Mr. Mathis received a Master’s degree in Health
                Administration from Washington University in St. Louis, and a B.A. in
                Social Sciences from Pittsburg State University in Kansas.

                FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

       83.      Each officer and director of Alexion owes to the Company and its shareholders

the highest obligations of fair dealing, and the fiduciary duty to exercise good faith and diligence

in the administration of the Company and its services and in the use and preservation of its assets

and property.

       84.      The Individual Defendants owed Alexion and its shareholders fiduciary

obligations of trust, loyalty, good faith, and due care, and were and are required to use their

utmost ability to manage and control Alexion in a just, equitable, fair, and honest manner due to

their ability to control the corporate and business affairs of Alexion and its services and also

because of their positions as directors, officers, and/or fiduciaries of the Company. Moreover, in

a manner that benefits all shareholders equally, the Individual Defendants were and are required

to act in furtherance of the best interests of the Company and its shareholders.

       85.      Due to their positions of authority and control as officers and/or directors of the

Company, the Individual Defendants were able to and did, directly and/or indirectly, exercise

control over the misconduct and wrongful acts outlined herein.

       86.      Each Individual Defendant, by virtue of his or her position as a director and/or

officer, owed to the Company and to its shareholders the highest fiduciary duties of loyalty, good

faith, and the exercise of due care and diligence in the management and administration of the



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affairs of the Company, as well as in the use and preservation of its property and assets. The

conduct of the Individual Defendants complained of herein involves a knowing and culpable

violation of their obligations as directors and officers of Alexion, the absence of good faith on

their part, or a reckless disregard for their duties to the Company and its shareholders that the

Individual Defendants were aware or should have been aware posed a risk of serious injury to the

Company. The conduct of the Individual Defendants who were also officers and directors of the

Company has been ratified by the remaining Individual Defendants who collectively comprised

Alexion’s Board at all relevant times.

        87.     As senior executive officers and directors of a publicly-traded company whose

common stock was registered with the SEC pursuant to the Exchange Act and traded on the

NASDAQ, the Individual Defendants had a duty to prevent and not to effect the dissemination of

inaccurate and untruthful information with respect to the Company’s financial condition,

performance, growth, operations, financial statements, business, products, management,

earnings, internal controls, conflicts, related-party transactions, and present and future business

prospects, and had a duty to cause the Company to disclose omissions of material fact in its

regulatory filings with the SEC, including all those facts described in this Complaint that it failed

to disclose, so that the market price of the Company’s common stock would be based upon

truthful and accurate information.

        88.     The directors and officers of the Company were required to exercise prudent and

reasonable supervision over the practices, policies, operations, internal controls, and

management of the Company and its services in order to properly and adequately discharge their

duties. To that end, and by virtue of such duties, the directors and officers of the Company were

required to, inter alia:




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               (a)     ensure that the Company was operated in a diligent, honest, and prudent

manner in accordance with the laws and regulations of Delaware and the United States, and

pursuant to Alexion’s own Code of Ethics and Business Conduct;

               (b)     conduct the affairs of the Company in an efficient, business-like manner

so as to make it possible to provide the highest quality performance of its business, to avoid

wasting the Company’s assets, and to maximize the value of the Company’s stock;

               (c)     remain informed as to how Alexion conducted its operations, and, upon

receipt of notice or information of imprudent or unsound conditions or practices, to make

reasonable inquiry in connection therewith, and to take steps to correct such conditions or

practices;

               (d)     establish and maintain systematic and accurate records and reports of the

business and internal affairs of Alexion and procedures for the reporting of the business and

internal affairs to the Board and to periodically investigate, or cause independent investigation to

be made of, said reports and records;

               (e)     maintain and implement an adequate and functioning system of internal

legal, financial, and management controls, such that Alexion’s operations would comply with all

applicable laws and Alexion’s financial statements and regulatory filings filed with the SEC and

disseminated to the public and the Company’s shareholders would be accurate;

               (f)     exercise reasonable control and supervision over the public statements

made by the Company’s officers and employees and any other reports or information that the

Company was required by law to disseminate;

               (g)     refrain from unduly benefiting themselves and other Company insiders at

the expense of the Company; and




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               (h)     examine and evaluate any reports of examinations, audits, or other

financial information concerning the financial affairs of the Company and to make full and

accurate disclosure of all material facts concerning, inter alia, each of the subjects and duties set

forth above.

       89.     Each of the Individual Defendants further owed to Alexion and the shareholders

the duty of loyalty requiring that each favor Alexion’s interest and that of its shareholders over

their own while conducting the affairs of the Company and refrain from using their position,

influence or knowledge of the affairs of the Company to gain personal advantage.

       90.     At all times relevant hereto, the Individual Defendants were the agents of each

other and of Alexion and were at all times acting within the course and scope of such agency.

       91.     Because of their advisory, executive, managerial, and directorial positions with

Alexion, each of the Individual Defendants had access to adverse, non-public information about

the Company.

       92.     The Individual Defendants, because of their positions of control and authority,

were able to and did, directly or indirectly, exercise control over the wrongful acts complained of

herein, as well as the contents of the various public statements issued by Alexion.

        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       93.     In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

caused the Company to conceal the true facts as alleged herein and engage in the Fraudulent

Sales Pitch Misconduct, the Pull-in Sales Misconduct, the Fraudulent Lawsuit Scheme, the Nurse

Coordination Scheme, the Patient Information Scheme, and the Patient Advocacy Group




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Scheme. The Individual Defendants further aided and abetted and/or assisted each other in

breaching their respective duties.

       94.     The purpose and effect of the conspiracy, common enterprise, and/or common

course of conduct was, among other things, to: (i) facilitate and disguise the Individual

Defendants’ violations of law, including breaches of fiduciary duty, insider transactions, unjust

enrichment, waste of corporate assets, gross mismanagement, abuse of control, and violations of

Sections 10(b), 14(a) and 20(a) of the Exchange Act and SEC Rules 10b-5 and 14a-9

promulgated thereunder; (ii) conceal adverse information concerning the Company’s operations,

financial condition, legal compliance, future business prospects, and internal controls; (iii)

artificially inflate the Company’s stock price while the Company repurchased its own stock and

certain Individual Defendants engaged in lucrative insider sales; and (iv) cause the Company to

engage in the Fraudulent Sales Pitch Misconduct, the Pull-in Sales Misconduct, the Fraudulent

Lawsuit Scheme, the Nurse Coordination Scheme, the Patient Information Scheme, and the

Patient Advocacy Group Scheme.

       95.     The Individual Defendants accomplished their conspiracy, common enterprise,

and/or common course of conduct by causing the Company purposefully, recklessly, or

negligently to conceal material facts, fail to correct such misrepresentations, and violate

applicable laws, including by engaging in the Fraudulent Sales Pitch Misconduct, the Pull-in

Sales Misconduct, the Fraudulent Lawsuit Scheme, the Nurse Coordination Scheme, the Patient

Information Scheme, and the Patient Advocacy Group Scheme. In furtherance of this plan,

conspiracy, and course of conduct, the Individual Defendants collectively and individually took

the actions set forth herein. Because the actions described herein occurred under the authority of

the Board, each of the Individual Defendants who is a director of Alexion was a direct,




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necessary, and substantial participant in the conspiracy, common enterprise, and/or common

course of conduct complained of herein.

         96.   Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, each of the Individual Defendants acted

with actual or constructive knowledge of the primary wrongdoing, either took direct part in, or

substantially assisted the accomplishment of that wrongdoing, and was or should have been

aware of his or her overall contribution to and furtherance of the wrongdoing.

         97.   At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and of Alexion, and was at all times acting within the

course and scope of such agency.

                               ALEXION’S CODE OF ETHICS

         98.   The Alexion Pharmaceuticals, Inc. Code of Conduct (the “Code of Ethics”) 6 ,

applies to directors, officers and employees of Alexion and its subsidiaries. The Company

represented that the Code of Ethics “complies with the requirements of Item 406 of Regulation

S-K and the listing standards of the NASDAQ Global Select Market.”

         99.   As explained by the Company, the Code of Ethics covers areas of professional

conduct relating to individual’s service to Alexion, including conflicts of interest, unfair or

unethical use of corporate opportunities, strict protection of confidential information, compliance

with applicable laws and regulations, and oversight of ethics and compliance by employees of

the Company.




6
 Available on Alexion’s investor relations website, http://ir.alexionpharm.com/governance.cfm,
or at http://alxn.com/pdfs/Global_Code_of_Conduct.pdf.


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       100.    In violation of the Code of Ethics, the Individual Defendants conducted little, if

any, oversight of the Company’s internal controls over public reporting and of the Company’s

engagement in the Individual Defendants’ schemes described herein, including the dissemination

of materially false and misleading statements to the public, and facilitated and disguised the

Individual Defendants’ violations of law, including breaches of fiduciary duty, insider

transactions, waste of corporate assets, unjust enrichment, abuse of control, gross

mismanagement, and violations of Sections 10(b), 14(a) and 20(a) of the Exchange Act and SEC

Rules 10b-5 and 14a-9 promulgated thereunder.         In violation of the Code of Ethics, the

Individual Defendants consciously disregarded their duties of loyalty, ethics, and to act in the

best interests of the Company.

       101.    Indeed, this much has been admitted by the Company, which has recently

promised the public that as part of its remedial measures “[m]embers of senior management,

with the participation and input of the Audit and Finance Committee and the Board of Directors,

has and will increase communication with, and training of employees regarding” (1) the

Company’s “commitment to ethical standards and the integrity of [its] business practices,”

(2) “[r]equirements for compliance with applicable laws, [its] Code of Ethics . . . and other

Company policies,” and (3) “[a]vailability of and processes for reporting suspected violations of

law or [the Code of Ethics].”

                      INDIVIDUAL DEFENDANTS’ MISCONDUCT

       Background

       Alexion is a One-Drug Company and Hangs on Sales of Soliris

       102.    Alexion purports to be a biopharmaceutical company focused on serving patients

with devastating and ultra-rare disorders through the innovation, development and

commercialization of life-transforming therapeutic products.


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       103.    Alexion was founded and incorporated in Delaware in 1992 by Defendant Bell,

then a 33-year-old cardiologist.

       104.    Today, its business is separated into two franchises: the (1) complement franchise

and (2) the metabolic franchise. In the Company’s complement franchise, Soliris is the first and

only therapeutic approved for patients with either PNH, a life-threatening and ultra-rare genetic

blood disorder, or aHUS, a life-threatening and ultra-rare genetic disease. PNH and aHUS result

from chronic uncontrolled activation of the complement component of the immune system. In

the Company’s metabolic franchise, it commercializes Strensiq® (asfotase alfa) for the treatment

of patients with Hypophosphatasia (“HPP”) and Kanuma® (sebelipase alfa) for the treatment of

patients with Lysosomal Acid Lipase Deficiency (“LAL-D”). HPP is an ultra-rare genetic

disease characterized by defective bone mineralization that can lead to deformity of bones and

other skeletal abnormalities. LAL-D is a serious, life threatening, ultra-rare disease in which

genetic mutations result in decreased activity of the Lysosomal Acid Lipase (“LAL”) enzyme

leading to marked accumulation of lipids in vital organs, blood vessels and other tissues.

       105.    From the Company’s founding in 1992 until 2015, however, the Company had

marketed only one drug, Soliris. And even today, when the Company markets three drugs, the

Company generates the vast majority of its revenue through sales of Soliris.

       106.    Soliris can only be marketed to about 11,000 patients worldwide, however, due to

the extreme rarity of the two conditions it treats, PNH and aHUS.

       107.    Thus, an obvious quagmire arose early-on for the Company; how does a company

generate enough revenue off a drug that, as of May 2017, treated only approximately 11,000

patients worldwide. Indeed, Defendant Hallal acknowledged as much during an interview in




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2015, explaining: “Back in 2007, the bear story on Alexion was, how do you even make a

business in this? Aren’t there just a few hundred people in the world living with PNH?”

        108.    Alexion answered this question, and surmounted its hurdles, by relying on a two-

pronged strategy: exorbitant pricing and aggressive sales tactics—including, as detailed below,

conduct that was improper and illegal.

        109.    As to the first prong, Soliris is one of the most expensive drugs in the world,

costing approximately $500,000 to $700,000 per patient per year. The Company has absolute

pricing power because Soliris is the only drug approved to treat PNH and aHUS. Indeed, the

Company has often touted its market exclusivity, protected under statutory exclusivity periods

and a wide patent portfolio covering, inter alia, Soliris’ active ingredient (a protein called

eculizumab), dosage, formulation, and use in the treatment of a variety of conditions.

        110.    As to the second prong, given the small market for Soliris, and the high mortality

rate of patients suffering from PNH and aHUS, each potential customer is of the utmost

importance.     This need is compounded by the Company’s heavy reliance on Soliris for

sustenance and success.

        111.    The Company’s most recent annual report repeated the well-known reality that

the Company “depend[s] heavily on the success of [its] lead product, Soliris” and “[i]f sales of

Soliris are adversely affected, [its] business may be materially harmed.” The Company’s “ability

to generate revenues depends primarily on the commercial success of Soliris and whether

physicians, patients and healthcare payers view Soliris as therapeutically effective and safe

relative to cost.”

        112.    Since the Company launched Soliris in the U.S. in 2007, substantially all of its

revenue has been attributed to sales of Soliris. In 2015, the Company received marketing




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approval in the U.S., the EU and Japan, of its second marketed product, Strensiq, for the

treatment of HPP. The Company also received marketing approval in 2015 in the U.S. and the

EU for its third product, Kanuma, for the treatment of LAL-D.            However, the Company

anticipates that Soliris product sales will continue to contribute a significant percentage of its

total revenue over the next several years.

       113.      According to the Company’s 2015 Annual Report, the commercial success of

Soliris and its ability to generate revenues depends on several factors, including, among others:

(1) the Company’s ability to obtain sufficient coverage or reimbursement by government or

third-party payers and its ability to maintain coverage or reimbursement at anticipated levels;

(2) the number of patients with PNH and aHUS, and the number of those patients who are

diagnosed with PNH and aHUS and identified to the Company; (3) the successful continuation of

commercial sales in the U.S., Japan and in European countries where the Company is already

selling Soliris for the treatment of PNH and aHUS, and successful launch in countries where it

has not yet obtained, or only recently obtained, marketing approval or commenced sales; and (4)

acceptance of Soliris in the medical community.

       114.      Therefore, as further described below, the Company and its sales force used every

trick in the book to obtain new customers (i.e., patients) and keep their customers on Soliris,

even threatening death if they refused to take Soliris.

       The Science of Soliris and the Conditions it Treats

       115.      PNH is an ultra-rare blood disorder in which an acquired genetic deficiency

causes uncontrolled activation of the body’s “complement system,” a part of the body’s innate

immune system (referred to as “complement activation”), which leads to life-threatening

complications.




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         116.   aHUS is a chronic and life-threatening, ultra-rare genetic disease in which

uncontrolled complement activation causes blood clots in small blood vessels throughout the

body, or TMA, leading to kidney failure, stroke, heart attack and death.

         117.   Soliris is a humanized monoclonal antibody functioning as a terminal complement

inhibitor, an inhibitor of complement activation. In people with PNH, it reduces both the

destruction of red blood cells and need for blood transfusion, but does not appear to affect the

risk of death. 7 It also does not appear to change the risk of blood clots, myelodysplastic

syndrome, acute myelogenous leukemia, or aplastic anemia.8

         118.   While the Company has acknowledged that they are “aware of a potential risk for

PNH patients who delay a dose of Soliris or discontinue their treatment of Soliris,” based on

theoretical exercises, it admitted that “[s]everal PNH patients in our studies of Soliris have

received delayed doses or discontinued their treatment [and] [i]n none of those circumstances

were significant complications shown to be due to rapid destruction of a larger number of

PNH red blood cells.”

         119.   Soliris is administered in a doctor’s office or clinic by intravenous infusion.

         Alexion Operates in a Highly Regulated Industry

         120.   As the Company has often disclosed, it operates in many jurisdictions in a highly

regulated industry. In addition to U.S. Food and Drug Administration (the “FDA”) and related

regulatory requirements, the Company has always been subject to health care “fraud and abuse”

laws, such as the federal False Claims Act, the anti-kickback provisions of the federal Social

Security Act, and other state and federal laws and regulations.


7
  See Martí-Carvajal et al., Eculizumab for treating patients with paroxysmal nocturnal
hemoglobinuria, Cochrane Database of Systematic Reviews 2014, Issue 10. Art. No.:
CD010340.
8
  Id.


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     121.   The Company stated the following with regard to applicable laws:

            The federal Anti-Kickback Statute prohibits, among other things,
            knowingly and willfully offering, paying, soliciting or receiving any
            remuneration, directly or indirectly, in cash or in kind to induce, or reward
            the purchasing, leasing, ordering or arranging for or recommending the
            purchase, lease or order of any health care item or service reimbursable
            under Medicare, Medicaid, or other federal health care programs. This
            statute has been interpreted to apply broadly to arrangements between
            pharmaceutical manufacturers on the one hand and prescribers, patients,
            purchasers and formulary managers on the other. Liability may be
            established without a person or entity having actual knowledge of the
            federal Anti-Kickback Statute or specific intent to violate it. In addition,
            PPACA amended the Social Security Act to provide that the government
            may assert that a claim including items or services resulting from a
            violation of the federal anti-kickback statute constitutes a false or
            fraudulent claim for purposes of the federal civil False Claims Act (FCA).
            A conviction for violation of the Anti-kickback Statute requires mandatory
            exclusion from participation in federal health care programs. Although
            there are a number of statutory exemptions and regulatory safe harbors
            protecting certain common activities from prosecution, the exemptions
            and safe harbors are drawn narrowly, and practices that involve
            remuneration to those who prescribe, purchase, or recommend
            pharmaceutical products, including certain discounts, education and
            research grants, purchase of speaking or consulting services, and patient
            assistance programs, may be subject to scrutiny or penalty if they do not
            qualify for an exemption or safe harbor. We seek to comply with the anti-
            kickback laws and with the available statutory exemptions and safe
            harbors. However, our practices may not in all cases fit within the safe
            harbors, and our practices may therefore be subject to case-by-case
            scrutiny.

            The FCA prohibits any person from knowingly presenting, or causing to
            be presented, a false or fraudulent claim for payment of government funds,
            or knowingly making, using or causing to be made or used, a false record
            or statement material to a false or fraudulent claim. Pharmaceutical
            companies have been investigated and have reached substantial financial
            settlements with the Federal government under the FCA for a variety of
            alleged promotional and marketing activities, such as allegedly providing
            free product to customers with the expectation that the customers would
            bill federal programs for the product; providing consulting fees and other
            benefits to physicians to induce them to prescribe products; reporting
            inflated prices to private publications that were then used by federal
            programs to set reimbursement rates; engaging in promotion for uses that
            the FDA has not approved, or “off-label” uses that caused claims to be
            submitted to Federal programs for non-covered off-label uses; and



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           submitting inflated best price information to the Medicaid Rebate
           Program.

           In addition, several U.S. states and localities have enacted legislation
           requiring pharmaceutical companies to establish marketing compliance
           programs, file periodic reports with the state or make periodic public
           disclosures on sales, marketing, pricing, clinical trials, and other activities.
           Some state laws prohibit certain marketing-related activities including the
           provision of gifts, meals or other items to certain health care providers.
           Similar legislation is being considered in other states. Additionally,
           PPACA enacted the Physician Payment Sunshine Act, being implemented
           as the Open Payments program, that requires manufacturers to track and
           report to the federal government, for public dissemination, payments and
           other transfers of value made to physicians and teaching hospitals. Many
           of these requirements are new and there is limited guidance on many
           aspects of how they will be interpreted, implemented and enforced.
           Nonetheless, if we are found not to be in full compliance with these laws,
           we could face enforcement action and fines and other penalties, and could
           receive adverse publicity.

                                                  ***

           Although physicians are permitted to, based on their medical judgment,
           prescribe products for indications other than those cleared or approved by
           the FDA, manufacturers are prohibited from promoting their products for
           such off-label uses. In the United States, we market Soliris for PNH and
           aHUS and provide promotional materials and training programs to
           physicians regarding the use of Soliris for PNH and aHUS. Although we
           believe our marketing materials and training programs for physicians do
           not constitute off-label promotion of Soliris, the FDA, the U.S. Justice
           Department, or other federal or state government agencies may disagree. If
           the FDA or other government agencies determine that our promotional
           materials, training or other activities constitute off-label promotion of
           Soliris, it could request that we modify our training or promotional
           materials or other activities or subject us to regulatory enforcement
           actions, including the issuance of a warning letter, injunction, seizure, civil
           fine and criminal penalties. It is also possible that other federal or state
           enforcement authorities might take action if they believe that the alleged
           improper promotion led to the submission and payment of claims for an
           unapproved use, which could result in significant fines or penalties under
           other statutory authorities, such as laws prohibiting false or fraudulent
           claims for payment of government funds. Even if it is later determined we
           are not in violation of these laws, we may be faced with negative
           publicity, incur significant expenses defending our position and have to
           divert significant management resources from other matters.

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           Interactions between pharmaceutical companies and physicians are also
           governed by strict laws, regulations, industry self-regulation codes of
           conduct and physicians’ codes of professional conduct in the individual
           European Union member states. The provision of any inducements to
           physicians to prescribe, recommend, endorse, order, purchase, supply, use
           or administer a medicinal product is prohibited. A number of European
           Union member states have introduced additional rules requiring
           pharmaceutical companies to publicly disclose their interactions with
           physicians and to obtain approval from employers, professional
           organizations and/or competent authorities before entering into
           agreements with physicians. These rules have been supplemented by
           provisions of related industry codes. Additional countries may consider or
           implement similar laws and regulations. Violations of these rules could
           lead to reputational risk, public reprimands, and/or the imposition of fines
           or imprisonment.

           We are also subject to the United States Foreign Corrupt Practices Act
           (FCPA), the U.K. Bribery Act, and other anti-corruption laws and
           regulations that generally prohibit companies and their intermediaries
           from making improper payments to government officials and/or other
           persons for the purpose of obtaining or retaining business. Worldwide
           regulators are increasing their regulatory and enforcement efforts in this
           area. For example, the Bribery Act in the United Kingdom, effective as of
           July 2011 applies to any company incorporated in or “carrying on
           business” in the United Kingdom, regardless of the country in which the
           alleged bribery activity occurs and even if the inappropriate activity is
           undertaken by our international distribution partners.

           Recent years have seen a substantial increase in anti-bribery law
           enforcement activity by U.S. regulators, with more frequent and
           aggressive investigations and enforcement proceedings by both the
           Department of Justice (“DOJ”) and the U.S. Securities and Exchange
           Commission (“SEC”), increased enforcement activity by non-U.S.
           regulators, and increases in criminal and civil proceedings brought against
           companies and individuals. Our policies mandate compliance with these
           anti-bribery laws. We may operate in many parts of the world that are
           recognized as having a greater potential for governmental and commercial
           corruption. We cannot assure that our policies and procedures will always
           protect us from reckless or criminal acts committed by our employees or
           third-party intermediaries. From time-to-time, we may conduct internal
           investigations and compliance reviews, the findings of which could
           negatively impact our business. Any determination that our operations or
           activities are not, or were not, in compliance with existing United States or
           foreign laws or regulations could result in the imposition of substantial
           fines, interruptions of business, loss of supplier, vendor or other third-
           party relationships, termination of necessary licenses and permits, and
           other legal or equitable sanctions. Other internal or government


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              investigations or legal or regulatory proceedings, including lawsuits
              brought by private litigants, may also follow as a consequence. Violations
              of these laws may result in criminal or civil sanctions, which could disrupt
              our business and result in a material adverse effect on our reputation,
              business, results of operations or financial condition. Increasing regulatory
              scrutiny of the promotional activities of pharmaceutical companies also
              has been observed in a number of European Union member states.

              Laws, including those governing promotion, marketing and anti-
              kickback/anti-bribery provisions, and industry regulations are often strictly
              enforced. In the United States, additional governmental resources are
              being added to enforce these laws and to prosecute companies and
              individuals believed to be violating them. For example, PPACA included a
              number of provisions aimed at strengthening the government’s ability to
              pursue anti-kickback and false claims cases against pharmaceutical
              manufacturers and other healthcare entities, including substantially
              increased funding for healthcare fraud enforcement activities, enhanced
              investigative powers for government authorities, and amendments to the
              civil False Claims Act that make it easier for the government and
              whistleblowers to pursue cases for alleged kickback and false claim
              violations. We anticipate that government scrutiny of pharmaceutical sales
              and marketing practices will continue for the foreseeable future and
              subject us to the risk of government investigations and whistleblower
              lawsuits. Responding to a government investigation or whistleblower
              lawsuit would be expensive and time-consuming, and could have a
              material adverse effect on our business and financial condition and growth
              prospects.

       122.   Despite knowledge of these regulations and laws, as further described below, the

Individual Defendants caused the Company to violate a plethora of federal and state laws and

regulations, including but not limited to, the FCPA, the Health Insurance Portability and

Accountability Act of 1996 (“HIPAA”), the Food, Drug, and Cosmetic Act, the Exchange Act,

FTC regulations, SEC regulations, the Anti-Kickback Statute, the FCA, the Patient Protection

and Affordable Care Act (“PPACA”), other anti-bribery statutes, and consumer protection laws.

       False and Misleading Statements and Omissions

       January 30, 2014

       123.   On January 30, 2014, the Company issued a press release announcing its financial

and operating results for the fourth quarter and fiscal year ended December 31, 2013 (the


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“1/30/14 Press Release”). The 1/30/14 Press Release reported that quarterly net product sales of

Soliris were $441.9 million, compared to $320.5 million for the same period in 2012, and $1.551

billion for the full year. The sales figure for the fourth-quarter 2013 beat analysts’ consensus

estimates of $431 million.

         124.     The 1/30/14 Press Release represented that “[t]he year-on-year increase in Q4 net

product sales of 38 percent reflected steady additions of new patients with paroxysmal nocturnal

hemoglobinuria (PNH) and atypical hemolytic uremic syndrome (aHUS) commencing Soliris

treatment.”

         125.     The 1/30/14 Press Release quoted Defendant Bell as stating, “In 2013, we

provided Soliris to an increasing number of patients with PNH and aHUS worldwide” and that

the Company “demonstrated steady growth in PNH, grew steadily the number of new patients

with aHUS receiving Soliris in the U.S. and [abroad].”

         126.     The 1/30/14 Press Release also projected increasing sales in the year to come

stating, “In 2014, worldwide net product sales are expected to be within a range of $2.00 to

$2.02 billion.”

         127.     On the conference call Alexion held the same day with investors and analysts,

Defendant Bell attributed the Company’s better-than-expected results to legitimate business

factors and conditions that allowed Alexion “to serve more patients” in “major countries

including . . . Brazil.”9 Specifically, Defendant Bell stated the following:

                  Our fourth quarter performance underscored our strategic growth
                  initiatives. First, our commercial team provided Soliris to an increasing
                  number of patients with PNH and aHUS worldwide and broadened the
                  base in which we will serve more patients in 2014 and beyond.

                                                      ***
9
 Full transcript available at https://seekingalpha.com/article/1981811-alexion-pharmaceuticals-
management-discusses-q4-2013-results-earnings-call-transcript?part=single.


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               Looking first on our PNH operations during Q4. We, again, continue to
               demonstrate strong Soliris growth in our core territories with increasing
               contribution from the next group of major countries, including Turkey,
               Russia and Brazil. In 2014, we will go deeper in each of these countries,
               while also increasing our presence to serve more patients across our nearly
               50-country platform. We are driven in these efforts by the knowledge that
               globally, the majority of patients with PNH have yet to receive an accurate
               diagnosis, let alone began appropriate therapy.

               Turning to our aHUS launch. In Q4, we again observed a steady addition
               of new patients in the United States, made continued progress in key
               European countries and initiated aHUS commercial operations in Japan,
               following our marketing approval late last year. The ongoing strength of
               the global aHUS launch in the United States and other countries reinforces
               our confidence that our opportunity to serve patients with aHUS is at least
               as large as our opportunity to serve patients with PNH, and perhaps larger.
               As one measure, we continue to observe that match for the time since their
               respective approvals, more patients in the United States are currently
               receiving Soliris for aHUS than there had been for PNH. These results
               support our belief that the incidence of aHUS is higher than that of PNH.

               In 2014, we expect to continue to extend our aHUS initiatives in the
               United States, complete the aHUS reimbursement processes across
               Western Europe, achieve a robust launch in Japan on our first full year of
               aHUS operations, and build on our initial presence in Turkey, Russia and
               Brazil.

       128.    On the call, each of Defendants Bell, Hallal, Sinha addressed questions from

investors and/or analysts. In response to one of the questions from an analyst, Defendant Hallal

represented that there is a vast market potential for Soliris because many patients don’t know that

they have the conditions that Soliris treats but “the growth opportunity” is “very, very high” for

PNH and the Company “would expect the number of patients [suffering from aHUS and taking

Soliris] . . . to increase” if “we get there sooner.” He went on regarding the reasons for the

Company’s sales success, stating that the Company “achieved strong Soliris revenue growth of

37%, reflecting continued steady growth in PNH and our ongoing strong launch at aHUS in

initial countries.” Hallal also attributed the sales success to the Company’s “disease education

and diagnostic initiatives.” He went on to state as follows:



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               Looking first at PNH. We continue to grow our PNH operations by
               achieving deeper penetration in the nearly 50 countries in which we serve
               patients, with key countries benefiting from field team expansions
               deployed for the aHUS launch.

               Importantly, throughout 2013, we continued to identify new patients with
               PNH each quarter, even in our longest established territories. Looking
               specifically at Q4, strong rates of patient identification and rapid treatment
               initiation with Soliris continued as in prior quarters, as our disease
               awareness and diagnostic programs continue to support optimal patient
               care. We were pleased with our performance in our core territories of the
               U.S., Western Europe and Japan; saw a steady growth in Turkey, Brazil
               and Russia; and continued to serve new patients in Korea and Latin
               America. In 2014, we expect that our efforts will result in more patients
               being rapidly diagnosed and treated in both established and newer markets
               and continue to selectively broaden our footprint to address opportunities
               in Latin America, Europe and Asia Pacific.

       129.    On the call, Defendant Sinha also commented on the growth of the Company, and

stated as follows:

               The fourth quarter of 2013 was another period of sustained growth in
               revenues and profitability for Alexion, and provided a strong finish to the
               year. Revenue in Q4 increased 38% year-on-year to $441.9 million,
               representing a strong ongoing growth in established markets augmented
               by initial contributions from aHUS in Japan and Russia following
               approvals in these countries in late Q3, 2013.

               For the full-year 2013, we recorded sales of $1.55 billion, an increase of
               37% compared to 2012. Looking at the geographic breakdown of sales in
               2013, the U.S. contributed 36% of revenue, Europe 33%, Asia Pacific
               13%, and Rest of the World 18%.

       130.    Defendant Sinha further made statements regarding the Company’s 2014

guidance, stating:

               I would now like to turn to our 2014 guidance. First, we are again guiding
               strong top-line year-on-year revenue growth. Revenues for 2014 are
               forecasted in a range of $2 billion to $2,020,000,000, an increase of
               approximately 30% year-on-year. 2014 guidance reflects our expectation
               for continued strong organic growth.

       131.    The statements referenced above in ¶¶ 123-30 were materially false and

misleading because they failed to disclose (1) the Adverse Material Facts Regarding Soliris Sales


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Methods, (2) the Company and Individual Defendants’ engagement in the Fraudulent Lawsuit

Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse Coordination

Scheme; (4) the Company and Individual Defendants’ engagement in the Patient Information

Scheme; (5) the Company and Individual Defendants’ engagement in the Patient Advocacy

Group Scheme; and (6) that Alexion was not maintaining effective internal controls or disclosure

controls and procedures, and in fact had a material weakness in such controls.

       February 10, 2014

       132.    On February 10, 2014, the Company filed an annual report on Form 10-K with the

SEC for the fiscal year ended December 31, 2013 (“2013 10-K”), which was signed by, among

others, Defendants Bell, Sinha, Keller, Mathis, Madri, Norby, Parven, Rummelt, and Veneman.

       133.    Attached to the 2013 10-K were certifications pursuant to the Sarbanes-Oxley Act

of 2002 (“SOX”) signed by Defendants Bell and Sinha, attesting to the accuracy of the 2013 10-

K.

       134.    The Company’s SOX certifications contain the following attestations:

       1. I have reviewed this [filing] of Alexion Pharmaceuticals, Inc.;

       2. Based on my knowledge, this report does not contain any untrue statement of a
          material fact or omit to state a material fact necessary to make the statements made, in
          light of the circumstances under which such statements were made, not misleading
          with respect to the period covered by this report;

       3. Based on my knowledge, the financial statements, and other financial information
          included in this report, fairly present in all material respects the financial condition,
          results of operations and cash flows of the registrant as of, and for, the periods
          presented in this report;

       4. The registrant’s other certifying officer and I are responsible for establishing and
          maintaining disclosure controls and procedures (as defined in Exchange Act
          Rules 13a-15(e) and 15d-15(e)) for the registrant and have:

               a)     Designed such disclosure controls and procedures, or caused such
               disclosure controls and procedures to be designed under our supervision, to ensure
               that material information relating to the registrant, including its consolidated


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               subsidiaries, is made known to us by others within those entities, particularly
               during the period in which this report is being prepared;

               c)      Evaluated the effectiveness of the registrant’s disclosure controls and
               procedures and presented in this report our conclusions about the effectiveness of
               the disclosure controls and procedures, as of the end of the period covered by this
               report based on such evaluation; and

               d)      Disclosed in this report any change in the registrant’s internal control over
               financial reporting that occurred during the registrant’s most recent fiscal quarter
               (the registrant’s fourth fiscal quarter in the case of an annual report) that has
               materially affected, or is reasonably likely to materially affect, the registrant’s
               internal control over financial reporting.

       5. The registrant’s other certifying officer and I have disclosed, based on our most
          recent evaluation of internal control over financial reporting, to the registrant’s
          auditors and the audit committee of the registrant’s board of directors (or persons
          performing the equivalent functions):

               a)     All significant deficiencies and material weaknesses in the design or
               operation of internal control over financial reporting which are reasonably likely
               to adversely affect the registrant’s ability to record, process, summarize and report
               financial information; and

               b)     Any fraud, whether or not material, that involves management or other
               employees who have a significant role in the registrant’s internal control over
               financial reporting.

       135.    The 2013 10-K reiterated and expanded upon the financial figures reported in the

1/30/14 Press Release.

       136.    The 2013 10-K expressly stated that while the Company’s “sales force for Soliris

is small compared to that of other drugs with similar gross revenues,” the Company “believe[d]

that a relatively smaller sales force is appropriate to effectively market Soliris due to the

incidence and prevalence of PNH and aHUS” (the “Effective Sales Force Representation”).

       137.    The 2013 10-K also expressly stated that “[b]ecause of factors such as the pricing

of Soliris, the limited number of patients, the short period from product sale to patient infusion

and the lack of contractual return rights, Soliris customers often carry limited inventory.” This

statement was false and the Company knew this was false, since the sales force was “pulling-in”


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sales, meaning that customers were carrying much more than a “limited inventory” (the “Limited

Inventory Representation”).

       138.    The 2013 10-K further represented that the Company’s fantastic sales figures

were due to Alexion’s “dedicat[ion of] significant resources to the worldwide commercialization

of Soliris.” The Company represented that it “established sales and marketing capabilities in the

United States and in many countries throughout the world” (this and the latter representation

collectively referred to as the “Worldwide Commercialization Representations”).

       139.    Moreover, the 2013 10-K, specifically listed out the factors upon which “[t]he

commercial success of Soliris and [Alexion’s] ability to generate and increase revenues depend.”

None of these factors were related to the continuation of the unethical and unsustainable sales

practices engaged in by the Company (referred to as the “Commercial Success Factors

Omission”).

       140.    The 2013 10-K also represented that as of December 31, 2013, “[Alexion’s]

internal control over financial reporting is effective” (the “Effective Internal Control

Representation”) and that its disclosure controls and procedures were effective. Regarding the

latter, the 2013 10-K stated the following (the following statement as amended to reflect the

appropriate period relevant to the statement is hereinafter referred to as the “Effective Disclosure

Controls Representation”):

               Our management, with the participation of our Chief Executive Officer
               and Chief Financial Officer, evaluated the effectiveness of our disclosure
               controls and procedures (as defined in Rules 13a-15(e) and 15d-15(e)
               under the Securities Exchange Act of 1934, as amended, or the Exchange
               Act,) as of December 31, 2013. Based on this evaluation, our Chief
               Executive Officer and Chief Financial Officer concluded that, as of
               December 31, 2013, our disclosure controls and procedures were effective
               to provide reasonable assurance that information is accumulated and
               communicated to our management, including our Chief Executive Officer
               and Chief Financial Officer, as appropriate to allow timely decisions



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               regarding required disclosure, and ensure that information required to be
               disclosed in the reports we file or submit under the Exchange Act is
               recorded, processed, summarized and reported, within the time periods
               specified in the SEC’s rules and forms.

       141.    The Company’s statements contained in the 2013 10-K and the SOX certifications

attached thereto, some of which are discussed in ¶¶ 134-140, were materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls.

       April 16, 2014

       142.    On April 16, 2014, the Company’s Board amended and restated Alexion’s By-

Laws to make it harder to disqualify a conflicted director. Specifically, the Board eliminated the

disqualification of a proposed director nominee if the nominee is party to a compensatory

arrangement with, or receives compensation or other payment from, a third party in connection

with such nominee’s candidacy or service.

       143.    One day later, on April 17, 2014, the Board increased the number of Company

directors from 9 to 10 and appointed Defendant Mollen as a director of Alexion, effective

immediately. Defendant Mollen was later named to the Compensation Committee.

       144.    These two events were not coincidental. In fact, if not for the Board’s changing

of established provisions in the Company’s By-Laws, Defendant Mollen would have been




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disqualified from holding a director position. Instead, to further the schemes described herein,

the Board used their power to let Mollen in.

       April 23, 2014 – Proxy Statement

       145.     On April 23, 2014, the Company filed the 2014 Proxy Statement. The 2014

Proxy Statement invited shareholders to attend Alexion’s 2014 Annual Meeting of Shareholders

on Monday, May 5, 2014, and purported to “describe[] the business to be considered at the

meeting.” It was based upon this proxy statement that shareholders were expected to cast votes

on extremely important matters to the Company, including the election of the following director

nominees: Defendants Bell, Keller, Mollen, Norby, Parven, Rummelt, and Veneman, and

Mr. Max Link10.

       146.     The 2014 Proxy Statement stated that “[t]he Company delivered solid revenue

growth and strong financial results in 2013” and went on to list certain operating performance

highlights. Among these highlights were (1) “[a]n increase of net product sales of 37% from the

previous year to $1.551 billion, in line with our internal forecasting,” and (2) “[a]n increase of

non-GAAP11 net income of 47%, to $624.2 million, or $3.08 per share, in line with our internal

forecasting.”

       147.     Moreover, the Company touted its stock performance, stating, “Alexion’s stock

performance has been very strong, both in absolute terms and compared to its self-selected peers,

as described [in the 2014 Proxy Statement].”

       148.     The 2014 Proxy Statement praised the Company’s management and credited them

with the wonderful “growth and success” the Company was seeing. Specifically, the 2014 Proxy

Statement stated, “Alexion’s workforce and product sales were growing rapidly, and the
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   Max Link, who served as Chairman of the Board, passed away unexpectedly on October 5,
2014 while traveling on business at the age of 74.
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   “Generally accepted accounting principles.”


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Compensation Committee believes strongly that the Company’s executive leadership is integral

to the Company‘s growth and success.”

       149.    The 2014 Proxy Statement also stated that it was “critical to the Company’s

performance to hire highly talented, specialized and experienced employees . . . .”

       150.    To promote investor faith and confidence in the Company’s management of

Alexion, the 2014 Proxy Statement described a prosperous prior year in terms of sales growth

and attributed that achievement, in part, to Defendant Hallal. The 2014 Proxy Statement stated

as follows:

               Under Mr. Hallal’s leadership, the Company experienced significant
               growth in global product sales during 2013 (37%), attributed to both
               strong sales for PNH and strong sales for aHUS. Matched for the time
               during 2013 since their respective approvals, more patients in the U.S.
               were receiving treatment with Soliris for aHUS than had been for PNH,
               which demonstrates a high level of focus on the launch for aHUS while at
               the same time protecting and growing the PNH business, which was a
               mandate for the commercial team. 2013 was the first full year that the
               entire commercial organization was directly aligned under Mr. Hallal’s
               leadership. The committee recognized his leadership and skill at
               optimizing the performance of a global, evolving commercial
               organization.

       151.    The 2014 Proxy Statement represented that the Compensation Committee had

“evaluate[d]” the Company’s performance and achievement of corporate goals. To this end, the

Compensation Committee “determined that Alexion exceeded its corporate objectives and

achieved 137% of its approved corporate goals for 2012.”

       152.    Regarding risk oversight, the 2014 Proxy Statement represented the following:

               The Board is responsible for overseeing Alexion’s risk management
               processes. The full Board performs a periodic risk assessment with
               management to review the primary risks facing Alexion and to manage the
               activities of Alexion in identifying and mitigating such risks. Management
               identifies risks in multiple areas, including compliance, financial,
               strategic, political and operational risks, and on a regular basis the Board
               reviews together with management. The Board recognizes that Alexion is
               subject to both internal and external risks, within and outside its control,


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               and that management and the Board should regularly seek to identify those
               risks and mitigate to the extent possible. As part of the risk management
               process and consistent with its standing oversight role, each Board
               committee considers the risks within its areas of responsibility and assists
               the Board in its oversight of the risk management process.

       153.    The statements contained in the 2014 Proxy Statement were materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls.

Moreover, the 2014 Proxy Statement falsely assured investors of Defendant Hallal’s positive

performance, competency and commitment to the Company.

       April 24-25, 2014

       154.    On April 24, 2014, the Company issued a press release announcing its financial

results for the three months ended March 31, 2014 (the “1Q 2014 Press Release”).               The

Company reported, once again, growing sales for the quarter – boasting an increase in net

product sales by 67% to $566.6 million, compared to $338.9 million during the same period the

prior year.

       155.    The 1Q 2014 Press Release also reported that “[r]evenue performance for the

quarter also reflected steady additions of new patients . . . commencing Soliris treatment.”

       156.    According to the 1Q 2014 Press Release Defendant Bell told investors, “In the

first quarter of 2014, we provided Soliris to an increasing number of patients with PNH

worldwide, made important progress in our aHUS operations in Western Europe and other


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territories, and continued to execute on key initiatives to further improve operational and

financial efficiencies across our global operations.” Focusing on the rest of the year, Defendant

Bell stated “[t]hroughout 2014 we will remain focused on serving more patients with PNH and

aHUS globally . . . .”

       157.    Taking no steps back on forecasts, the Company “reiterat[ed] its 2014 revenue

guidance of $2.15 to $2.17 billion as provided in the press release issued on March 10, 2014, and

. . . also reiterate[ed] its non-GAAP R&D guidance of $360 to $380 million as provided in the

Company’s press release on January 30, 2014.”

       158.    Notably, the results reported in the 1Q 2014 Press Release beat analysts’ earnings

per share (“EPS”) estimates by $0.27 and revenue estimates by $6.38 million.

       159.    On the conference call Alexion held the same day with investors and analysts,

Defendant Hallal attributed the Soliris sales results to legitimate business factors and conditions,

such as Alexion’s “disease education and diagnostic initiatives,” stating in relevant part:

               During Q1, we achieved strong Soliris in quarter revenue growth of 41%
               over the year-ago quarter. This reflects continued steady growth in PNH
               and our ongoing launch in aHUS, now further supported by the recent
               reimbursement progress in Europe.

               Looking first at PNH in Q1. We were pleased with our steady
               performance in our core territories of the U.S., Western Europe and Japan.
               And we also observed consistent growth in serving new patients in
               Turkey, Brazil and Russia.

                                                      ***

               Now turning to aHUS. During Q1 we were pleased with the ongoing
               strength of the early stages of our global launch. Importantly, the
               transformative clinical benefits of Soliris for patients with aHUS, and the
               overall value proposition with Soliris, are recognized by public and private
               reimbursement authorities in the U.S., Western Europe and Japan.

               In the U.S., our aHUS disease education and diagnostic initiatives,
               again resulted in a steady increase in the number of new patients



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               commencing Soliris therapy. Our U.S. team continues to implement our
               plan with urgency to help more patients with this devastating disease.12

       160.    On the same call, Defendant Bell was asked by a securities research analyst to

discuss the Company’s marketing of Soliris and experience working in Brazil and other

developing countries. In an almost there – but not quite there – moment, Defendant Bell started

off by saying that “what supports our efforts there with PNH is that the government have

established a mechanism to serve their citizens with funding.” Defendant Bell stayed mum on

the most important aspects and disclosures regarding these government mechanisms and the

Company’s abuse thereof. Defendant Bell went on, however, and it only got worse – attributing

new patient acquisition to the Company’s “disease awareness activities” – stating that “when we

initially launched in these countries our disease awareness activities, there was an initial group of

patients that would start treatment. And then through our initiatives, through newly diagnosed

patients, newly identified patients, we’d see a steady pattern of patients commencing therapy.”

       161.    Defendant Bell’s statements regarding Alexion’s sales of Soliris in Brazil were

misleading and omitted material information because Defendant Bell touted the Company’s

ability to obtain government funding and identify new patients, while failing to disclose that the

Company relied on the unsustainable use of illegal and improper sales tactics in Brazil—caused

by senior management’s failure to set an appropriate tone at the top—including working with

patient advocacy groups to file fraudulent lawsuits aimed at obtaining government

reimbursement for sales of Soliris in circumstances involving inconclusive and fake diagnoses of

PNH and aHUS, and delaying registration of Soliris in Brazil to avoid negotiating with the

government on price—practices that were key to the Company’s Brazil operations, and which an

outside law firm, hired by Alexion, concluded were “unethical.”
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 Full transcript available at https://seekingalpha.com/article/2163373-alexion-pharmaceuticals-
management-discusses-q1-2014-results-earnings-call-transcript?part=single.


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       162.   Additionally, the statements referenced above in ¶¶ 154-57 and 159-60 were

materially false and misleading because they failed to disclose: (1) the Adverse Material Facts

Regarding Soliris Sales Methods: (2) the Company and Individual Defendants’ engagement in

the Fraudulent Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the

Nurse Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the

Patient Information Scheme; (5) the Company and Individual Defendants’ engagement in the

Patient Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal

controls or disclosure controls and procedures, and in fact had a material weakness in such

controls.

       163.   The next day, on April 25, 2014, the Company filed a quarterly report on Form

10-Q with the SEC for the first quarter ended March 31, 2014 (“1Q 2014 10-Q”), which was

signed by Defendants Bell and Sinha.

       164.   Attached to the 1Q 2014 10-Q were SOX certifications signed by Defendants Bell

and Sinha attesting to the accuracy of the 1Q 2014 10-Q.

       165.   The 1Q 2014 10-Q included, among other things, the financial figures reported in

the 1Q 2014 Press Release.

       166.   The statements contained in the 1Q 2014 10-Q were also materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient




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Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls..

       May 14- August 8, 2014 – SEC Inquiry and Notice

       167.    On May 14, 2014, a Senior Assistant Chief Accountant for the SEC wrote a letter

to Defendant Sinha demanding information regarding the Company’s calculation of net product

sales in the 1Q 2014 10-Q. The SEC was alarmed by the Company’s report of an agreement

with the French government that provided for prospective reimbursement for Soliris as well as

reimbursement for shipments made prior to January 1, 2014, which resulted in the recognition of

$87.8 million of net product sales from Soliris in the 1Q 2014 relating to years prior to January 1,

2014. The SEC stated, “Please tell us how you determined that the $87.8 million related to prior

period sales and why recognition in the quarter ended March 31, 2014 is appropriate under

GAAP.”

       168.    Over two weeks later, on May 29, 2014, the Company came up with a response,

to which the SEC responded on June 26, 2014. The SEC was now demanding that the Company

make amended disclosures regarding its arrangement with the French government. The SEC

demanded a “proposed disclosure to be included in future filings that explains the events and/or

circumstances that caused ‘current provisions relating to sales in current year’ to significantly

increase from the prior year.” The SEC further told the Company to “consider identifying, in

your proposed disclosure, the countries where you have material volume based arrangements

along with the amount of the contractual limitation.”

       169.    On July 11, 2014, the Company responded to the SEC’s demand with proposed

disclosures. At the SEC’s behest, the Company also included the following attestations in its

response:

               Alexion acknowledges the following:


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               • Alexion is responsible for the adequacy and accuracy of the disclosure in
               the filings;

               • Staff comments or changes to disclosure in response to Staff comments
               do not foreclose the Commission from taking any action with respect to
               the filings; and

               • Alexion may not assert Staff comments as a defense in any proceeding
               initiated by the Commission or any person under the federal securities
               laws of the United States.

       170.    On August 7, 2014, the SEC, through its Accounting Branch Chief, wrote to

Defendant Sinha to inform him that, in light of the Company’s assurances, the SEC had

completed its review of the Company’s filings. The SEC cautioned Defendant Sinha with the

following admonition:

               [O]ur comments or changes to disclosure in response to our comments do
               not foreclose the Commission from taking any action with respect to the
               company or the filing and the company may not assert the staff comment
               as a defense in any proceeding initiated by the Commission or any person
               under the federal securities laws of the United States. We urge all persons
               who are responsible for the accuracy and adequacy of the disclosure in the
               filings to be certain that the filings include the information the Securities
               Exchange Act of 1934 and all applicable rules require.

       171.    Thus, the Company was officially on notice that its disclosures were inadequate,

especially with regard to its dealings with foreign governments and disclosures regarding net

product sales. The Company was even advised to ensure that “that the [Company’s SEC] filings

include the information the Securities Exchange Act of 1934 and all applicable rules require.”

       July 24-25, 2014

       172.    On July 24, 2014, the Company issued a press release announcing its financial

results for the three and six months ended June 30, 2014 (the “2Q 2014 Press Release”). The 2Q

2014 Press Release reported net product sales of Soliris of “$512.5 million in the second quarter

of 2014, an increase of 38 percent from the same period in 2013.” It also reported that for the

quarter, “GAAP net income increased 74 percent to $166.5 million” and “non-GAAP net income


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increased 56 percent to $229.1 million.” These financial results beat analysts’ EPS estimates by

$0.05 and revenue estimates by $2.95 million.

       173.    The 2Q 2014 Press Release reported that the Company’s “[r]evenue performance

for the quarter reflected steady additions of new patients . . . commencing Soliris treatment.”

       174.    Defendant Bell was quoted as echoing the Company’s sentiment, stating that “[i]n

the second quarter of 2014, we served an increasing number of new patients with PNH and

aHUS worldwide” and that “we will remain focused on serving more patients with PNH and

aHUS globally.”

       175.    With that stated, Alexion announced that the Company was “revising upward its

revenue guidance for 2014 from the previous range of $2.15 to $2.17 billion, now to the higher

range of $2.18 to $2.20 billion.” The Company also revised upward its non-GAAP earnings per

share, from the previous range of $4.75 to $4.85, to the higher range of $4.95 to $5.05 per share.

       176.    On the conference call Alexion held the same day with investors and analysts,

Defendant Sinha attributed those results to legitimate business factors and conditions when

stating the following in relevant part:

               The second quarter was another period of profitable growth and continued
               operating leverage. In Q2, net sales increased to $512.5 million or 38%
               above the year ago quarter despite an unfavorable currency headwind of
               approximately $5 million year-on-year and $3 million sequentially. Our
               sales performance reflects strong volume growth across all our territory.13

       177.    On that same call, Defendant Hallal also attributed the Soliris sales results to

legitimate business factors and conditions, resulting in “consistent growth in serving new

patients,” including in Brazil, and stated, in relevant part:




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  Full transcript available at https://seekingalpha.com/article/2340145-alexion-pharmaceuticals-
alxn-ceo-leonard-bell-on-q2-2014-results-earnings-call-transcript?part=single.


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               During Q2, we achieved strong Soliris in-quarter revenue growth of 38%
               over the year ago quarter. This reflects continued steady growth in PNH
               globally and the early progress of our ongoing aHUS launch.

               Looking first at PNH during Q2. We were pleased with our steady
               performance in our core territories of the U.S., Western Europe and Japan,
               and we also continue to observe consistent growth in serving new patients
               in Turkey, Brazil and Russia. In all territories, including those where we
               have operated the longest, we consistently observe that the majority of
               patients with PNH newly starting on Soliris were also newly diagnosed.
               The steady identification of newly diagnosed patients and the ongoing
               uptake of Soliris in PNH reflect the ongoing positive impact of our disease
               awareness and diagnostic initiative. While awareness of PNH has
               increased significantly over time, more education is required to further
               enhance the understanding of PNH and appropriate testing of higher-risk
               patients. Our experience supports our belief that, on a global basis, the
               majority of patients with PNH have yet to receive an accurate diagnosis,
               let alone commence appropriate treatment.

               In aHUS, the transformative clinical benefits of Soliris for patients with
               this devastating disease are reflected in the ongoing steady uptake of
               Soliris in the early stages of our launch.

       178.    Regarding the Company’s guidance for the rest of the year, Defendant Sinha

represented that it was the Company’s “[s]trong performance in both PNH and aHUS across our

territories [that] enable[d] us to raise sales guidance.”

       179.    The statements referenced above in ¶¶ 172-78 were materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls.




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       180.    The next day, on July 25, 2014, the Company filed a quarterly report on Form 10-

Q with the SEC for the second quarter ended June 30, 2014 (“2Q 2014 10-Q”), which was signed

by Defendants Bell and Sinha.

       181.    Attached to the 2Q 2014 10-Q were SOX certifications signed by Defendants Bell

and Sinha attesting to the accuracy of the 2Q 2014 10-Q.

       182.    The 2Q 2014 10-Q included, among other things, the financial figures reported in

the 2Q 2014 Press Release.

       183.    The statements contained in the 2Q 2014 10-Q were also materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls.

       October 23-24, 2014

       184.    On October 23, 2014, the Company issued a press release announcing its financial

results for the three and nine months ended September 30, 2014 (the “3Q 2014 Press Release”).

Once again, the Company reported greatly improving financial figures for the quarter: (1) “net

product sales of Soliris of $555.1 million in the third quarter of 2014, an increase of 39 percent

from the same period in 2013,” (2) “GAAP EPS increased 87 percent to $0.88 per share,

compared to Q3 2013 GAAP EPS of $0.47 per share,” and (3) “non-GAAP EPS increased 53

percent to $1.27 per share, compared to Q3 2013 non-GAAP EPS of $0.83 per share.” These

financial results beat analysts’ EPS estimates by $0.11 and revenue estimates by $13.22 million.


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       185.    Like other press releases before it, the 3Q 2014 Press Release represented that

“[r]evenue performance for the quarter reflected steady additions of new patients . . .

commencing Soliris treatment.”

       186.    The 3Q 2014 Press Release quoted Defendant Bell as making his usual statement

that “[i]n the third quarter of 2014, [the Company] served an increasing number of new patients

with PNH and aHUS worldwide,” but this time Defendant Bell took it one step further in saying

that “[o]ur third quarter performance underscores the significant opportunity we have to serve

more patients with PNH and aHUS globally.”

       187.    Notably the 3Q 2014 Press Release disclosed a tremendous amount of

repurchases: during the quarter, the Company repurchased $104.6 million of stock under its

share repurchase program.

       188.    Looking ahead, the 3Q 2014 Press Release explained that the Company is again

“revising upward its revenue guidance for 2014 from the previous range of $2.18 to $2.20

billion, now to the higher range of $2.220 to $2.225 billion.” The Company also revised

upwards, once again, its non-GAAP earnings per share guidance, from the previous range of

$4.95 to $5.05 per share to the higher range of $5.15 to $5.20 per share.

       189.    On the conference call Alexion held the same day with investors and analysts,

Defendant Sinha attributed those results to legitimate business factors and conditions, stating that

increase in net sales to $555 million in Q3 or 39% above the year-ago quarter, “primarily

reflect[ed] strong unit volume growth.”14 And discussing future growth, Defendant Sinha stated,

“Turning to guidance. We are pleased to be increasing our 2014 forecast for both sales and EPS

as announced this morning. Strong performance in both our current businesses, PNH and aHUS,

14
  Full transcript available at https://seekingalpha.com/article/2590825-alexion-pharmaceuticals-
alxn-ceo-leonard-bell-on-q3-2014-results-earnings-call-transcript?part=single.


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enables us to raise our 2014 sales guidance to the higher range of $2.220 billion to $2.225

billion.”

        190.   On the call, Defendant Sinha also represented that “[t]he primary objective of our

ongoing stock repurchase program is to mitigate the natural pace of stock dilution from equity

grants.”

        191.   Defendant Hallal, who the Board had just appointed to COO and a director as of

September 16, 2014, also attributed the Soliris sales results to legitimate business factors and

conditions, resulting in “steady” and “consistent growth,” including in Brazil:

               During Q3, we achieved strong Soliris in-quarter revenue growth of 39%
               over the year-ago quarter. This reflects continued steady growth in PNH
               globally and the strength of our ongoing aHUS launch.

               Looking first at PNH during Q3. Newly diagnosed patients continue to
               make up the majority of patients newly starting on Soliris across our
               territories. We are pleased with our steady performance in the U.S.,
               Western Europe and Japan, and we are also observing consistent growth in
               serving new patients across Turkey, Brazil and Russia.

               Overall, we are seeing consistent expansion in the number of patients we
               serve across our nearly 50-country platform as we implement our strategic
               initiatives. While awareness of PNH globally has increased significantly
               over time, more education is still required to further enhance the
               understanding of PNH and appropriate testing of higher-risk patients.

        192.   On the call, Defendant Hallal again attributed the Company’s sales success to

education initiatives and proper sales force training, as well as revised drug labels. These

innocuous reasons were a ruse. Specifically, Defendant Hallal stated the following, in relevant

part:

               Turning now to aHUS. We continue to add new patients in the U.S.,
               Europe and Japan. During Q3, our global field teams continue to educate
               physicians on the additional aHUS clinical data in our U.S. and European
               labels, which demonstrates the immediate and long-term benefits of
               sustained Soliris treatment. The revised labels, which now specify
               important longer-term clinical benefits associated with chronic and



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                 sustained Soliris treatment with inclusion of results from 2 years of
                 ongoing treatment, will enhance and broaden our commercial efforts.

          193.   Later on the call, an analyst directly and expressly asked management whether

there was anything unique driving the Company’s sales growth or whether it was simply

“demand growth.” Specifically, Matthew Roden of USB Investment Bank, Research Division,

asked the following, in relevant part:

                 And then just to follow-up on the commercial side. You guys have been
                 reticent to talk about any segment growth, but just wondering if you can
                 give us the sense as to whether or not there’s any -- anything sort of
                 nonrecurring in the Soliris number this quarter? Whether or not it just
                 simply reflects underlying demand growth?

          194.   Defendant Hallal, responding to Mr. Roden, answered in the affirmative –

indicating that the Company’s sales growth simply reflected natural demand growth. In full, he

stated:

                 Yes. We saw growth across all geographies, including Latin America in
                 Q3. Looking at Q4 in Russia, we see an impact on regional healthcare
                 budgets due to increased economic pressure in that country. I think it’s
                 also important -- and as a reminder, 2/3 of our business is outside of the
                 U.S. and we anticipate an impact on our non-U.S. business from both
                 major and commodity currencies. And maybe Vikas can provide a little bit
                 more color on that.

          195.   Defendant Hallal’s response was outright false—the Company’s increase in net

product sales was not solely due to natural demand growth but was rather driven by unethical

and potentially illegal sales practices in the U.S. and fraudulent lawsuits in Brazil.

          196.   On the call, Defendant Bell also commented on the Company’s sales, stating that

“[d]uring the quarter, our commercial organization again provided Soliris to an increasing

number of new patients across our PNH and aHUS operations worldwide.” He continued, “In

PNH, newly diagnosed patients continue to make up the majority of patients newly starting on

Soliris across our territories. And in aHUS, we continue to add new patients in the U.S. and



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Europe.” Most strikingly, Defendant Bell, keeping with the apparent Company cover-up story,

stated that “[i]n 2015 and beyond, we see the majority of our growth ahead of us in both PNH

and aHUS, driven by our disease education initiatives as we help physicians to optimize patient

care worldwide.”

       197.   The statements referenced above in ¶¶ 184-86, 188-94, and 196 were materially

false and misleading because they failed to disclose: (1) the Adverse Material Facts Regarding

Soliris Sales Methods; (2) the Company and Individual Defendants’ engagement in the

Fraudulent Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the

Nurse Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the

Patient Information Scheme; (5) the Company and Individual Defendants’ engagement in the

Patient Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal

controls or disclosure controls and procedures, and in fact had a material weakness in such

controls.

       198.   The next day, on October 25, 2014, the Company filed a quarterly report on Form

10-Q with the SEC for the third quarter ended September 30, 2014 (“3Q 2014 10-Q”), which was

signed by Defendants Bell and Sinha.

       199.   Attached to the 3Q 2014 10-Q were SOX certifications signed by Defendants Bell

and Sinha attesting to the accuracy of the 3Q 2014 10-Q.

       200.   The 3Q 2014 10-Q including, among others, the financial figures reported in the

3Q 2014 Press Release.

       201.   The statements contained in the 3Q 2014 10-Q were also materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent




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Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls.

       January 29, 2015

       202.    On January 29, 2014, the Company issued a press release announcing its financial

results for the quarter and year ended December 31, 2014 (the “4Q 2014 Press Release”). Once

again, the Company reported greatly improving financial figures for the quarter: (1) “net product

sales increased 36 percent to $599 million, compared to $442 million in Q4 2013,” (2) “GAAP

EPS increased to $0.76 per share, compared to a Q4 2013 GAAP net loss of $0.10 per share,”

and (3) “non-GAAP EPS increased 49 percent to $1.30 per share, compared to Q4 2013 non-

GAAP EPS of $0.87 per share.” These financial results beat analysts’ EPS estimates by $0.1 and

revenue estimates by $9.03 million.

       203.    For the year, the 4Q 2014 Press Release reported the following: (1) “net product

sales increased 44 percent to $2.234 billion, compared to $1.551 billion in 2013. Excluding the

impact of $88 million for reimbursement of prior year shipments, 2014 net product sales

increased 38 percent to $2.146 billion,” (2) “GAAP EPS increased to $3.26 per share, compared

to 2013 GAAP EPS of $1.27 per share”, and (3) “non-GAAP EPS increased 69 percent to $5.21

per share, compared to 2013 non-GAAP EPS of $3.08 per share. Excluding $0.37 per share

related to reimbursement of prior year shipments, 2014 non-GAAP EPS increased 57 percent to

$4.84 per share.”




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       204.    The 4Q 2014 Press Release represented that “[t]he year-on-year increase in Q4

net product sales of 36 percent reflected steady additions of new patients . . . commencing Soliris

treatment.”

       205.    The 4Q 2014 Press Release quoted Defendant Bell as making his usual statement

that “[i]n 2014, we provided Soliris to an increasing number of patients with PNH and aHUS

worldwide” and that the Company will “focus on serving more patients with PNH and aHUS

globally.”

       206.    Looking ahead, the 4Q 2014 Press Release provided full-year 2015 guidance as

follows:

               In 2015, worldwide net product sales are expected to be within a range of
               $2.55 to $2.6 billion, which includes an approximately negative 5 percent,
               or $135 million, foreign exchange impact compared to 2014 exchange
               rates. Non-GAAP earnings per share for the year are expected to be $5.60
               to $5.80, which includes an approximately $0.30 negative foreign
               exchange impact compared to 2014 exchange rates. 2015 guidance is
               based on current exchange rates remaining unchanged.

       207.    On the conference call Alexion held the same day with investors and analysts,

Defendant Hallal attributed the Company’s positive results to legitimate business factors and

conditions, including Alexion’s ability “to identify a consistently high number of newly

diagnosed patients,” and stated the following, in relevant part:

               Now turning to our performance in Q4. We advanced our mission by
               reaching significant milestones across our commercial and pipeline
               initiatives.

               Looking first to PNH. Our performance in 2014 affirms our view that on a
               global basis, the majority of patients with PNH have yet to receive an
               accurate diagnosis, let alone commence appropriate treatment. Throughout
               2014, as in prior years, we continue to identify a consistently high number
               of newly diagnosed patients with PNH in the U.S., Europe and Japan, the
               territories in which we have operated the longest. As we look at 2015, we
               have strong conviction in our PNH franchise, as we aim to serve many
               more patients around the world.



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               Turning to aHUS. We continue to observe a steady addition of new
               patients commencing Soliris treatment in the U.S. and Europe in 2014,
               while we made important progress in the early stages of our launch in
               Japan. Globally, the ongoing strength of our aHUS launch confirms our
               view that our opportunity to serve patients with aHUS is at least as large
               as our opportunity to serve patients with PNH and perhaps larger. As one
               measure in the U.S., now more than 3 years following their respective
               FDA approvals, more patients are currently receiving Soliris for aHUS
               than there had been for PNH. In Europe, we are observing a similar trend
               in the earlier stages of our aHUS launch. These observations support our
               view that the incidence of aHUS is likely higher than PNH.

               Looking at 2015 and beyond, we continue to see that the majority of our
               aHUS growth is ahead of us, supported by our strength in labels in the
               U.S. and Europe, which demonstrate the immediate and long-term benefit
               of early and sustained treatment for patients with aHUS.

                                                    ***

               Turning to our 2015 guidance. We announced this morning our revenue
               forecast of $2.55 billion to $2.6 billion despite currency headwinds. On a
               constant currency basis, we would expect an in-year sales growth rate of
               approximately 26%. Robust growth for Soliris reflects strong underlying
               demand with the anticipated addition of a similar number of new
               patients on treatment year-on-year.15

       208.    On the same call, Defendant Sinha also attributed the Soliris sales results to

legitimate business factors and conditions and commented on the Company’s 2015 guidance,

saying that it “reflects our expectation of continued strong growth at Soliris with expected

addition of a similar number of new patients on treatment in 2015 compared to 2014 as well as a

small initial asfotase alfa contribution.”

       209.    The statements referenced above in ¶¶ 202-08 were materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse


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  Full transcript available at https://seekingalpha.com/article/2865266-alexion-pharmaceuticals-
alxn-q4-2014-results-earnings-call-transcript?part=single.


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Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls.

       February 6, 2015

       210.    On February 6, 2015, the Company filed an annual report on Form 10-K with the

SEC for the fiscal year ended December 31, 2014 (the “2014 10-K”), which was signed by,

among others, Defendants Bell, Sinha, Brennan, Burns, Coughlin, Hallal, Keller, Mollen, Norby,

Parven, Rummelt, and Veneman.

       211.    Attached to the 2014 10-K were SOX certifications signed by Defendants Bell

and Sinha attesting to the accuracy of the 2014 10-K.

       212.    The 2014 10-K reiterated and expanded upon the financial figures reported in the

4Q 2014 Press Release.

       213.    The 2014 10-K contained many, if not all, of the same false and misleading

statements and omissions contained in or omitted from the 2013 10-K, including the Effective

Sales Force Representation, Limited Inventory Representation, Worldwide Commercialization

Representations,   Commercial     Success    Factors    Omission,   Effective   Internal    Control

Representation, and Effective Disclosure Controls Representation.

       214.    The Company’s statements in the 2014 10-K and the SOX certifications attached

thereto were materially false and misleading because they failed to disclose: (1) the Adverse

Material Facts Regarding Soliris Sales Methods; (2) the Company and Individual Defendants’

engagement in the Fraudulent Lawsuit Scheme; (3) the Company and Individual Defendants’

engagement in the Nurse Coordination Scheme; (4) the Company and Individual Defendants’

engagement in the Patient Information Scheme; (5) the Company and Individual Defendants’


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engagement in the Patient Advocacy Group Scheme; and (6) that Alexion was not maintaining

effective internal controls or disclosure controls and procedures, and in fact had a material

weakness in such controls.

       April 8, 2015 – The 2015 Proxy Statement

       215.    On April 8, 2015, the Company filed the 2015 Proxy Statement. The 2015 Proxy

Statement invited shareholders to attend Alexion’s 2015 Annual Meeting of Shareholders on

Wednesday, May 6, 2015, and purported to “describe[] the business to be considered at the

meeting.” It was based upon this proxy statement that shareholders were expected to cast votes

on extremely important matters to the Company, including the election of the following director

nominees: Defendants Bell, Brennan, Burns, Coughlin, Hallal, Mollen, Norby, Parven, Rummelt

and Veneman.

       216.    The 2015 Proxy Statement reiterated the Company’s financial results for fiscal

year 2014, stating that “Soliris net product sales increased 44% to $2.234 billion, and excluding

the impact of $88 million for reimbursement of prior year shipments, Soliris net product sales

increased 38% to $2.146 billion.”

       217.    In justifying the grant of a bonus to Defendant Hallal, the 2015 Proxy Statement

represented the following:

               Mr. Hallal received an annual cash incentive above target primarily due to
               his exceptional execution of Alexion’s commercial strategy, and his
               demonstrated leadership across functions within the Company. Soliris
               product sales for both PNH and aHUS exceeded targets globally, and the
               Company successfully maintained strong focus on PNH as it continues its
               global launch of Soliris for the treatment of aHUS. . . . Under Mr. Hallal’s
               leadership, Alexion has experienced significant growth in global product
               sales during 2014 (44%), attributed to both strong sales for PNH and
               strong sales for aHUS. The Committee recognized Mr. Hallal’s continuous
               contributions to and leadership for key company initiatives.




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       218.    Notably, the Company, in the 2015 Proxy Statement, ensured investors that the

Company had taken adequate and satisfactory steps to mitigate risk and had systems in place to

identify risks. Specifically, the 2015 Proxy Statement stated the following, in relevant part:

               The Board has ultimate responsibility for overseeing Alexion’s risk
               management processes. In May 2013, the Board formed a Risk
               Committee, now called the Strategy and Risk Committee, to assist the
               Board in its oversight of enterprise risk management processes. The
               committee also has responsibility for overseeing Alexion’s strategic
               planning process on behalf of the Board, which the Board believes is
               important to align Alexion’s strategic priorities with the Company’s risk
               assessments. The committee evaluates management’s processes for
               reviewing, refreshing and modifying its enterprise risk management
               system and processes. Alexion is committed to fostering a company
               culture of risk-adjusted decision-making without constraining
               reasonable risk-taking and innovation, and the committee oversees the
               Company’s efforts to foster this culture. The committee reviews with
               management, internal auditors and external advisors the identification,
               prioritization and management of risks, the accountabilities and roles of
               the company functions involved with enterprise risk management, the risk
               portfolio and the corresponding actions implemented by management. The
               committee regularly informs the full Board of Alexion’s most significant
               risks and how these risks are managed. The Strategy and Risk
               Committee seeks to inform the Board of enterprise risks that are or should
               be delegated to other committees of the Board for review or monitoring.

       219.    The 2015 Proxy Statement also advertised the Company’s Code of Ethics and

ensured investors that the Company’s “directors, officers and employees are required to comply

with the Code,” which the Company represented to cover “areas of professional conduct relating

to individual’s service to Alexion, including conflicts of interest, unfair or unethical use of

corporate opportunities, strict protection of confidential information, compliance with applicable

laws and regulations, and oversight of ethics and compliance by employees of the Company.”

       220.    The statements referenced above in ¶¶ 215-19 were materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse


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Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls. The

2015 Proxy Statement’s representation regarding the Company’s Code of Ethics was also

materially false and misleading because it failed to disclose that senior management was not only

failing to comply with the Code of Ethics, but encouraging others to violate the Code of Ethics.

       April 23-24, 2015

       221.    On April 23, 2014, the Company issued a press release announcing its financial

results for the three months ended March 31, 2015 (the “1Q 2015 Press Release”). For the

quarter, the 1Q 2015 Press Release disclosed the following financials: (1) “net product sales

increased to $600.3 million, compared to $566.6 million in Q1 2014,” (2) GAAP EPS was $0.45

per share, and (3) non-GAAP EPS was 1.28 per share. The Company’s revenue figures beat

analysts’ revenue estimates by $8.92 million.

       222.    The 1Q 2015 Press Release represented that the Company’s “increase in revenue

reflected steady additions of new patients . . . commencing Soliris treatment across the

Company’s 50-country global platform.”

       223.    The 1Q 2015 Press Release quoted Defendant Hallal, as CEO, as stating, “In Q1,

we provided Soliris to an increasing number of patients with PNH and aHUS worldwide.”

Notably, this statement was considerably similar to the statement that Defendant Bell was

regularly quoted as saying in previous press releases. Defendant Hallal, however, omitted the

term “new patients” and simply represented that the Company provided Soliris to an increasing

number of patients.    This subtle difference evinces Defendant Hallal’s knowledge that the

Company’s sales force was simply pushing more drugs to the same clients instead of recruiting


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new clients. The words of executive management, especially when quoted in a press release, are

carefully chosen.

       224.      The 1Q 2015 Press Release also reiterated the guidance provided in the 4Q 2014

Press Release.

       225.      On the conference call Alexion held the same day with investors and analysts,

Defendant Hallal attributed the Company’s financial results to legitimate business factors and

conditions, including the ability of Alexion’s “commercial organization” to identify “newly

diagnosed patients” through “diagnostic initiatives,” which seemed to be a backtrack from

language he used in the 1Q 2015 Press Release. 16 Specifically, Defendant Hallal stated the

following, in relevant part:

                 During the quarter, our commercial organization delivered leveraging our
                 world-class expertise in rare diseases to serve more patients with both
                 PNH and aHUS. This resulted in a 25% increase in revenues and a 31%
                 increase in volume year-on-year.

                                                      ***

                 Looking at our operating performance with the strong addition of new
                 patients receiving Soliris in Q1, and with the expected continued growth
                 across our 50-country platform, we are reiterating our 2015 revenue and
                 EPS guidance despite increased currency headwinds, reflecting the
                 ongoing strength of our core business.

                 Looking more closely at our PNH franchise, in Q1, as in all prior quarters
                 since 2007, we identified a consistently high number of newly diagnosed
                 patients with PNH in the US, Europe and Japan, the three territories in
                 which we have operated the longest, as well as in other key markets such
                 as Turkey and Brazil. The success of our PNH diagnostic initiatives drives
                 our steady growth as we continue to see that the majority of patients newly
                 starting on Soliris are also newly diagnosed. Our experience affirms our
                 view, that on a global basis, the majority of patients with PNH have yet to
                 receive an accurate diagnosis let alone commence appropriate treatment.



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  Full transcript available at https://seekingalpha.com/article/3095446-alexion-pharmaceuticals-
alxn-ceo-david-hallal-on-q1-2015-results-earnings-call-transcript?part=single.


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              In aHUS, our global launch continued to progress. In Q1, we again added
              a consistent number of new aHUS patients on Soliris treatment. We now
              see the same trend in Europe three years post approval. The ongoing
              strength of our aHUS launch confirms our view that our opportunity to
              serve patients with aHUS is indeed larger than our opportunity to serve
              patients with PNH.

                                                    ***

              Our performance in Q1 reflects the strength of our underlying business as
              well as the build-out of our metabolic franchise, the advancement of our
              development opportunities and the broadening of our pipeline.
              Specifically, Soliris in PNH and aHUS continues to grow steadily across
              our 50-country operating platform.

       226.   Defendant Hallal further explicitly stated that the Company’s first quarter 2015

“revenue growth was driven by an increase in volume of 31% compared to the year ago quarter.”

Defendant Sinha echoed this statement on the call, parroting that the Company’s quarterly

“revenue growth was driven by a 31% increase in volume, partially offset by a 6.6% currency

headwind in Q1 over the year-ago quarter, net of hedging.”

       227.   Finally, on the call, Defendant Hallal commented on the Company’s 2015

guidance, stating that “[w]ith this steady, patient and volume growth in our core business,

combined with our effective hedging program, we are reiterating 2015 financial guidance.”

       228.   The next day, on April 24, 2015, the Company filed a quarterly report on Form

10-Q with the SEC for the first quarter ended March 31, 2015 (“1Q 2015 10-Q”), which was

signed by Defendants Hallal and Sinha.

       229.   Attached to the 1Q 2015 10-Q were SOX certifications signed by Defendants

Hallal and Sinha attesting to the accuracy of the 1Q 2015 10-Q.

       230.   The 1Q 2015 10-Q included, and expanded upon, the financial figures reported in

the 1Q 2015 Press Release.




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         231.   The statements contained in ¶¶ 221-23 and 225-27, and the 1Q 2015 10-Q, were

materially false and misleading because they failed to disclose: (1) the Adverse Material Facts

Regarding Soliris Sales Methods; (2) the Company and Individual Defendants’ engagement in

the Fraudulent Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the

Nurse Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the

Patient Information Scheme; (5) the Company and Individual Defendants’ engagement in the

Patient Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal

controls or disclosure controls and procedures, and in fact had a material weakness in such

controls.

         May 2015 – Synageva Merger

         232.   On May 5, 2015, Alexion entered into an Agreement and Plan of Reorganization

(the “Merger Agreement”) with Synageva BioPharma Corp., a Delaware corporation

(“Synageva”), and Alexion’s wholly owned subsidiaries, Pulsar Merger Sub Inc., a Delaware

corporation, and Galaxy Merger Sub LLC, a Delaware limited liability company.

         233.   According to a press release issued by the Company the next day on May 6, 2015

(the “5/6/15 Press Release”), pursuant to the Merger Agreement, Alexion was to acquire—and

did acquire—Synageva for consideration of $115 in cash and 0.6581 Alexion shares for each

share of Synageva, implying a total per share value of $230 based on the nine day volume-

weighted average closing price of Alexion stock through May 5, 2015 (the “Merger”).17

         234.   Section 5.5 of the Merger Agreement represented that Alexion had adequate

internal controls and procedures in place. Specifically, Section 5.5 states:

                Parent has established and maintains disclosure controls and procedures
                and internal control over financial reporting (as such terms are defined in
                paragraphs (e) and (f), respectively, of Rule 13a-15 under the Exchange
17
     The Merger was completed on June 22, 2015.


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               Act) as required by Rule 13a-15 or 15d-5 under the Exchange Act.
               Parent’s disclosure controls and procedures are reasonably designed to
               ensure that all material information required to be disclosed by Parent in
               the reports that it files or furnishes under the Exchange Act is recorded
               and reported on a timely basis to the individuals responsible for the
               preparation of the Company’s filings with the SEC and other public
               disclosure documents. Based on its most recent evaluation of internal
               controls over financial reporting prior to the date hereof, management of
               Parent has disclosed to Parent’s auditors and the audit committee of the
               Parent board of directors (i) any significant deficiencies and material
               weaknesses in the design or operation of internal controls over financial
               reporting that are reasonably likely to adversely affect in any material
               respect Parent’s ability to report financial information and (ii) any fraud,
               whether or not material, that involves management or other employees
               who have a significant role in Parent’s internal control over financial
               reporting, and each such deficiency, weakness and fraud so disclosed to
               auditors, if any, has been disclosed to the Company prior to the date
               hereof.

       235.    Since the Company did not actually have effective internal controls and

procedures at the time of entry into the Merger Agreement, it could have constituted a breach of

contract.

       236.    Based on the Company’s false assurances and representations, however, the

Merger was unanimously approved by both companies’ boards of directors, and was valued at

approximately $8.4 billion net of Synageva’s cash.

       237.    The 5/6/15 Press Release quoted Defendant Hallal’s comments on the Merger,

stating that “[w]ith strong ongoing Soliris growth in PNH and aHUS worldwide, and the

anticipated 2015 global launches of Strensiq and Kanuma, we will accelerate and diversify our

revenue growth.” Along these lines, the 5/6/15 Press Release touted the sales growth of Soliris,

stating that “[s]ince its launch in 2007, Soliris has grown to more than $2 billion in revenues in

2014, with additional growth anticipated as the Company has consistently identified significant

numbers of new patients with PNH and aHUS each year.”




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       238.    Defendant Bell, as Chairman of Alexion’s Board, was quoted as saying that

“Alexion is at the strongest and most promising point in our history given the strength of our

clinical, commercial, and operational performance and the depth of our team.”

       239.    The 5/6/15 Press Release also welcomed the addition of Defendant Baker,

Chairman of Synageva’s Board, to Alexion’s Board.

       240.    The statements contained in the 5/6/15 Press Release, mentioned above, were

materially false and misleading because they failed to disclose: (1) the Adverse Material Facts

Regarding Soliris Sales Methods; (2) the Company and Individual Defendants’ engagement in

the Fraudulent Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the

Nurse Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the

Patient Information Scheme; (5) the Company and Individual Defendants’ engagement in the

Patient Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal

controls or disclosure controls and procedures, and in fact had a material weakness in such

controls.

       241.    In connection with the merger, Alexion and Synageva co-sponsored a “Global

Town Hall” event, which was hosted by Defendant Hallal on May 11, 2015. The presentation

for the Global Town Hall included a slide titled, “Continued Soliris Growth Drives Strong

Operational Performance,” representeing that “[g]rowth in [the] PNH and aHUS markets drives

increasing operating and financial leverage.” A reproduction of the slide is below:




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       242.    The representations in the Global Town Hall presentation were materially false

and misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls.

       June 16, 2015 Prospectus

       243.    On June 16, 2015, the Company filed a Prospectus/Offer to Exchange on Form

424B3 with the SEC in connection the Merger (the “Merger Prospectus”).

       244.    The Company acknowledged, in the Merger Prospectus, that “Alexion’s business

and marketing methods are subject to regulation by the governments of the countries in which

Alexion operates.” The Company specifically pointed to the Foreign Corrupt Practices Act of

1977 (15 U.S.C. § 78dd-1, et seq.) and similar anti-bribery laws in other countries, which



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prohibit companies and their representatives from offering, promising, authorizing or making

payments to foreign officials for the purpose of obtaining or retaining business. The Company

expressly assured investors and the public, in its Merger Prospectus, that it “has policies and

procedures designed to help ensure that Alexion and its representatives, including Alexion’s

employees, comply with such laws . . . .”

       245.     Yet, in an alarming new revelation embedded deep within the Merger Prospectus,

the Company finally disclosed that on May 8, 2015, it received a subpoena in connection with an

investigation by the Enforcement Division of the SEC requesting information related to

Alexion’s grant-making activities and compliance with the FCPA. The Company stated that

“[w]hile the subpoena seeks information related to Alexion’s activities and policies and

procedures worldwide, it notes in particular Japan, Brazil, Turkey and Russia” and “also seeks

information related to Alexion’s recalls of specific lots of Soliris and related securities

disclosures.”

       246.     In an almost stunning move, immediately after this disclosure, the Company

represents that it “is committed to compliance with applicable laws and regulations and strives

to operate at the highest ethical standards in all of its markets.”

       247.     The statements referenced above in ¶¶ 244-46 were materially false and

misleading because they falsely assured investors that the Company was committed to

compliance when it was clearly not and in fact engaged in violations of federal and state law

when that exact statement was made, and they failed to disclose: (1) the Adverse Material Facts

Regarding Soliris Sales Methods; (2) the Company and Individual Defendants’ engagement in

the Fraudulent Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the

Nurse Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the




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Patient Information Scheme; (5) the Company and Individual Defendants’ engagement in the

Patient Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal

controls or disclosure controls and procedures, and in fact had a material weakness in such

controls.

       July 30-31, 2015

       248.    On July 30, 2015, the Company issued a press release announcing its financial

results for the second quarter of 2015 (the “2Q 2015 Press Release”). The 2Q 2015 Press

Release reported the following financial results:

               Net product sales of Soliris® (eculizumab) grew to $636 million, a 24%
               increase, compared to $512.5 million for the same period in 2014, despite
               currency headwinds. Non-GAAP diluted earnings per share (EPS) for the
               second quarter of 2015 were $1.44, compared to $1.12 in the second
               quarter of 2014. On a GAAP basis, diluted EPS for the second quarter of
               2015 was $0.83 per share, impacted by $40.1 million, or $0.20 per share,
               related to acquisition and restructuring costs resulting from the Synageva
               acquisition, compared to $0.83 in the second quarter of 2014.

       249.    The Company’s financial results beat analysts’ EPS estimates by $0.06 and

revenue estimates by $8.21 million.

       250.    Defendant Hallal did not mention that that the Company added new patients in the

quarter, instead choosing to merely look forward to “the second half of 2015” where the

Company was slated to “continue to serve more patients with PNH and aHUS.”

       251.    The 2Q 2015 Press Release also announced that the Company was “revising

upward its revenue guidance for 2015 from the previous range of $2.55 to $2.6 billion, now to

the higher and narrower range of $2.6 to $2.62 billion, which includes an approximately negative

6 percent, or $160 million, foreign exchange impact compared to 2014 exchange rates.” Non-

GAAP financial guidance was also revised to include Synageva financial results into Alexion’s

consolidated results beginning June 22, 2015, the acquisition closing date. Interestingly, the



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inclusion of Synageva’s financial results forced the Company to revise its 2015 non-GAAP EPS

guidance to the range of $4.70 to $4.80 per share, from the previous range of $5.60 to $5.80 per

share.

         252.   On the conference call Alexion held the same day with investors and analysts,

Defendant Hallal touted that Alexion “fired on all cylinders” and attributed the Company’s

reported financial results to legitimate business factors and conditions. Defendant Hallal stated

that the Company’s “commercial organization delivered steady growth in both PNH and aHUS

reflecting the strength of our core Soliris business.”18

         253.   As was usual, Defendant Hallal discussed the Company’s revenue growth in

detail and attributed it simply to “volume growth.” Specifically, Defendant Hallal stated the

following, in relevant part:

                In Q2, product revenues were $636 million, an increase of 24% over Q2
                2014, despite the continued weakness in ex-U.S. currencies. This revenue
                growth was driven by an increase in volume of 31% compared to the year-
                ago quarter, reflecting the ongoing strength of our core PNH and aHUS
                businesses. We achieved non-GAAP EPS of $1.44 per diluted share as a
                result of strong performance in PNH and aHUS in the first half of 2015,
                and our expectations for continued strong Soliris volume growth, we are
                increasing our 2015 revenue guidance to the higher range of $2.6 billion to
                $2.62 billion, despite continued currency headwinds.

         254.   Moreover, on the call, Defendant Hallal responded to an analyst’s question

regarding 2015 revenue guidance and whether the slated commercialization of the Company’s

other drug products was factored into that. Defendant Hallal answered that “yes, the initial

guidance did include a small initial contribution from [another drug product],” but the delay in

the launch of the other drug products caused the Company to lower its expectations because of

“the kinetics of an ultra-rare disease launch, and the fact that it takes a period of time to really


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  Full transcript available at https://seekingalpha.com/article/3378045-alexion-pharmaceuticals-
alxn-david-l-hallal-on-q2-2015-results-earnings-call-transcript?part=single.


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build up the patients on treatment.” This would have been a perfect time to disclose that the

Company had been pressuring clients and pulling-in sales but Defendant Hallal did not disclose

such fact.

       255.    The statements referenced above in ¶¶ 248 and 250-54 were materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls.

       256.    The next day, on July 31, 2015, the Company filed a quarterly report on Form 10-

Q with the SEC for the second quarter ended June 30, 2015 (“2Q 2015 10-Q”), which was signed

by Defendants Hallal and Sinha.

       257.    Attached to the 2Q 2015 10-Q were SOX certifications signed by Defendants

Hallal and Sinha attesting to the accuracy of the 2Q 2015 10-Q.

       258.    The 2Q 2015 10-Q included, and expanded upon, the financial figures reported in

the 2Q 2015 Press Release.

       259.    The statements contained in the 2Q 2015 10-Q were also materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient




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Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls..

       October 29-November 2, 2015

       260.    On October 29, 2015, the Company issued a press release announcing its financial

results for the three and nine months ended September 30, 2015 (the “3Q 2015 Press Release”).

The Company reported the following financials:

               Total revenues grew to $666.6 million, a 20 percent increase, compared to
               $555.1 million for the same period in 2014, despite 9 percent currency
               headwinds. Results for the third quarter of 2015 reflect results of
               Synageva’s operations for the first full quarter following the close of the
               stock and cash acquisition on June 22, 2015. Non-GAAP diluted earnings
               per share (EPS) for the third quarter of 2015 were $1.16, compared to
               $1.27 in the third quarter of 2014. On a GAAP basis, net loss for the third
               quarter of 2015 was $0.81 per share, impacted by $315.6 million, or $1.39
               per share, related to a non-cash deferred income tax expense resulting
               from the integration of Synageva, compared to diluted GAAP EPS of
               $0.88 in the third quarter of 2014.

       261.    The Company’s financial results beat analysts’ EPS estimates by $0.15 but were

below revenue estimates by $0.27 million, representing the first time during the Relevant Period

that the Company had not beaten analysts’ revenue estimates for the quarter.

       262.    Notably, the 3Q 2015 Press Release disclosed that “Alexion expects 2015 total

revenues to be at the lower end of our previously guided range of $2.6 billion to $2.62 billion,

primarily due to macroeconomic factors in Latin American countries.” At the same time,

Alexion increased its 2015 non-GAAP EPS guidance to the range of $4.92 to $4.97 per share,

from the previous range of $4.70 to $4.80 per share.

       263.    Yet, on the conference call Alexion held the same day with investors and analysts,

Defendant Hallal painted an optimistic picture that presented positive financial figures driven by




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legitimate business factors and conditions. On the call, Defendant Hallal stated the following, in

relevant part:

                 Our global commercial organization continued to identify and serve a
                 consistently high number of newly diagnosed patients across our 50-
                 country platform. In aHUS in Q3 we once again reached a consistent
                 number of new patients. The ongoing strength of our global rollout
                 confirms our view that our opportunity to serve patients with aHUS is
                 indeed larger than our opportunity to serve patients with PNH. We
                 continue to see the majority of our opportunity to serve new patients with
                 PNH and aHUS ahead of us.

                                                       ***

                 Turning to our financial performance. Product revenues in Q3 were $666
                 million, an increase of 20% over Q3 2014 despite increased weakness in
                 ex-US currencies. This revenue growth was driven by a strong 29%
                 increase in Soliris volume compared to the year ago quarter, reflecting
                 the ongoing strength of our core PNH and aHUS businesses, both in the
                 third quarter and year-to-date.19

       264.      On the same call, Defendant Sinha attributed the Company’s sales results to

legitimate business factors and conditions as well, also stating that “Q3 revenues were driven by

continued strong growth of Soliris.”

       265.      The executive on this call assigned to attribute the Company’s “strong . . . growth

in” Soliris sales during the third quarter of 2015 to “diagnostic initiatives” and “disease

awareness programs” was Defendant Thiel. He stated the following, in relevant part:

                 Our global commercial operations delivered a strong 29% volume growth
                 year on year reflecting the underlying strength of our core Soliris business.

                 Starting with PNH, the ongoing success of our diagnostic initiatives drove
                 steady growth. We are consistently identifying a high number of newly
                 diagnosed patients with PNH in our core markets of the US, Europe and
                 Japan, the territories where we have been operating the longest as well as
                 in other key markets such as Turkey, Brazil and Russia.



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  Full transcript available at https://seekingalpha.com/article/3624196-alexion-pharmaceuticals-
alxn-david-hallal-q3-2015-results-earnings-call-transcript?part=single.


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               Our experience confirms our view that on a global basis the majority of
               patients with PNH have yet to receive an accurate diagnosis let alone
               commence appropriate treatments. In aHUS we also continue to observe a
               consistent number of new patients commencing Soliris treatment.

       266.    Speaking on the 2015 guidance, Defendant Hallal blamed “macroeconomic

factors” for dips in Company revenue, stating the following:

               Turning briefly to our 2015 guidance, this morning we guided 2015
               revenues to be in the lower end of our previously guided range of $2.6
               billion to $2.62 billion. Due to macroeconomic factors in Latin American
               countries, we expect an impact of approximately $10 million to $15
               million in the fourth quarter in countries where we sell in USD, which is
               due to local government budgetary constraints.

       267.    The statements referenced above in ¶¶ 260 and 262-66 were materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls.

       268.    A few days later, on November 2, 2015, the Company filed a quarterly report on

Form 10-Q with the SEC for the third quarter ended September 30, 2015 (“3Q 2015 10-Q”),

which was signed by Defendants Hallal and Sinha.

       269.    Attached to the 3Q 2015 10-Q were SOX certifications signed by Defendants

Hallal and Sinha attesting to the accuracy of the 3Q 2015 10-Q.

       270.    The 3Q 2015 10-Q included, and expanded upon, the financial figures reported in

the 3Q 2015 Press Release.




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       271.    The statements contained in the 3Q 2015 10-Q were also materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls.

       December 10, 2015 - Investor Day Presentation

       272.    On December 10, 2015, Defendants Hallal, Sinha, Thiel, and other Company

executives hosted an “Investor Day” conference with analysts and investors (“Investor Day

Conference”). Like he did on the November 2, 2015 conference call with investors, during the

presentation at the Investor Day Conference, Defendant Thiel described Alexion’s “unique

commercial capabilities” including in “disease education” and “diagnostic initiatives,” stating:

               You have heard earlier from David [Hallal] why we do what we do to
               bring transformative benefits to patients with devastating diseases who are
               left alone, undiagnosed and untreated. I want to share with you how we do
               it and share with you some detailed insights into our unique commercial
               capabilities. And at the end of this session my objective is that you see us
               in a unique spot to deliver on our pipeline, on our in-line portfolio and on
               our next generation program.

               So first what we know well and do well is this. There wouldn’t be the rare
               disease business without disease education. There wouldn’t be a rare
               disease business without rapid and accurate diagnosis and without patient
               support.

               When we meet a physicians and talk about our diseases in most cases they
               know very, very little about it. In fact, we look at PNH and aHUS in most
               cases they have heard maybe once or twice in their medical education and
               medical school about those diseases. Full of misperceptions.




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               And our job is to reset their knowledge about those diseases. Once
               physicians have recognized the devastating nature of the disease they want
               to know how to test and who to test. And this is why we have built critical
               capabilities in diagnostic initiatives, in testing to ensure that patients get
               rapid and accurate diagnosis. And patients are in need once they receive
               treatment to address their questions about what they want to know and in
               terms of funding and reimbursement.

                                                     ***

               But I also want to go beyond on our 50 country platform the structure that
               we have built is that of a highly talented, unique workforce that works
               integrated in the countries. And what’s special about them is that they are
               passionate about every single patient bringing benefits to them on a
               weekly basis with my five regional leaders looking at the feedback from
               advisory boards, from clinical centers, and new scientific evidence and
               discussing how we can drive those benefits to more patients and on a daily
               basis we look at patient identification in our programs to serve more
               patients.

       273.    Also during the Investor Day Conference, Alexion published a slide presentation

touting the Company’s “expert capabilities” to raise “disease awareness” by “partner[ing] with

medical experts,” the Company’s “dedicated diagnostic capabilities” and “lab partnerships,” and

the Company’s “patient support” through “[i]ntegrated field teams” and “[s]pecialized case

management.”

       274.    The statements made and information disseminated by Defendants during the

Investor Day Conference were materially false and misleading because they failed to disclose:

(1) the Adverse Material Facts Regarding Soliris Sales Methods; (2) the Company and Individual

Defendants’ engagement in the Fraudulent Lawsuit Scheme; (3) the Company and Individual

Defendants’ engagement in the Nurse Coordination Scheme; (4) the Company and Individual

Defendants’ engagement in the Patient Information Scheme; (5) the Company and Individual

Defendants’ engagement in the Patient Advocacy Group Scheme; and (6) that Alexion was not

maintaining effective internal controls or disclosure controls and procedures, and in fact had a

material weakness in such controls..


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       January 12, 2016 – J.P. Morgan Health Care Conference

       275.    On January 12, 2016, Defendants Hallal and Sinha attended the “J.P. Morgan

Health Care Conference” with analysts and investors. During that conference, Defendant Sinha

stated that although Alexion had seen “some difficulties in getting [Brazil] to manage their

budgets . . . we helped them out on that and it worked out well . . . . So, I think it’s not a big

issue anymore.” Asked for further information from conference participants, Defendant Sinha

engaged in the following colloquy:

               [Analyst]: Maybe a quick question for Vikasn [Sinha]. Thinking about – in
               the orphan disease space, there has been some challenges in Latin
               America. Maybe you can give us a sense of the geographic contribution of
               revenues from Latin America?

               [Sinha]: So, as David [Hallal] was mentioning, one third of our business is
               in U.S., one third in Europe and one third rest of the world. And within the
               rest of the world, approximately 10% of our business comes out of Latin
               America. Now, putting it into context, the Latin American issue, there has
               been some difficulty with the presidential impeachment proceedings
               started in Brazil and few other issues around oil prices and commodity
               prices going down there has put some pressure in their budgets. So, this
               2015 second half, we saw some difficulties in getting them to manage
               their budgets and we helped them out on that and it worked out well.

               Going into 2016 when you put that into perspective, I think we have
               gotten to a good spot with our discussions with the government. And even
               if the risk hits us, it’s not going to be more than 1% to 2% of our overall
               sales out of that 10% level. So, I think it’s not a big issue anymore.

       276.    Defendant Sinha’s statements regarding Alexion’s sales of Soliris in Latin

America and specifically Brazil were misleading and omitted material information because they

failed to disclose that the Company and the Individual Defendants’ were engaged in the

Fraudulent Lawsuit Scheme.




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       February 3, 2016

       277.    On February 3, 2016, the Company issued a press release announcing its financial

results for the for the fourth quarter and full year of 2015 (the “4Q 2015 Press Release”). The

4Q 2015 Press Release reported the following summary financial information, in relevant part:

               Total revenues for the full year of 2015 were $2.604 billion compared to
               $2.146 billion for the full year 2014, representing 21 percent revenue
               growth, excluding the impact of $88 million in 2014 for reimbursement of
               shipments in prior years. In 2015, the negative impact of currency on total
               revenue was 8 percent, or $165 million, net of hedging activities,
               compared to the prior year. Non-GAAP diluted earnings per share (EPS)
               for the full year of 2015 was $4.99 per share, compared to $5.21 per share
               in 2014. Full year 2014 non-GAAP EPS included $0.37 per share related
               to reimbursement of shipments in prior years. On a GAAP basis, Alexion
               reported diluted EPS of $0.67 per share for the full year 2015, compared
               to $3.26 per share in 2014. Full year 2014 GAAP EPS included $0.31 per
               share related to reimbursement of prior year shipments.

               Total revenues in the fourth quarter were $701 million, a 17 percent
               increase, compared to $600 million from the same period in 2014. In the
               fourth quarter, the negative impact of currency on total revenue was 8
               percent or $45 million, net of hedging activities, compared to the same
               quarter last year. Non-GAAP diluted EPS for the fourth quarter of 2015
               was $1.13, compared to $1.30 in the fourth quarter of 2014. On a GAAP
               basis, diluted EPS for the fourth quarter of 2015 was $0.29 per share,
               compared to $0.76 in the fourth quarter of 2014.

       278.    Defendant Hallal was quoted as stating that “[i]n 2016 we will continue to focus

on serving an increasing number of patients with PNH and aHUS globally . . . .”

       279.    The 4Q 2015 Press Release contained a table outlining the Company’s financial

guidance for 2016. For 2016, the Company expected total product revenues to reach $3.05 to

$3.1 billion, Soliris revenues to reach $2.9 to $2.925 billion, and EPS to reach $5.00 to $5.20.

       280.    On the conference call Alexion held the same day with investors and analysts,

Defendant Hallal attributed the Company’s reported financial results to legitimate business

factors and conditions. Right at the start of the call, Defendant Hallal stated that in the fourth

quarter 2015, the Company “achieved many significant commercial R&D and financial


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milestones,” one of which was that the Company’s “commercial team continued to serve a

consistently high number of new patients, with PNH and aHUS with Soliris.”20

       281.    On the call, Defendant Hallal continued his praise of the Company’s sales growth

by stating the following, in relevant part:

               We are pleased that Soliris continues to deliver strong volume growth. As
               we enter our 10th year since the initial Soliris launch, we delivered 28%
               year-on-year volume growth in 2015 and continue to see the majority of
               the opportunity ahead of us, for both PNH and aHUS.

               In PNH, in Q4, as in prior quarters, our global commercial organization
               continued to identify and serve a consistently high number of new patients
               across our 50 country platform. In aHUS in Q4, we once again served a
               consistent number of new patients, supporting our view that our
               opportunity to serve patients with aHUS is larger than our opportunity to
               serve patients with PNH.

       282.    Looking ahead, Defendant Hallal stated that “we are guiding 2016 total revenues

of $3.05 billion to $3.1 billion, which reflects continued strong underlying demand for Solaris, as

we serve an increasing number of patients in 2016.”

       283.    On the same call, in addition to echoing Defendant Hallal’s statements on future

growth, Defendant Sinha addressed Soliris’ past and current sales growth and certain events in

Latin America, stating the following, in relevant part:

               We are pleased with our financial performance in Q4 despite continued
               currency headwinds, as well as macroeconomic factors in Latin American
               countries.

               Q4 revenues reflected the continued steady growth of Soliris in PNH and
               aHUS, and the small initial contribution of Strensiq in the U.S. Total
               revenues increased to $701 million in Q4. This revenue growth was driven
               by a 25% increase in volume partially offset by 8% or $45 million in
               currency headwinds net of hedges in Q4 over the year-ago quarter,
               resulting in 17% revenue growth above the year-ago quarter.



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  Full transcript available at https://seekingalpha.com/article/3862346-alexion-pharmaceuticals-
alxn-ceo-david-hallal-q4-2015-results-earnings-call-transcript?part=single.


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               Soliris volume growth of 23% was driven by continued growth in PNH
               and aHUS across all geographies in Q4. However, volume growth was
               partially impacted by $15 million in Latin American countries due to end
               of year local government budgetary constraints.

       284.    When directly asked about the sales of Soliris in Brazil, Defendant Sinha engaged

in the following colloquy:

               [Analyst]: Morning and thanks for taking my questions. Just two quick
               ones perhaps on Soliris trajectories in 2016. I guess first, Vikas, I think
               you mentioned the impact from Latin America in Q4, and I assume that
               was mostly Brazil related. Has that issue been fixed in that region? And
               what does your 2016 guidance imply with regard to continued shipments
               into Brazil?

               [Singha]: So, let’s talk about Brazil first. We had a $15 million impact in
               Brazil at the year-end. Government restrictions did delay the orders. We
               feel that we have sorted out the issues right now in February. So we
               factored that into our guidance in 2016. So we think that the business as
               usual is ongoing from February onwards.

       285.    On the same call, Defendant Thiel continued his role in promoting the success of

the Company’s diagnostic initiatives as the driver of the Company’s “steady addition of new

patients.” Specifically, he stated the following:

               [O]ur global commercial operations continue to serve more patients with
               Soliris, as we delivered a strong 28% volume growth year-on-year,
               reflecting the underlying strength of our core Soliris business, while also
               initiating the launch of the Strensiq and Kanuma for patients with HPP and
               LAL-D.

               Starting with Solaris and PNH, the ongoing success of our diagnostic
               initiatives is driving a steady addition of new patients. In 2015, as in prior
               years, we consistently identified a high number of newly diagnosed
               patients with PNH across our 50 country platform. We also continue to see
               that the majority of patients newly starting on Soliris are also newly
               diagnosed. In 2016, we will continue to execute our PNH diagnostic
               initiatives with urgency to reach more new patients.

       286.    The statements referenced above in ¶¶ 277-85 were materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent


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Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls.

        February 8, 2016

        287.   On February 8, 2015, the Company filed an annual report on Form 10-K with the

SEC for the fiscal year ended December 31, 2015 (the “2015 10-K”), which was signed by,

among others, Defendants Hallal, Sinha, Bell, Baker, Brennan, Burns, Coughlin, Mollen, Norby,

Parven, Rummelt, and Veneman.

        288.   Attached to the 2015 10-K were SOX certifications signed by Defendants Hallal

and Sinha attesting to the accuracy of the 2015 10-K.

        289.   The 2015 10-K reiterated and expanded upon the financial figures reported in the

4Q 2015 Press Release.

        290.   The 2015 10-K contained many, if not all, of the same false and misleading

statements and omissions contained in or omitted from the 2014 10-K and 2013 10-K, including

the Effective Sales Force Representation, Limited Inventory Representation, Commercial

Success Factors Omission, Effective Internal Control Representation, and Effective Disclosure

Controls Representation.

        291.   The 2015 10-K further represented that the Company’s fantastic sales figures

were due to Alexion’s “dedicat[ion of] significant resources to the worldwide commercialization

of Soliris.”

        292.   In another stunning revelation, the Company reported an escalation in the SEC’s

investigation into the Company’s potential FCPA violations when it disclosed that “in October


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2015, Alexion received a request from the U.S. Department of Justice (DOJ) for the voluntary

production of documents and other information pertaining to Alexion’s compliance with the

FCPA.”

       293.    According to a Yale Daily News article21 citing a March 2015 speech by SEC

Director of Enforcement Andrew Ceresney, “In most FCPA cases, biotech employees paid

doctors to prescribe drugs or bribed health care officials to clear legal barriers for a drug . . . .”

The Yale Daily News article also cites Hughes Parker, an attorney and managing editor of The

Law Report Group, stating, “Though certain cases are common, almost any act seeking to gain

an unfair business advantage abroad by paying a health care worker would trigger the FCPA . . .

.”

       March 16, 2016 – Barclays Global Health Conference

       294.    On March 16, 2016, Defendant Hallal attended the “Barclays Global Health Care

Conference” with analysts and investors. During the conference, Defendant Hallal attributed

Alexion’s ability to “continue on an annual basis to identify a similar number of new patients

with PNH” to the Company’s “disease awareness and diagnostic initiatives . . . across our 50-

country operating platform.” Specifically, he stated the following, in relevant part:

               When we look at PNH, really the durability of this franchise stands out on
               the slide, and what you see on the slide on the left-hand side is that, in our
               core territories of the U.S., Europe and Japan, the territories where we
               have been operating the longest, we continue on an annual basis to
               identify a similar number of new patients with PNH. This makes up the
               majority of new patients who commence Soliris treatment in any given
               year. And this continued trend is really driven by our disease awareness
               and diagnostic initiatives in which we run across our 50-country operating
               platform.



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   Jiahui Hu, DOJ Investigates Alexion for Bribery, Yale Daily News, November 09, 2015,
http://yaledailynews.com/blog/2015/11/09/doj-investigates-alexion-for-bribery/ (last accessed
September 18, 2017).


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       295.    Defendant Hallal’s statements during the Barclays Global Health Care

Conference were materially false and misleading because they failed to disclose: (1) the Adverse

Material Facts Regarding Soliris Sales Methods; (2) the Company and Individual Defendants’

engagement in the Fraudulent Lawsuit Scheme; (3) the Company and Individual Defendants’

engagement in the Nurse Coordination Scheme; (4) the Company and Individual Defendants’

engagement in the Patient Information Scheme; (5) the Company and Individual Defendants’

engagement in the Patient Advocacy Group Scheme; and (6) that Alexion was not maintaining

effective internal controls or disclosure controls and procedures, and in fact had a material

weakness in such controls.

       March 31, 2016 – 2016 Proxy Statement

       296.    On March 31, 2016, the Company filed the 2016 Proxy Statement. The 2016

Proxy Statement invited shareholders to attend Alexion’s 2015 Annual Meeting of Shareholders

on Wednesday, May 11, 2016 and purported to “describe[] the business to be considered at the

meeting.” It was based upon this proxy statement that shareholders were expected to cast votes

on extremely important matters to the Company, including the election of the following director

nominees: Defendants Bell, Baker, Brennan, Burns, Coughlin, Hallal, Mollen, Norby, Parven,

Rummelt and Veneman.

       297.    The 2016 Proxy Statement reiterated the Company’s financial results for fiscal

year 2015, reporting “Soliris net product sales of $2.590 billion” and that “2015 non-GAAP

earnings-per-share (EPS) increased by $0.15, excluding $0.37 per share related to reimbursement

for prior year shipments.”

       298.    In listing out the Company’s performance milestones in the previous year, the

2016 Proxy Statement stated that “[t]he [Compensation] Committee determined that Alexion

exceeded its corporate objectives and achieved 131.5% of its approved corporate goals for


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2014.” The Company purportedly “[i]ncreased net product sales 44% from the previous year,”

and “[i]ncreased non-GAAP net income by 71%.”

       299.    Notably, the 2016 Proxy Statement disclosed that it was Defendant Hallal that

“recommended annual cash incentives for the other [named executive officers (“NEOs”)] based

on strong individual and corporate performance in 2015.”           On this recommendation, the

Compensation Committee “determined that annual cash incentive amounts for the NEOs,

including Mr. Hallal, should reflect Alexion’s strong 2015 performance and recognition of its

significant achievements.”

       300.    In justifying the grant of a bonus to Defendant Hallal, the 2015 Proxy Statement

represented that his “leadership and contributions were integral to the Company’s 2015

successes.” The sentences that followed noted that “Mr. Hallal assumed the CEO position in

April 2015 after having served as our COO. In 2015, the Company achieved 29% growth in

volume for Soliris.”

       301.    And as to Defendant Thiel’s contributions, the Company stated the following:

               Dr. Thiel assumed the role of Chief Commercial Officer, relocating to
               New Haven, and became responsible for worldwide commercial
               operations. . . . Dr. Thiel oversees the growth of Alexion’s complement
               franchise and is responsible for the Strensiq and Kanuma launches. In
               2015, the Company achieved 29% growth in volume for PNH and aHUS
               and 29% overall growth in year-on-year total revenues on a constant
               currency basis. Dr. Thiel led global commercial initiatives to harmonize
               marketing strategies and field team deployment and execution for the
               Kanuma and Strensiq launches. He expanded global commercial
               capabilities within Alexion’s existing structure to position the Company
               for its next stage of growth beginning in 2016.

       302.    Notably, the Company, in the 2016 Proxy Statement, ensured investors that the

Company had taken adequate and satisfactory steps to mitigate risk and had systems in place to

identify risks. Specifically, the 2016 Proxy Statement stated the following, in relevant part:




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               The Board has ultimate responsibility for overseeing Alexion’s risk
               management processes. In May 2013, the Board formed a Risk
               Committee, now called the Strategy and Risk Committee, to assist the
               Board in its oversight of enterprise risk management processes. The
               Committee also has responsibility for overseeing Alexion’s strategic
               planning process on behalf of the Board - see "Board’s Role in Strategy"
               below. The Board believes it is important to align Alexion’s strategic
               priorities with the Company’s risk management program. By designating
               a single Board committee to oversee both strategy and risk, the Board can
               execute its oversight and decision-making responsibilities as the
               Company’s strategic priorities and risks evolve with the business and
               external conditions. Under Ms. Burns’ leadership, the Committee focuses
               on detailed matters of strategy and risk, and the Committee amended its
               charter in 2015 to reflect the Committee’s and the Board’s current
               responsibilities with respect to strategy and risk management. The
               Committee evaluates management’s processes for reviewing, refreshing
               and modifying its enterprise risk management system and processes.
               Alexion is committed to fostering a company culture of risk-adjusted
               decision-making without constraining reasonable risk-taking and
               innovation, and the Committee oversees the Company’s efforts to foster
               this culture. The Committee reviews with management and external
               advisors the identification, prioritization and management of risks, the
               accountabilities and roles of the company functions involved with
               enterprise risk management, the risk portfolio and the corresponding
               actions implemented by management. The Committee regularly informs
               the full Board of Alexion’s most significant risks and how these risks
               are managed. The Strategy and Risk Committee seeks to inform the
               Board of enterprise risks that are or should be delegated to other
               committees of the Board for review or monitoring.

       303.    The 2016 Proxy Statement also advertised the Company’s Code of Ethics and

ensured investors that the Company’s “directors, officers and employees are required to comply

with the Code,” which the Company represented to cover “areas of professional conduct relating

to individual’s service to Alexion, including conflicts of interest, ethical conduct, anti-bribery

and anti-corruption, gifts, workplace matters, and oversight of ethics and compliance by

employees of the Company.”

       304.    The statements referenced above in ¶¶ 296-303 were materially false and

misleading because they falsely attested to Defendant Hallal’s success and commitment to the

Company when he was knowingly engaging in misconduct at the time when the statements were


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made, and they failed to disclose: (1) the Adverse Material Facts Regarding Soliris Sales

Methods, including that senior management was not in compliance with the Code of Ethics and

actively encouraging personnel to violate the Code of Ethics; (2) the Company and Individual

Defendants’ engagement in the Fraudulent Lawsuit Scheme; (3) the Company and Individual

Defendants’ engagement in the Nurse Coordination Scheme; (4) the Company and Individual

Defendants’ engagement in the Patient Information Scheme; (5) the Company and Individual

Defendants’ engagement in the Patient Advocacy Group Scheme; and (6) that Alexion was not

maintaining effective internal controls or disclosure controls and procedures, and in fact had a

material weakness in such controls.

       April 28-29, 2016

       305.    On April 28, 2016, the Company issued a press release announcing its financial

results for the first quarter of 2016. (the “1Q 2016 Press Release”). The 1Q 2016 Press Release

reported the following financial results for the quarter:

               Total revenues grew to $701 million, a 17 percent increase, compared to
               $600 million for the same period in 2015. In the first quarter, the negative
               impact of currency on total revenue was 5 percent or $30 million, net of
               hedging activities, compared to the same quarter last year. First quarter
               revenue growth was further negatively impacted by increased
               macroeconomic weakness in Latin American countries, primarily Brazil
               and Argentina. Non-GAAP diluted earnings per share (EPS) for the first
               quarter of 2016 was $1.11 per share, compared to $1.28 per share in the
               first quarter of 2015. On a GAAP basis, diluted EPS for the first quarter of
               2016 was $0.41 per share, compared to $0.45 per share in the first quarter
               of 2015.

                                                      ***

               Soliris® (eculizumab) net product sales were $665 million compared to
               $600 million in Q1 2015. Net product sales increased 11 percent year-on-
               year, despite continued currency headwinds as well as increased
               macroeconomic weakness in Latin American countries, primarily Brazil
               and Argentina. Soliris volume increased 18 percent year-on-year.




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       306.    The Company’s net product sales of $665 million were well below analysts’

consensus estimate of $692 million.

       307.    The 1Q 2016 Press Release quoted Defendant Hallal as stating, “In Q1 2016, we

grew our core Soliris business by serving a steady number of new patients with PNH and aHUS

in the U.S., Europe and Japan, partially offset by the increased impact of macroeconomic

weakness in Latin America.”

       308.    The 1Q 2016 Press Release disclosed that the Company was revising downwards

its 2016 guidance, now saying that “Alexion expects 2016 total revenues to be at the low end of

our previously guided range of $3,050 million to $3,100 million, primarily due to increased

macroeconomic weakness in Latin America, partially offset by an increase in Strensiq revenues

and the strengthening of foreign currencies” and Soliris revenues were now expected to be

$2.835 to $2.875 billion, compared to the prior guidance of $2.9 to $2.925 billion.

       309.    On the conference call Alexion held the same day with investors and analysts,

Defendant Hallal attributed the Company’s financial results to legitimate business factors and

conditions in the Company’s “core Soliris business” despite “macroeconomic weakness . . .

primarily in Brazil.”22 Specifically, Defendant Hallal stated the following, in relevant part:

               During the quarter, we achieved many commercial and R&D milestones.
               First, we grew our core Soliris business, largely driven by a steady number
               of new patients treated in the U.S., Europe and Japan.

                                                     ***

               Looking at Soliris in Q1, we grew our core business by serving a
               consistently high number of new patients with PNH and aHUS in the U.S.,
               Europe and Japan, the territories where we have been operating the
               longest. This was offset by increased macroeconomic weakness in Latin
               American countries, primarily in Brazil and Argentina. Despite the
               weakness in Latin America, we continue to see the majority of growth

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  Full transcript available at https://seekingalpha.com/article/3969394-alexion-pharmaceuticals-
alxn-david-l-hallal-q1-2016-results-earnings-call-transcript?part=single.


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                ahead of us, for both PNH and aHUS across our 50-country operating
                platform.

                Looking more closely at PNH in Q1, globally, we identified and served a
                high number of newly diagnosed patients by executing our PNH
                diagnostic initiatives with urgency.

         310.   Defendant Hallal also commented on the 2016 guidance as follows:

                Turning briefly to our 2016 guidance, we expect total revenues to be at the
                low end of our previously guided range of $3.05 billion to $3.1 billion,
                primarily due to increased macroeconomic weakness in Latin America,
                partially offset by early strength of the Strensiq launch and the
                strengthening of foreign currencies versus our previous expectations. We
                also expect 2016 non-GAAP EPS to be at the low end of the previously
                guided range of $5.00 to $5.20 per diluted share.

         311.   In direct response to an analyst’s inquiry regarding “Latin American impact in

Q1,” Defendant Hallal represented that “[i]n Q1, the revenue growth in LatAm was clearly

affected by increased macroeconomic weakness, and the new patient starts and treatment

interruptions impacted us primarily in Brazil and Argentina. And actually the weakness

expanded geographically versus the fourth quarter where we saw weakness primarily in Brazil

only.”

         312.   On the same call, Defendant Sinha echoed Defendant Hallal’s comments and

attributed the Soliris sales results to legitimate business factors and conditions in the Company’s

“core territories” despite “macroeconomic weakness . . . primarily in Brazil.” Specifically,

Defendant Sinha stated the following, in relevant part:

                In Q1, total revenues increased to $701 million. This 17% revenue growth
                was driven by a 24% increase in volume, negatively impacted by 5% or
                $30 million in currency headwinds compared to the year-ago quarter.

                Soliris revenues were $665 million in Q1. While growth in our core
                territories remained strong, Soliris revenue growth was impacted mainly
                by three factors: increasing macroeconomic weakness in Latin America,
                resulting in an impact to new patient starts and treatment interruptions,
                primarily in Brazil and Argentina; currency headwinds; and our usual
                seasonality that we see every year as we move from Q4 to Q1. Year-over-


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                year, Soliris volume growth was 18%, and was driven by continued
                growth in PNH and aHUS.

        313.    On the call, Defendant Sinha also got a question directly asking, “[W]e potentially

could have a new government in Brazil, so what could that impact your revenue in Soliris?” To

which Defendant Sinha responded in relevant part, “on the Brazil side, it’s more the political

instability in the country, that’s what we see.”      Thus, Defendant Sinha was defining the

ubiquitous “macroeconomic weakness” that the Company was talking about as “political

instability.”

        314.    The statements referenced above in ¶¶ 305 and 307-13 were materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls.

        315.    Following the call, several analysts commented on the issues Alexion appeared to

be facing in Latin America, and in Brazil specifically. In an April 28, 2016 analyst report,

Morgan Stanley stated: “[Management] highlighted Brazil (political) and Argentina (currency

down 50%) as the major issues with [Latin America] representing ~10% of Soliris sales.”

        316.    The next day, on April 29, 2016, the Company filed a quarterly report on Form

10-Q with the SEC for the first quarter ended March 31, 2016 (“1Q 2016 10-Q”), which was

signed by Defendants Hallal and Sinha.




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       317.    Attached to the 1Q 2016 10-Q were SOX certifications signed by Defendants

Hallal and Sinha attesting to the accuracy of the 1Q 2016 10-Q.

       318.    The 1Q 2016 10-Q included, and expanded upon, the financial figures reported in

the 1Q 2016 Press Release.

       319.    The statements contained in the 1Q 2016 10-Q were also materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls.

       320.    Following the filing of the 1Q 2016 10-Q, on May 1, 2016, Guggenheim

Securities issued a report that stated: “Alexion reduced 2016 Soliris revenue guidance below the

low end of the prior guidance range and cited macroeconomic headwinds in Latin America . . .

particularly Argentina and Brazil as specific countries. Management noted that there was a

reduction in new patient starts and treatment interruptions occurred . . . . The specific factor[s]

contributing to the headwinds were not provided by management.”

       May 10, 2016 – BofA Merril Lynch Health Care Conference

       321.    On May 10, 2016, Defendant Sinha hosted a presentation on behalf of Alexion at

the “Bank of America Merrill Lynch Health Care Conference” with analysts and investors.

During the conference, Defendant Sinha attributed Alexion’s lowered guidance to

“macroeconomic factors in Brazil,” where he said the “issue[]” was “impeachment proceeding




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against the government,” that “the Minister of Health also had resigned,” and, “a lack of

coordination going on, and budgetary impacts within their own country is constrained.”

       322.   At the conference, Defendant Sinha engaged in the following exchanges with

analysts:

              [Sinha]: [T]he guidance that we gave, we guided towards the lower end of
              our guidance of $3.05 billion to $3.1 billion, primarily driven by the
              weakness that we saw due to the macroeconomic factors in Brazil and
              Argentina.

                                                    ***

              [Analyst]: Maybe I can start by asking you, first, about the situation that’s
              happening in [Latin America]. Because you mentioned that in 1Q, and
              that’s the source of the miss, maybe, for 1Q results. So, can you talk about
              – a little more about what’s happening in [Latin America], and what’s
              factored in your guidance for the year? And also, how committed are you
              to the business in [Latin America] in the longer term?

              [Sinha]: So, during our Q1 call, we mentioned about a Latin American
              situation, mainly in two countries – Brazil and Argentina. Both have
              different issues. Brazil is in a situation where we have an impeachment
              proceeding against the government right now. And we also saw, right at
              the time of the earnings call, that the Minister of Health also had resigned.

              And so, it’s been a situation where there seems to be a lack of
              coordination going on, and budgetary impacts within their own country is
              constrained. What we have seen from moving from Q4 to Q1 is that new
              patient adds have not been there; and we’re also seeing interruptions in the
              dosing of the existing patients.

       323.   Defendant Sinha also answered an analyst’s questions regarding the “competitive

advantage” of Alexion’s “marketing organizations,” which went as follows:

              [Analyst]: But you do have the competitive advantage that you do have the
              sales and marketing organizations in ground in all these markets you’re
              serving today.

              [Sinha]: Yes, Ying. And altogether, we are at 50 countries globally now.
              We’re selling in 50 countries. And people on the ground who are
              constantly educating both the physician, and through physician to the
              patient. And in US, we actually have case managers who have the ability
              to talk to the patients too.


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       324.    Defendant Sinha’s above-quoted statements made during the May 10, 2016 Bank

of America Merrill Lynch Health Care Conference materially misled investors because Sinha

failed to disclose: (1) the Adverse Material Facts Regarding Soliris Sales Methods; (2) the

Company and Individual Defendants’ engagement in the Fraudulent Lawsuit Scheme; (3) the

Company and Individual Defendants’ engagement in the Nurse Coordination Scheme; (4) the

Company and Individual Defendants’ engagement in the Patient Information Scheme; (5) the

Company and Individual Defendants’ engagement in the Patient Advocacy Group Scheme; and

(6) that Alexion was not maintaining effective internal controls or disclosure controls and

procedures, and in fact had a material weakness in such controls.

       July 28-29, 2016

       325.    On July 28, 2016, the Company issued a press release announcing its financial

results for the second quarter of 2016 (the “2Q 2016 Press Release”). The 2Q 2016 Press

Release reported the following financial information, in relevant part:

               Total revenues grew to $753 million, an 18 percent increase, compared to
               $636 million for the same period in 2015. In the second quarter, the
               negative impact of currency on total revenue was 3 percent or $18 million,
               net of hedging activities, compared to the same quarter last year. On a
               GAAP basis, diluted earnings per share (EPS) for the second quarter of
               2016 was $0.51 per share, compared to $0.83 per share in the second
               quarter of 2015. Non-GAAP diluted EPS for the second quarter 2016 was
               $1.13 per share, reflecting a reduction of $0.12 per share attributable to the
               modification of reported non-GAAP income tax expense; prior to this
               modification non-GAAP diluted EPS would have been reported at $1.25
               per share (Table 2). Non-GAAP diluted EPS was $1.30 per share in the
               second quarter 2015, reflecting a reduction of $0.14 per share attributable
               to the tax modification.

                                                      ***

               Soliris® (eculizumab) net product sales were $701 million, compared to
               $636 million in Q2 2015, representing a 10 percent increase. Soliris
               volume increased 15 percent year-on-year.




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       326.    These financial figures beat analysts’ revenue estimates by $9.1 million and sales

estimates by $4 million.

       327.    The 2Q 2016 Press Release reiterated the Company’s full-year 2016 earnings

guidance, stating “Alexion is reiterating its total revenue and Soliris guidance ranges provided on

the first quarter of 2016 earnings call on April 28, 2016.”

       328.    On the conference call Alexion held the same day with investors and analysts,

Defendant Hallal attributed those results to legitimate business factors and conditions, including

the ability of Alexion’s “commercial team” to “identify and serve consistently high number of

newly diagnosed patients globally be executing [the Company’s] . . . diagnostic initiatives.”23

Defendant Hallal further stated the following, in relevant part:

               In Q2 the Alexion team extended our global leadership in rare diseases as
               we continue to provide life transforming therapies to more patients with
               rare and devastating disorders.

               As our commercial team reached more patients during the quarter, we
               delivered strong revenue growth and improved our operating margins
               while also progressing our robust R&D pipeline. Our commercial
               organization delivered total year-over-year revenue growth of 18% and
               volume growth of 23% driven by the strength of our three highly
               innovative marketed therapies.

               First, Soliris continued to grow with a steady number of new patients with
               PNH and aHUS being treated globally. . . .

                                                      ***

               Now for a closer look at our commercial performance, starting with Soliris
               and PNH. In Q2 we continued to identify and serve a consistently high
               number of newly diagnosed patients globally by executing our PNH
               diagnostic initiatives with urgency.

               Given that one-third of undiagnosed and untreated patients with PNH will
               die within five years, we aim to deliver the benefits of Soliris to even more
               patients. Our nine year track record of consistently identifying a similar

23
  Full transcript available at https://seekingalpha.com/article/3992873-alexion-pharmaceuticals-
inc-alxn-ceo-david-hallal-q2-2016-results-earnings-call-transcript?part=single.


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              number of new patients with PNH on a quarterly basis across our 50
              country platform affirms our view that globally the majority of patients
              with PNH have yet to receive an accurate diagnosis, let alone commence
              appropriate treatment.

              Moving to Soliris and aHUS, we once again served a consistently high
              number of new patients globally. We see a significant opportunity ahead
              to serve more patients, recognizing that a high number of patients with
              aHUS presenting with severe and rapidly progressing renal failure still do
              not receive a rapid and accurate diagnosis.

              Matched for time now 19 quarters from their respective approvals in the
              U.S., there are more patients actively receiving Soliris for aHUS than there
              had been for PNH. Given the higher incidence of aHUS compared to
              PNH, combined with the improvements we continue to make to our
              diagnostic initiatives, we expect that this trend of new patient additions
              will continue, confirming our view that our opportunity to serve patients
              with aHUS is larger than that of PNH.

              As we look forward, the combination of the high proportion of
              undiagnosed patients with PNH and the high incidence of aHUS gives us
              great confidence that the majority of growth in our core Soliris business is
              ahead of us.

       329.   On the same call, Defendant Sinha commented on Company revenues and Soliris

sales growth, stating, “Soliris revenues were $701 million. Year-over-year volume growth was

driven by continued global growth in PNH and aHUS. While macroeconomic weakness in Latin

America continues, the guidance we provided in April remains on track for the remainder of the

year.” Thus, Defendant Sinha reported that the Company was “reiterating [its] Soliris revenue

guidance.”

       330.   Also on the call, Sinha answered an analyst’s question about Latin America by

stating that “we are getting full support on the existing patients” in that region. The exchange

was as follows:

              [Analyst]: Maybe to start with, Vikas, can you provide an update in the
              LatAm market because obviously you guys have some headwind in the
              1Q. So what’s happening in 2Q and what’s your outlook for the second
              half?



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               [Sinha]: On the LatAm front, as you recall, we have talked about $60
               million to $90 million impact that we’re expecting this year. We have not
               seen any change in our views there. Definitely new patient adds are tough
               there, but we are getting full support on the existing patients.

       331.    The statements referenced above in ¶¶ 325 and 327-30 were materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls.

       332.    The next day, on July 29, 2016, the Company filed a quarterly report on Form 10-

Q with the SEC for the second quarter ended June 30, 2016 (“2Q 2016 10-Q”), which was signed

by Defendants Hallal and Sinha.

       333.    Attached to the 2Q 2016 10-Q were SOX certifications signed by Defendants

Hallal and Sinha attesting to the accuracy of the 2Q 2016 10-Q.

       334.    The 2Q 2016 10-Q included, and expanded upon, the financial figures reported in

the 2Q 2016 Press Release.

       335.    The statements contained in the 2Q 2016 10-Q were also materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient



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Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls.

       September 13, 2016 – Morgan Stanley Global Health Care Conference

       336.    On September 13, 2016, Defendant Hallal attended the Morgan Stanley Global

Health Care Conference with analysts and investors on behalf of Alexion.               During the

conference, an analyst asked Hallal how he would respond to “investors” that “worry” about

“Soliris” and “Latin America.” Hallal responded that although “Brazil . . . is our largest country

in which we operate in Latin America” and had “seen some macroeconomic challenges,” he

“expected the impact of the Latin American weakness to be no more than 2% to 3% of our global

Soliris sales.” Indeed, the following exchange ensued between an analyst and Defendant Hallal

at the conference:

               [Analyst]: Just on Soliris, I think when I speak to investors, people tend to
               bring up the headwinds associated with Soliris, and that’s what they worry
               about. So they . . . worry about Latin America, . . . . Maybe could you
               address . . . ?

               [Hallal]: . . . “[W]e have from time to time seen some geographic
               headwinds due to specific macroeconomic challenges. And the most
               recent one for us has really been the Latin American, both macroeconomic
               challenges for them as well as political instability in Brazil, which is our
               largest country in which we operate in Latin America.

               Now, we’ve guided that we expected the impact of the Latin American
               weakness to be no more than 2% to 3% of our global Soliris sales. We
               guided that impact would be about $60 million to $90 million within the
               Soliris guidance for 2016 and our view on that really remains unchanged.

       337.    The above-quoted statements made during the September 13, 2016 Morgan

Stanley Global Health Care Conference were misleading because Defendant Hallal failed to

disclose that the Company and the Individual Defendants were engaged in the Fraudulent

Lawsuit Scheme.




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       October 27, 2016

       338.    On October 27, 2016, the Company issued a press release announcing its financial

results for the third quarter of 2016 (the “3Q 2016 Press Release”). The 3Q 2016 Press Release

reported the following financials:

               Total revenues grew to $799 million, a 20 percent increase, compared to
               $667 million for the same period in 2015. In the third quarter, the negative
               impact of foreign currency on total revenue was 2.5 percent or $16
               million, net of hedging activities, compared to the same quarter last year.
               On a GAAP basis, diluted earnings per share (EPS) for the third quarter of
               2016 was $0.42 per share, compared to a loss of $0.81 per share in the
               third quarter of 2015. Non-GAAP diluted EPS for the third quarter of
               2016 was $1.23 per share. Non-GAAP diluted EPS was $1.08 per share in
               the third quarter of 2015, reflecting a reduction of $0.08 per share to
               conform to the current non-GAAP income tax expense definition.

                                                     ***

               Soliris® (eculizumab) net product sales were $729 million, compared to
               $665 million in Q3 2015.

       339.    These financial results beat analysts’ EPS estimates by $0.06 and revenue

estimates by $12.25 million, as well as net sales estimates by $2 million.

       340.    Regarding 2016 guidance, the 3Q 2016 Press Release stated that “Alexion expects

2016 total revenues to be at the upper end of our previously guided range of $3.05 to $3.10

billion. Alexion is reiterating its Soliris revenue guidance and, based on the strength of the

Strensiq launch, is further increasing its Metabolic revenue guidance to $225 to $235 million.”

The 3Q 2016 Press Release added, “Alexion’s updated 2016 GAAP EPS guidance is expected to

be in the range of $1.79 to $2.09 and non-GAAP EPS guidance is now expected to be at the

upper end of the previously guided range of $4.50 to $4.65 per share.”

       341.    On the conference call Alexion held the same day with investors and analysts,

Defendant Hallal attributed those results to legitimate business factors and conditions, including




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the Company’s “successful programs to identify new patients.”24 Defendant Hallal stated the

following, in relevant part:

                  In Q3, the global Alexion team delivered on our patient-centered
                  objectives. Our commercial organization achieved total year-over-year
                  revenue growth of 20% and volume growth of 23%, driven by the strength
                  of our three highly innovative marketed therapies. First, Soliris continued
                  to grow with a steady number of new patients with PNH and aHUS treated
                  globally.

                                                        ***

                  Taking a closer look at our commercial performance, starting with Soliris.
                  In Q3, we continued to identify and treat a consistently high number of
                  newly diagnosed patients with PNH globally by executing our diagnostic
                  initiatives with urgency. In aHUS, we once again served a consistently
                  high number of new patients across our 50-country platform, and when
                  adjusted for time for their respective approvals, we continue to believe that
                  our opportunity to serve patients with aHUS is larger than that of PNH.

                  As we look forward to our core Soliris business, we are confident that the
                  majority of growth is in front of us, due to the combination of the high
                  proportion of undiagnosed patients with PNH and the high incidence of
                  aHUS, along with our successful programs to identify new patients with
                  both diseases.

                                                        ***

                  Looking at our financial performance for the quarter, we achieved total
                  revenues of $799 million, an increase of 20% over Q3 2015, with volume
                  growth of 23%. This year-over-year revenue growth was driven by the
                  continued growth of Soliris across geographies . . . .

           342.   Looking forward, Defendant Hallal commented on the 2016 guidance, simply

stating that “we now expect total revenues to be at the upper end of our guidance of $3.05 billion

to $3.1 billion. This reflects our prior Soliris revenue guidance of $2.835 billion to $2.875 billion

. . . .”




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  Full transcript available at https://seekingalpha.com/article/4015834-alexion-pharmaceuticals-
alxn-q3-2016-results-earnings-call-transcript?part=single.


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       343.    On the same call, Defendant Sinha also attributed the Soliris sales results to

legitimate business factors and conditions, stating that “Soliris revenues were $729 million.

Year-over-year volume growth was driven by continued global growth in PNH and aHUS,

despite continued macroeconomic weakness in Latin America.”               Defendant Sinha also

commented on the Company’s reiteration of the 2016 guidance.

       344.    The statements referenced above in ¶¶ 338 and 340-43 were materially false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; and (6) that Alexion was not maintaining effective internal controls or

disclosure controls and procedures, and in fact had a material weakness in such controls.

       November 2016 – The Truth Begins to Surface

       345.    On November 4, 2016, Alexion suddenly cancelled an appearance at the Credit

Suisse Healthcare Conference, which was scheduled for November 6-8, 2016, and failed to file

its quarterly report by market close within its historical two-day window following an earnings

announcement on October 27, 2016. The only explanation given by the Company for the abrupt

cancellation was that “something came up.”

       346.    On this news, Alexion’s share price fell from $129.00 per share on November 4,

2016 to a closing price of $120.05 on November 7, 2016—a $8.95, or 6.94%, drop.

       347.    Following this announcement, analysts at Leerink also identified suspicious

insider selling, explaining as follows in a report published on November 8, 2016:




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               As we have been carefully monitoring for SEC filings by Alexion, we
               noticed yesterday that the company did post an unfortunately timed
               notification of a significant stock sale by former CEO and current
               chairman Leonard Bell. On Friday [November 4, 2016] Mr. Bell exercised
               36,649 options at prices between $136 and $145, for a total sale of
               $5.23mm and a profit of $4.4mm. Unsurprisingly these options were
               exercised as part of a Rule 10b5 sale program, but that will be cold
               comfort to longstanding investors who would not have been able to take
               advantage of the unusual volatility. That this volatility was associated with
               cancelled investor conference appearances, (giving the impression of a
               possible acquisition) but in reality was more likely to have been connected
               with the aforementioned “administrative” issue, will only add insult to
               injury.

                                                     ***

               [W]e believe that the company’s board of directors must necessarily be
               aware of the events, whatever they are.

       348.    Things quickly escalated when, on November 9, 2016, the Company filed a

Notification of Late Filing on Form 12b-25 with the SEC, which was signed by Defendant Sinha

(the “11/9/16 Late Filing Notice”).

       349.    The 11/9/16 Late Filing Notice explained that the Company was unable to file its

quarterly report for the period ended September 30, 2016 with the SEC by the date that it was

required to be filed. The Company provided the SEC with the following excuse:

               The Audit and Finance Committee of the Board of Directors of Alexion
               Pharmaceuticals, Inc. (“Company”) is conducting an investigation into
               allegations that recently have been made by a former employee with
               respect to the Company’s Soliris sales practices. Specifically, the Audit
               and Finance Committee is investigating whether Company personnel have
               engaged in sales practices that were inconsistent with Company policies
               and procedures and the related disclosure and other considerations
               raised by such practices. The Audit and Finance Committee has retained
               outside counsel to assist it in the investigation. At this point in time, the
               Audit and Finance Committee’s investigation has not identified instances
               where Soliris orders were not placed by customers for patients or any facts
               that require the Company to update its previously reported historical
               results. The Audit and Finance Committee and its counsel are working
               diligently to complete the investigation, but at this time it is uncertain
               when this investigation will be complete and what the results of such
               investigation will be.


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       350.    The Company issued a press release the same day reiterating the disclosures made

in the 11/9/16 Late Filing Notice.

       351.    On this news, Alexion’s share price fell from $127.16 per share on November 9,

2016 to a closing price of $126.88 on November 10, 2016—a $0.28, or 0.22%, drop. The

Company’s share price significantly declined the next trading day to a closing price of $113.62

on November 11, 2016—a $13.26, or 10.45%, drop from November 10, 2016.

       352.    Things went from bad to worse when on November 16, 2016, the Company filed

a Form 8-K with the SEC announcing that Alexion received a notice from The NASDAQ Stock

Market stating that Alexion is not in compliance with NASDAQ Marketplace Rule 5250(c)(1)

because Alexion has not timely filed its Quarterly Report on Form 10-Q for the fiscal quarter

ended September 30, 2016 (the Quarterly Report). The Company was given “until January 17,

2017 to either file the Quarterly Report or submit a plan of compliance to NASDAQ to address

any issues it believes would support its request for an extension of time to regain compliance

with NASDAQ continued listing requirements of up to 180 calendar days from the due date of

the Quarterly Report.”

       December 2016 – Things Heat Up for Alexion, and People Drop-Out

       353.    While the Company’s internal investigation was ongoing, on December 12, 2016,

before the market opened, Alexion issued a press release announcing that Defendant Hallal had

resigned as CEO “for personal reasons” and that Defendant Sinha had resigned as CFO “to

pursue other opportunities” (the “12/12/16 Press Release”).

       354.    Defendant David Brennan took over as interim CEO and Defendant David J.

Anderson took over as CFO, both effective immediately.25


25
  On March 27, 2017, Alexion issued a press release announcing that the Company’s Board had
appointed Defendant Hantson as CEO, effective immediately, succeeding Defendant Brennan,


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       355.    The statements contained in the 12/12/16 Press Release as to the reasons for

Defendants Hallal’s and Sinha’s departures were false and misleading because Defendant Hallal

and Sinha resigned to attempt to escape liability for knowingly committing the misconduct

described herein. This is buttressed by analyst reports that specifically tied the resignations to

the findings of the Company’s investigation. For example, on December 12, 2016, Cowen & Co.

analyst Eric Schmidt published a note to investors describing the announcements as “[a]n

[u]nwelcome [s]urprise” and stating, “We are surprised and saddened by today’s news as we had

expected fairly quick resolution of the investigation into marketing practices without any fallout

in senior management” and “[w]e now believe the board lost confidence in its senior leadership

team, perhaps due to findings of unprofessional activity that were uncovered during the

investigation, and decided that a change needed to be made now.”26

       356.    On the news of these high-level resignations, Alexion’s stock price dropped

$16.99, or approximately 13%, from a closing price of $132.07 per share on December 9, 2016,

to a closing price of $115.08 per share on December 12, 2016.

       357.    The stock losses were tempered by the false and misleading representations in the

12/12/16 Press Release, including Defendant Bell’s statements that “[t]his leadership transition

comes during a period of great strength and momentum. The fundamentals of Alexion are very

strong. . . . We are well-positioned for sustainable growth. Moreover, we have a clear strategy to

continue our mission to develop and deliver transformative therapies for patients with

devastating and rare diseases.” Defendant Bell also made the following false and misleading

statements, “[w]ith strong new leaders in place, we will continue to be relentlessly focused on


who was until then the interim CEO.
26
   Meg Tirrell, Drug company Alexion’s shares plunge after CEO, CFO exit, CNBC, December
12,    2016,      https://www.cnbc.com/2016/12/12/alexion-ceo-cfo-to-leave-after-losing-board-
confidence-source.html (last accessed September 18, 2017).


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serving patients and families with devastating and rare diseases. With a dedicated and talented

team of 3,000 employees, coupled with our breakthrough medical innovation, Alexion will

continue to develop and deliver life-transforming therapies for patients and families who count

on us.”

          358.   Defendant Bell’s statements, including the 12/12/16 Press Release, were false and

misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme; (6) the real reasons for the abrupt departures of the Company’s CEO

and CFO; and (7) that Alexion was not maintaining effective internal controls or disclosure

controls and procedures, and in fact had a material weakness in such controls.

          359.   Notably, Alexion declined to take analysts’ questions on a conference call on

December 12, 2016, only reiterating statements from its earlier press release. This only made

matters worse.

          360.   On December 13, 2016, as analysts and investors continued to react to the volatile

situation, the price of Alexion stock dropped a further 4.4% from the closing price of $115.08

per share on December 12, 2016, to close at $110.01 per share on December 13, 2016.

          January 4, 2017 – More Revelations About Wrongdoing

          361.   On January 4, 2017, the Company filed a quarterly report on Form 10-Q with the

SEC for the third quarter ended September 30, 2016 (“3Q 2016 10-Q”), which was signed by

Defendants Brennan and Anderson.




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       362.    Attached to the 3Q 2016 10-Q were SOX certifications signed by Defendants

Brennan and Anderson attesting to the accuracy of the 3Q 2016 10-Q.

       363.    The 3Q 2016 10-Q reported net product sales of Soliris for the quarter of $728.85

million. It also reported that the increase in total net product sales for the three and nine months

ended September 30, 2016, as compared to the same periods in 2015, “was primarily due to an

increase in unit volumes of 23%, due to increased demand globally for Soliris therapy for

patients with PNH or aHUS and sales of Strensiq and Kanuma during 2016.”

       364.    Moving on to the Audit and Finance Committee’s investigation of allegations

made by a former employee concerning the Company’s Soliris sales practices, the 3Q 2016 10-Q

explained that such investigation was complete.

       365.    The 3Q 2016 10-Q explained that the former employee alleged that certain of the

Company’s Soliris sales practices resulted in certain customers placing orders for shipments of

Soliris in an earlier fiscal quarter than the fiscal quarter they otherwise would have (referred to in

the 3Q 2016 10-Q as “pull-in” or “advanced sales”). According to the 3Q 2016 10-Q, “The

former employee alleged that such practices were used by the Company in order to meet

certain financial targets and at times involved inappropriate business conduct.”

       366.    The 3Q 2016 10-Q further expanded upon the meaning of “pull-in” or “advanced”

sales, defining them as:

               certain Soliris sales transactions, coordinated by Company personnel
               (primarily personnel in the customer operations department in their
               capacity as coordinators for the shipment of orders for customers) that
               increase revenue recognized in an earlier fiscal quarter than the one in
               which a sale otherwise would have occurred and result in a corresponding
               decrease in the revenue that will be recognized in the subsequent fiscal
               quarter. The Company is able to forecast the estimated date of certain
               shipments of Soliris due to customer order history, known infusion dates,
               or other similar data to support the operations of our business and patient
               needs. Pull-in sales may occur, for example, when a customer, as a



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               result of encouragement by a Company employee, places an order for a
               patient earlier than the customer might otherwise place the order. Pull-in
               sales are not inherently problematic or impermissible, when in accordance
               with U.S. GAAP. The Audit Committee Investigation included a review of
               sales transactions for evidence of pull-in sales, the reasons for pull-in
               sales, whether such transactions were conducted in accordance with the
               Company’s policies and procedures, and whether revenue from pull-in
               sales was properly recognized in accordance with U.S. GAAP.

       367.    The Audit Committee seemed to have absolved the Company of wrongdoing,

saying that “the Audit Committee Investigation did not identify any instances of improper

revenue recognition associated with pull-in sales, instances where Soliris orders were not placed

by customers for patients in order to fulfill an actual need, or instances where Soliris was sold to

build stock of unwanted product.”

       368.    But then the 3Q 2016 10-Q explained that there was substantial reason to be

concerned and that there was wrongdoing from the top-down. Specifically, the 3Q 2016 10-Q

explained the following:

               The Company concluded and the Audit Committee concurred that there
               was a material weakness in the Company’s internal controls over financial
               reporting because senior management did not set an appropriate “Tone at
               the Top” for an effective control environment and such failure resulted in
               inappropriate business conduct, including conduct that was inconsistent
               with, and in violation of, the Company’s policies and procedures. The
               Audit Committee Investigation found that senior management applied
               pressure on personnel to use pull-in sales to meet targets, and such
               pressure was particularly significant during the fourth quarter of 2015.
               The Audit Committee Investigation also found that certain Company
               personnel engaged in inappropriate business conduct to realize pull-in
               sales, as a result of pressure from senior management.

       369.    Notably, the Company disclosed in the 3Q 2016 10-Q that the Company’s internal

control over financial reporting and disclosure controls were not effective. The 3Q 2016 10-Q

stated, “current management, with the participation of our Interim Chief Executive Officer and

Chief Financial Officer, has concluded that there was a material weakness in our internal control

over financial reporting as of September 30, 2016” and “our Interim Chief Executive Officer and


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Chief Financial Officer concluded that, as of September 30, 2016, our disclosure controls and

procedures were not effective due to the material weakness described below.”

       370.    In describing the material weakness, the Company explained that it had falsely

certified that its internal controls over financial reporting and disclosure controls were effective

for previous reporting periods. Specifically, the 3Q 2016 10-Q stated the following:

               At the time that our Annual Report on Form 10-K for the year ended
               December 31, 2015 was filed on February 8, 2016, we concluded that our
               disclosure controls and procedures were effective as of December 31,
               2015. At the time that our Quarterly Report on Form 10-Q for the period
               ended March 31, 2016 was filed on April 29, 2016 and our Quarterly
               Report on Form 10-Q for the period ended June 30, 2016 was filed on July
               29, 2016, we concluded that our disclosure controls and procedures were
               effective as of March 31, 2016 and June 30, 2016, respectively.
               Subsequent to these evaluations, we concluded that our disclosure
               controls and procedures were not effective as of December 31, 2015,
               March 31, 2016 and June 30, 2016, as the material weakness described
               below was determined to exist as of such dates. We intend to file an
               amendment to the Company’s Annual Report on Form 10-K for the year
               ended December 31, 2015 to reflect the conclusion by our management
               that our disclosure controls and procedures were not effective as of
               December 31, 2015, and that there was a material weakness in our internal
               controls over financial reporting as of the end of the period covered by
               that report.

               A material weakness is a deficiency, or combination of deficiencies, in
               internal control over financial reporting, such that there is a reasonable
               possibility that a material misstatement of the Company’s annual or
               interim financial statements will not be prevented or detected on a timely
               basis.

               We did not maintain an effective control environment as our senior
               management failed to set an appropriate Tone at the Top. Specifically,
               senior management failed to reinforce the need for compliance with the
               Company’s policies and procedures, which resulted in inappropriate
               business conduct. This control deficiency did not require restatement of
               our previously reported historical financial results. However, this control
               deficiency could result in a misstatement to disclosures that would result
               in a material misstatement to our annual or interim consolidated
               financial statements that would not be prevented or detected.
               Accordingly, our management has determined that this control deficiency
               constitutes a material weakness.



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       371.    In another portion of the 3Q 2016 10-Q, the Company disclosed that the

Company’s “material weakness arose from actions identified during the Audit Committee

Investigation involving ‘pull-in’ sales practices that failed to demonstrate commitment to

integrity and ethical values and the failure by senior management to set an appropriate ‘Tone at

the Top’ for an effective control environment.”

       372.    In yet another portion of the 3Q 2016 10-Q, the Company elaborated on senior

management’s failures, stating, in relevant part:

               The Audit Committee Investigation found that senior management failed
               to set an appropriate Tone at the Top for an effective control environment
               and senior management failed to reinforce the need for compliance with
               the Company’s policies and procedures which contributed to inappropriate
               business conduct in connection with some pull-in sales, including conduct
               that was inconsistent with, and in violation of, Company policies and
               procedures.

       373.    The 3Q 2016 10-Q represented that “[m]anagement is engaged in remedial

activities to address the material weakness described above.” This was meant to prevent the

issue from happening again, but damage had already been done.

       374.    As explained in the 3Q 2016 10-Q, while the Audit Committee Investigation

concluded that revenue from the pull-in sales under review was appropriately recognized in the

quarter in which such sales actually occurred and that there were no financial statement errors

related to the pull-in sales, the Audit Committee Investigation found that certain revenue pulled

into the fourth quarter of 2015 from the first quarter of 2016 was realized as the result of

employee actions that involved inappropriate business conduct, including conduct that was

inconsistent with, and in violation of Company policies and procedures. Pull-in sales during the

fourth quarter of 2015 were estimated to be between approximately $10 million to $17 million

and were significantly higher than for other quarters. Some portion of these estimated sales did




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not involve inappropriate business conduct. These estimated pull-in sales represented less than

1% of total revenue for 2015.

       375.    The 3Q 2016 10-Q also disclosed that “[d]uring the past two completed fiscal

years and through the third quarter of 2016, but excluding the fourth quarter of 2015, pull-in

sales were estimated to be between $1 million to $7 million in the aggregate, representing 0% -

1% of total revenue.”

       376.    Despite this relatively low percentages of pull-in sales, facts regarding the pull-in

sales were material. The $10 million to $17 million in revenue that was achieved through

inappropriate pull-in sales was highly material because it enabled the Company to meet its full-

year 2015 financial guidance, and even if the sales were properly recognized as an accounting

matter, the fact that they were driven by illegal practices would have been highly material to

investors who understood the company to be acting in compliance with relevant policies and

ethical rules in this highly regulated industry.

       377.    If the above were not enough, the 3Q 2016 10-Q additionally disclosed some

more bad news; in December 2016, the U.S. Attorney had served a subpoena and document

requests upon the Company in relation to the Company’s support for non-profit organizations

that provide financial assistance to Medicare patients taking drugs sold by Alexion. Specifically,

the 3Q 2016 10-Q stated:

               In December 2016, we received a subpoena from the U.S. Attorney’s
               Office for the District of Massachusetts requesting documents relating
               generally to our support of 501(c)(3) organizations that provide financial
               assistance to Medicare patients taking drugs sold by Alexion, Alexion’s
               provision of free drug to Medicare patients, and Alexion compliance
               policies and training materials concerning the anti-kickback statute or
               payments to any 501(c)(3) organization that provides financial
               assistance to Medicare patients.




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       378.   The same day, the Company issued a press release announcing the filing of the

3Q 2016 10-Q and reiterating the disclosures therein.

       379.   The shocking and damning revelations on January 4, 2017 seemed to confirm that

Defendants Hallel and Sinha resigned because of wrongdoing, not because of “personal reasons”

or to “pursue other opportunities.” They also confirmed that the Company had made a plethora

of false and misleading statements and omissions during the Relevant Period.

       380.   Analysts expressed frustration with Alexion’s lack of transparency. On January 5,

2017, RBC Capital Markets published a report that stated:

              We believe that the company has missed out on a great opportunity to
              come out on top of a bad situation by being a lot more open and much
              more transparent with investors and having the chance to regain much
              needed trust. The very carefully worded press release left us (as believers
              in the company and the value of the Soliris franchise) perplexed and in the
              end disappointed in the management team and the Board: if there was
              wrongdoing (including material weakness in internal controls over
              financial reporting), as it appears it has, why not discuss it a lot more
              openly and talk about the parties responsible? Right now investors are
              supposed to accept today’s facts (of corporate inappropriate behavior),
              along with the fact that the company’s two most senior leaders left a few
              weeks ago to pursue other opportunities etc. . . . We have a very difficult
              time recalling when a major biotech had its CEO and CFO gone on the
              same day (other than a major restructuring). Why not be more open with
              investors and discuss exactly what happened, with specific numbers,
              quarters etc., especially if the impact on sales is only <1%? Hold a
              conference call and take questions (unlike last time). Why not? The
              investigation is now concluded, correct? This should put investors’ minds
              at ease and allow them to focus on what the value of Soliris and the two
              metabolic products is going forward.

       381.   The Statements in the 3Q 2016 10-Q were false and misleading because they

failed to disclose: (1) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (2) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (3) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; (4) the Company and Individual Defendants’ engagement in the Patient



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Advocacy Group Scheme; and (5) the real reasons for the abrupt departures of the Company’s

CEO and CFO.

       January 19, 2017

       382.    On January 19, 2017, Alexion filed an Amended Form 10-K for the fiscal year

ended December 31, 2015 (which had initially been filed on February 8, 2016) to reflect that the

Company’s disclosure controls and procedures were not effective as of December 31, 2015, and

that a material weakness existed at the time that 10-K was filed.

       February 16, 2017

       383.    On February 16, 2017, the Company issued a press release announcing its

financial results for the fourth quarter and full year ended December 31, 2016 (the “4Q 2016

Press Release”). The 4Q 2016 Press Release provided the following financial information for

the quarter:

               Total revenues for the full year of 2016 were $3.084 billion, an 18 percent
               increase compared to 2015. The negative impact of foreign currency on
               total revenue year over year was 3 percent or $74 million, net of hedging
               activities. On a GAAP basis, diluted earnings per share (EPS) for the full
               year of 2016 was $1.76 per share, compared to $0.67 per share in 2015.
               Non-GAAP diluted EPS for the full year of 2016 was $4.62 per share.
               Non-GAAP diluted EPS was $4.65 per share for the full year of 2015,
               reflecting a reduction of $0.34 per share to conform to the current non-
               GAAP income tax expense definition.

               Total revenues in the fourth quarter grew to $831 million, a 19 percent
               increase compared to the same period in 2015. The negative impact of
               foreign currency on total revenue in the fourth quarter was 2 percent or
               $12 million, net of hedging activities. On a GAAP basis, diluted EPS for
               the fourth quarter of 2016 was $0.41 per share, compared to $0.29 per
               share in the fourth quarter of 2015. Non-GAAP diluted EPS for the fourth
               quarter of 2016 was $1.26 per share. Non-GAAP diluted EPS was $1.04
               per share in the fourth quarter of 2015, reflecting a reduction of $0.09 per
               share to conform to the current non-GAAP income tax expense definition.
               Both GAAP and non-GAAP results are inclusive of legal, accounting, and
               other costs associated with the Audit and Finance Committee’s completed
               investigation.



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         384.   According to the 4Q 2016 Press Release, for the year, “Soliris® (eculizumab) net

product sales were $2,843 million, compared to $2,591 million in 2015” and for the quarter,

“Soliris® net product sales were $749 million, compared to $689 million in the fourth quarter of

2015.”

         385.   Thus, for the quarter, the Company was below analysts’ revenue estimates by

$5.6 million and only beat EPS estimates by $0.01.

         386.   Inexplicably, after facing a humongous setback and unknown liability for the

wrongdoing recently disclosed by the Company, the 4Q 2016 Press Release announced that

“[t]he Company also announced that its Board of Directors has increased the size of the

Company’s share repurchase authorization to a total of $1 billion.”

         387.   The 4Q 2016 Press Release additionally provided financial guidance for 2017,

showing total revenues of $3.4-$3.5 billion and Soliris revenues of $3.025-$3.1 billion.

         388.   On the conference call Alexion held the same day with investors and analysts,

Defendants Brennan and Anderson generally stayed mum on the results of the Audit

Committee’s investigation. 27 They continued to attribute the Company’s sales growth to

legitimate business factors and conditions. Specifically, Defendant Brennan stated the following

on the call, “[W]e delivered strong volume growth for Soliris and continue to see that the

majority of the opportunity to serve patients with PNH and aHUS with our complement franchise

is ahead of us.”

         389.   On the call, Defendant Anderson stated that “[y]ou can see that net product sales

increased to $831 million, 19% above the year ago quarter. The revenue growth was driven by a

strong 20% increase in volume, partially offset by currency headwinds of 2% compared to the

27
  Full transcript available at https://seekingalpha.com/article/4046771-alexion-pharmaceuticals-
alxn-q4-2016-results-earnings-call-transcript?part=single.


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same period last year.” He also added that “Soliris revenues, you can see, were $749 million in

the quarter; year-over-year volume growth of 10%, driven by global growth in both PNH and

HUS.” Defendant Anderson also stated the following regarding Soliris growth:

               [T]he 2016 net product sales increased to nearly $3.1 billion or 18% over
               2015. The revenue growth was driven by a strong 22% increase in volume,
               partially offset by 3% or $74 million in currency headwinds. Full-year
               Soliris growth was driven by volume growth of 14%, reflecting
               continued global growth in PNH and aHUS despite continued
               challenges with access and treatment interruptions in Latin America.

       390.    Defendant Anderson also commented on 2017 guidance, stating:

               Looking at Soliris, our revenue guidance is $3.025 billion to $3.1 billion.
               Our expectation is we will continue to identify a steady number of new
               patients with both PNH and aHUS globally in 2017. We also expect that
               patient recruitment for our ongoing and planned 1210 trials, as well as
               other studies, will have a $70 million to $110 million impact headwind on
               Soliris revenues during the year.

               In Latin America, access challenges will continue, but we expect Soliris
               revenues to stabilize year over year, and Carsten will make a few
               comments about that in a moment.

       391.    Also on the call, Defendant Thiel further discussed the factors that purportedly

contributed to Soliris sales growth in 2017, stating:

               [W]ith Soliris and PNH, in 2016 we continued to identify a steady
               addition of new patients, even in the territories where we have been
               operating the longest and despite the ongoing delays in new patient starts
               and treatment interruptions in Latin America. Additionally, we are still
               seeing that the majority of patients starting on Soliris are also newly
               diagnosed. This affirms our view that globally the majority of patients
               with PNH have yet to receive an accurate diagnosis, let alone initiate
               treatment.

               [I]n aHUS, we also continue to see a consistent number of new patients
               initiating Soliris treatment. Matched for time from their respective
               approvals, we continue to see more patients globally receiving Soliris for
               aHUS than they have been for PNH. Importantly in the U.S., as of the end
               of 2016, the number of aHUS patients being treated has now surpassed
               PNH. This supports our view that the opportunity to serve patients with
               aHUS is larger than that of PNH.



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               We’re pleased with our performance in 2016 and expect continued growth
               ahead of us for Soliris in both PNH and aHUS even as we are
               simultaneously enrolling patients into the ALXN1210 trials.

       392.    Defendants’ statements in the 4Q 2016 Press Release and on the February 16,

2017 call attributing Alexion’s net product sales of Soliris to legitimate business factors and

conditions materially misled investors because Defendants failed to disclose that the key drivers

of those results were instead directly attributable to Alexion’s unsustainable use of illegal and

improper sales tactics, caused by senior management’s failure to set an appropriate tone at the

top, including reliance on pull-in sales in a manner that violated the Company’s policies and

procedures, as well as on other illegal tactics, as described herein.

       393.    Defendants’ comments on 2017 guidance were also materially misleading

because Defendants failed to disclose that these projections rested on the assumption that

Alexion would continue to use unsustainable, illegal, and improper sales tactics, caused by senior

management’s failure to set an appropriate tone at the top, as described herein.

       394.    The same day, February 16, 2017, the Company filed an annual report on Form

10-K with the SEC for the fiscal year ended December 31, 2016 (the “2016 10-K”), which was

signed by, among others, Defendants Brennan, Anderson, Bell, Baker, Burns, Coughlin, Mollen,

Norby, Parven, Rummelt, and Veneman.

       395.    Attached to the 2016 10-K were SOX certifications signed by Defendants

Brennan and Anderson attesting to the accuracy of the 2016 10-K.

       396.    The 2016 10-K reiterated and expanded upon the financial figures reported in the

4Q 2016 Press Release.

       397.    The 2016 10-K made many of the disclosures regarding the Audit Committee

Investigation as the 3Q 2016 10-Q and was materially false and misleading for the same reasons

as the 3Q 2016 10-Q.


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       March 24, 2017

       398.    On March 24, 2017, the Company filed an amendment to the 2016 10-K solely to

include Exhibit 23.1, the Consent of Independent Registered Public Accounting Firm, which was

inadvertently omitted from the original filing. The mere “inadvertent” omission of that consent

evidences that the Company, as of March 24, 2017, still did not have its act together or effective

disclosure controls, despite the Company’s commitment to remedial activities, which included

strengthening the Company’s disclosure controls and procedures.

       March 31, 2017

       399.    On March 31, 2017, the Company filed the 2017 Proxy Statement, which

disclosed an egregious wrong committed by the Board. The 2017 Proxy Statement explained

that, instead of clawing back compensation from Defendants Hallal and Sinha due to their

knowing and/or intentional wrongdoing, which caused substantial damage to the Company as

outlined herein, the Company had entered into separation agreements with them.              These

separation agreements provided for the following:

               In connection with Mr. Hallal’s resignation in December 2016, he entered
               into a separation agreement with the Company under which he received a
               cash payment of approximately $3.65 million, payable in quarterly
               installments over two years beginning in January 2017. All of Mr. Hallal’s
               unvested LTI awards were cancelled as of the date of his departure, having
               a value at such time of approximately $12.2 million. The separation
               agreement with Mr. Hallal contains provisions concerning noncompetition
               and indemnification, and covenants not to solicit or disparage, and to
               cooperate with the Company.

               In connection with Mr. Sinha’s departure in December 2016, he received
               severance compensation in accordance with the terms of his employment
               agreement providing for compensation in the event of his termination by
               the Company without cause. His employment agreement provided for the
               acceleration of any then outstanding stock options and restricted stock
               units, and payments for 18 months of COBRA coverage plus a severance
               payment of $1,820,700 equal to 1.5 times the sum of (a) Mr. Sinha’s then
               current base salary and (b) Mr. Sinha’s 2016 target bonus. Mr. Sinha’s
               unearned PSU awards were forfeited. Mr. Sinha’s employment agreement


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               also contains provisions concerning noncompetition and indemnification,
               and covenants not to solicit or disparage, and to cooperate with the
               Company.

       400.    Moreover, for the year ended December 31, 2016, Defendant Hallal, instead of

being held liable for damage caused to the Company, was paid over $13.1 million. Similarly,

Defendant Sinha was paid over $5.7 million for the same period.

       401.    The Board breached their fiduciary duties in allowing Defendants Hallal and

Sinha to escape liability, and further breached their fiduciary duties by overcompensating them

in light of their wrongdoing and failing to recoup their compensation pursuant to the Company’s

executive compensation recoupment policy, or “clawback” policy.

       402.    The statements contained in the Company’s 2017 Proxy Statement were

materially false and misleading because they failed to disclose that Defendants Hallal and Sinha

were key instigators and conspirators of the Fraudulent Sales Pitch Misconduct, the Pull-in Sales

Misconduct, the Fraudulent Lawsuit Scheme, the Nurse Coordination Scheme, the Patient

Information Scheme, and the Patient Advocacy Group Scheme, and further failed to disclose the

real reasons for the their abrupt departures.

       April 27, 2017

       403.    On April 27, 2017, the Company issued a press release announcing its first

quarter 2017 financial results (the “1Q 2017 Press Release”). The 1Q 2017 Press Release

reported the following financials:

               Total revenues in the quarter were $870 million, a 24 percent increase
               compared to the same period in 2016. First quarter revenues included a
               benefit of $29 million from a change in revenue recognition in 2017 for
               certain non-U.S. markets; excluding the benefit of this accounting change,
               revenues increased to $841 million, a 20 percent increase compared to the
               same period in 2016. The negative impact of foreign currency on total
               revenue year-over-year was 2 percent or $12 million, net of hedging
               activities. On a GAAP basis, diluted earnings per share (EPS) in the
               quarter was $0.75 per share, compared to $0.41 per share in the first


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               quarter of 2016. Non-GAAP diluted EPS for the first quarter of 2017 was
               $1.38 per share. Non-GAAP diluted EPS was $0.99 per share in the first
               quarter of 2016, including a reduction of $0.12 per share to conform to the
               current non-GAAP income tax expense definition.

       404.    The 1Q 2017 Press Release further reported that net product sales of Soliris for

the quarter were $783 million, which “include[ed] a benefit of $29 million from a change in

revenue recognition in 2017 for certain non-U.S. markets.”

       405.    This Company’s Soliris sales figure beat analysts’ consensus estimates by $41

million (in part because of a revenue-recognition change).

       406.    The 1Q 2017 Press Release quoted Defendant Hantson as stating, “As we

continue to grow our business, we will be anchored by a culture of compliance and driven by

passion and dedication to patients.”

       407.    The 1Q 2017 Press Release further stated, “Alexion is reiterating its 2017 revenue

and operating margin guidance provided on the fourth quarter and full year 2016 earnings call.”

       408.    On the conference call Alexion held the same day with investors and analysts,

Defendant Anderson attributed the Company’s financial results to legitimate business factors and

conditions, stating, “Soliris revenue was $783 million. Year-over-year volume for Soliris grew

19%. If you exclude the $29 million revenue recognition benefit, Soliris revenue was $754

million in the quarter, reflecting volume growth of 15%, again, driven by growth across

geographies in both PNH and aHUS.”28

       409.    Looking ahead, Defendant Anderson stated the following, in relevant part:

               Now for Soliris, our revenue guide remains $3.025 billion to $3.1 billion.
               It assumes we’re going to continue to identify a steady number of new
               patients in PNH as well as aHUS globally. We expect that patient
               recruitment for our ongoing and planned ALXN1210 trials as well those


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  Full transcript available at https://seekingalpha.com/article/4066340-alexion-pharmaceuticals-
alxn-q1-2017-results-earnings-call-transcript?part=single.


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               other studies will have a $70 million to $110 million impact, so a
               headwind on the Soliris revenue during the year.

               We expect its impact to increase in the second quarter and through the
               year. And importantly, this guidance is a framework for the year, and
               we’ll expect some, again, variability in quarter-to-quarter revenue due to
               the timing of bulk orders in certain non-U.S. markets.

       410.    On the same call, Defendant Thiel also commented on the factors that purportedly

contributed to Soliris sales growth in 2017, stating:

               Let me start with Soliris and PNH on slide 17. In Q1, we continued to
               identify and serve a steady number of new patients even in the markets
               where we have been operating the longest and despite the ongoing delays
               in new patient starts and treatment interruptions in Latin America.
               Additionally, we’re still seeing that the majority of patients starting on
               Soliris are also newly diagnosed. This affirms our view that globally, the
               majority of patients with PNH have yet to receive an accurate diagnosis,
               let alone initiate treatment.

               Now, turning to atypical HUS on slide 18. We’re seeing a growing
               number of new patients starting on Soliris. Some of this new patient
               growth is driven by physicians, identifying patients that received a shorter
               duration of Soliris therapy. Still, on a net basis, the number of atypical
               HUS patient additions is higher than PNH. Due to this strong momentum,
               even though atypical HUS was approved four years after PNH, the number
               of patients being treated in leading markets like the U.S. as well as other
               markets such as Spain and Turkey has now surpassed PNH. This
               strengthens our view that the opportunity to serve patients with atypical
               HUS is larger than that of PNH.

               In summary, we are pleased with our Soliris performance in the first
               quarter of 2017 and expect continued growth ahead of us in both PNH and
               atypical HUS even as we are simultaneously enrolling patients into our
               ALXN1210 trials.

       411.    Later in the call, Defendant Thiel further discussed Soliris sales results, stating:

               Indeed, we are very pleased with what we have seen in the first quarter,
               both consistently in PNH and in aHUS. Normally, Q1 tends to be
               seasonally a rather lower quarter. In addition, we knew in Q1 that our
               R&D organization would execute flawlessly in recruiting patients in the
               ALXN1210 study. And we, of course, saw a significant leadership change
               bringing uncertainty in our organization. So, we said we need to keep an
               eye on the ball and drive operational excellence in Q1.



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               So, it’s not really one big item that drove Q1 performance but the sum of
               many. Field days, patient identification, conversion to treatment, these
               metrics scored very high and across the globe. The one region that
               continues to be a challenge for us is Latin America as we have stated
               earlier, and we expect that this will continue in 2017.

               So, as I look to Q2, Q3, as Dave has earlier mentioned, the timing of bulk
               orders, the access challenges in Latin America as well as the impact of the
               ALXN1210 study recruitment and potential competitor recruitment will
               impact the Q2 and Q3 results. So, clearly, strong performance in Q1, but
               as you saw, we’re keeping our previous revenue guidance for the year.

       412.    Also on the call, Defendant Hantson, responding to an analyst’s question

regarding the sustainability of the Soliris pricing model, engaged in the following exchange:

               [Analyst]: [W]e have heard a lot of talks about the Soliris pricing in the
               future. If you could help us understand if we should expect any significant
               change to your pricing strategy in near term or you have seen any
               incremental pressure from the payers? Thank you.

               [Hantson]: Well, it’s safe to say that yes, there is increased pressure on
               pricing I think across geographies, but I believe our model is sustainable.
               And just to make a couple of points why I believe that. First of all, our
               products are very innovative. They are very valued, and they are truly
               transformative for patients, and that’s being recognized by the payer. I
               would say number two is our therapies are unique, and they are not
               interchangeable. So, you’ve seen discussions on tenders, our bidding
               process and so on. That’s not really something that would work for our
               products. And number three is we are growing our company through
               volumes, not through price increase. So, I do believe that this is a
               sustainable model for us for now, and I know that Dave wants to add a
               couple of things here.

       413.    The statements referenced above in ¶¶ 403-04 and 406-12 were materially false

and misleading because they failed to disclose: (1) the Adverse Material Facts Regarding Soliris

Sales Methods; (2) the Company and Individual Defendants’ engagement in the Fraudulent

Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the Nurse

Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the Patient

Information Scheme; and (5) the Company and Individual Defendants’ engagement in the Patient

Advocacy Group Scheme.


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       May 8, 2017 – Operation Serpent’s Chalice & the Fraudulent Lawsuit Scheme

       414.    Additional details about Alexion’s improper sales tactics came to light before the

close of trading on May 8, 2017, when reports emerged that the Company’s São Paulo, Brazil

offices were raided by Brazilian authorities as part of “Operation Serpent’s Chalice”—a

multiyear coordinated federal investigation into healthcare fraud in the pharmaceutical industry.

       415.    Specifically, as reported by the Brazilian news magazine Exame, the Brazilian

Federal Police and Federal Attorney General’s Office have been investigating a criminal scheme

involving the filing of fraudulent lawsuits for the purpose of transferring large amounts of public

funds from Brazil’s national health system to Alexion for Soliris (the Fraudulent Lawsuit

Scheme referred to herein). Because Soliris is not yet approved for sale in Brazil, the only way

citizens can get access to the drug is to file a lawsuit for a judgment awarding publicly funded

access to Soliris through the constitutionally protected right to medical care, guaranteed to all

Brazilian citizens. As reported by Bloomberg, Brazil’s health ministry has paid more than 1.29

billion reais (or approximately $400 million) since 2010 to grant its citizens access to Soliris

through these lawsuits.

       416.    Upon information and belief, Brazilian authorities began investigating Alexion

and the Company’s relationship with a patient advocacy group called the Associacao dos

Familiares, Amigos e Portadores de Doenças Graves (or “AFAG”), whose offices were also

raided on May 8, 2017 as part of the investigation. The investigation has focused on the

allegedly fraudulent filing of lawsuits aimed at obtaining government reimbursement for sales of

Soliris in circumstances involving inconclusive and fake diagnoses of PNH and aHUS. More

than 900 lawsuits for access to Soliris have been filed in Brazil over the past six years by AFAG

and other patient advocacy organizations.




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       417.    According to Exame, the Brazilian authorities’ investigation began when a patient

reported being induced by AFAG to file a lawsuit for access to Soliris in order to treat aHUS―a

disease she did not have. In the federal warrant application to search and seize documents from

Alexion’s São Paulo office, the Brazilian Federal Police alleged that a representative of Alexion

facilitated contact between the misdiagnosed patient and AFAG. The patient reported being

misdiagnosed by two doctors and giving power of attorney to AFAG―which Brazilian

authorities alleged did not charge legal fees―to file an action on her behalf.

       418.    According to Exame, the Brazilian Federal Attorney General’s Office is aware of

at least ten similar lawsuits filed by AFAG involving Soliris. These lawsuits were supported by

diagnoses from the same group of physicians and were filed by the same group of attorneys,

according to the Brazilian newspaper, O Globo. The medical reports were also suspiciously

similar. After these suspicious details emerged, a Brazilian judge ordered independent medical

reevaluations for patients who filed lawsuits involving aHUS diagnoses. According to Brazilian

authorities, several actions involving diagnoses by the same doctors were abruptly withdrawn

shortly after the judge’s order.

       419.    According to Exame, Brazilian authorities are also investigating Alexion’s

financial contributions to AFAG. Alexion disclosed to investors that it gave more than $500,000

to the AFAG in 2015. The average payment in 2015 was approximately $26,000 per entity.

Indeed, AFAG received more in 2015 than any of the 115 other foreign Patient Advocacy

Organizations in 18 countries that received financial support from Alexion that year.

       420.    On news that Alexion’s offices in Brazil were raided, Alexion’s stock price fell

$4.42, or 3.4%, from an opening price on May 8, 2017 of $129.12 per share, to close that same

day at $124.70 per share.




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       May 23, 2017 – Complete Overhaul

       421.    Just over two weeks after the Company’s Brazilian offices were raided, Alexion

announced a significant shakeup of its executive leadership team, including the departure of the

Company’s second CFO in just six months.

       422.    On May 23, 2017, the Company issued a press release announcing that (1)

“Carsten Thiel, who is leaving the Company, effective June 1, 2017, to pursue new

opportunities” will be replaced with Mr. Brian Goff on June 1, 2017, (2) “David Anderson, Chief

Financial Officer, will resign his position at the end of August 2017” and the Company had yet

to find a replacement, (3) “Dr. Martin Mackay, Executive Vice President, Head of Research &

Development, is retiring from the Company at the end of 2017” and the Company had yet to find

a replacement, and (4) “Ms. Clare Carmichael, Executive Vice President, Chief Human

Resources Officer, will be leaving the Company, effective June 1, 2017, to pursue new

opportunities” and the Company had yet to find a replacement.

       423.    This news was extremely distressing and damaging to the Company because, as

was continuously disclosed and represented during the Relevant Period in the Company’s SEC

filings, “[t]he success of [Alexion’s] business is dependent in large part on [its] continued ability

to attract and retain [its] senior management, and other highly qualified personnel in [its]

scientific, clinical, manufacturing and commercial organizations.”

       424.    Thus, on news that a cadre of executives was leaving the Company, Alexion’s

stock price dropped $10.78, or 9.3%, from a closing price of $115.42 per share on May 22, 2017

to close at $104.64 per share on May 23, 2017, on heavy trading volume.

       425.    The management departures announced on May 23, 2017 were not the only

changes to Alexion’s leadership that the Company made in 2017. Just months earlier, on March

2, 2017, Alexion announced that Defendant Bell, the Company’s founder and the Chairman of its


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Board, would leave the Company. In addition, Alexion also announced in March 2017 that its

Chief Compliance Officer, Edward Miller, was leaving the Company.

       426.    This means that between December 2016 and May 2017, Alexion announced the

departure of (i) its CEO, (ii) two different CFOs, (iii) its founder and Chairman of the Board, (iv)

its Chief Compliance Officer, (v) its Chief Commercial Officer, and (vi) two executive vice

presidents.

       427.    Analysts have tied the Company’s management losses to the Company’s

aggressive sales tactics.

       The Bloomberg Exposé

       428.    On May 24, 2017, the day after the Company lost a cadre of key executives,

Bloomberg released an in-depth exposé detailing Alexion’s illicit and aggressive sales practices

(the “Bloomberg Exposé”).29 The Bloomberg Exposé provided specifics about the wide range of

tactics Alexion used to “pull in” sales of Soliris—that is, to encourage patients to purchase

Soliris at times when they did not need it.

       429.    Relying on interviews with more than 20 current and former employees and a

review of over more than 2,000 pages of internal documents, the Bloomberg Exposé provides

details about a number of Alexion’s improper and unethical sales tactics, including:

               (a) relying on a team of in-house nurses, who worked with the Company’s
               sales team, to pressure patients and doctors to use Soliris, even if not in the
               patients’ interest (the “Nurse Coordination Scheme” referred to above);

               (b) encouraging doctors to send patients’ test results to “partner labs,”
               which, in turn, would inappropriately share with Alexion the results of
               these tests so that Alexion could identify patients diagnosed with PNH and


29
  Elgin & Bloomfield et al., When the Patient is a Gold Mine: The Trouble With Rare-Disease
Drugs, Bloomberg, May 24, 2017, https://www.bloomberg.com/news/features/2017-05-
24/when-the-patient-is-a-gold-mine-the-trouble-with-rare-disease-drugs    (last    accessed
September 18, 2017).


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                  aHUS (i.e., potential customers) (the “Patient Information Scheme”
                  referred to above); and

                  (c) making grants to patient advocacy groups so that Alexion could have
                  greater access to patient populations, and the Company’s related use of
                  certain of these groups to obtain illegal reimbursement for Soliris from
                  foreign governments (the “Patient Advocacy Group Scheme” referred to
                  above).

        430.      Employees interviewed by Bloomberg explained that for new arrivals at the

Company, the sales culture was intense. Managers stressed that sales staff needed to question

doctors, many of whom had not seen patients with rare diseases, and to “transform no to yes,”

according to a sales manager who left the Company in 2016. If doctors did not think patients

were sick enough to warrant a drug that is as expensive as Soliris, sales staff were instructed to

warn the doctor that the doctor’s patient could die. Such a technique is inappropriate and

especially egregious because there is insufficient evidence, according to a meta-analysis, to

indicate that use of Soliris lowers or even affects a patient’s risk of death. The Company’s

system of high pressure, unethical, and potentially illegal sales practices was reminiscent of a

boiler room operation.

        431.      The Company closely tracked key details, such as the number of tests ordered by

each physician in their core markets. Sales staff also maintained detailed spreadsheets that

included a wide range of information about potential patients, including dates of birth,

information about symptoms, doctor, and hospital, and patients in some cases were identified by

their initials.

        Nurse Coordination Scheme

        432.      As part of the Nurse Coordination Scheme referenced herein, the sales staff

worked alongside a team of Company nurses that assisted in the administration of treatments to

Soliris patients. As licensed practitioners, these in-house nurses are supposed to prioritize their



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patients’ interests over their employers’ profits, which is why most drug companies, to avoid

conflicts, maintain a firewall between their nurses and salespeople. At Alexion, however, nurses

reported directly to sales, and nurses often faced pressure to secure and keep customers.

       433.    Several former employees told Bloomberg that, during weekly Friday sales

meetings, managers gathered their sales staff and nurses to talk about their customers. If a

patient had stopped taking Soliris, managers would question the nurse assigned to the patient and

ask what steps were taken to keep the patient on the drug, whether the nurse told the patient that

the patient could develop potential fatal blood clots if Soliris was no longer taken, and whether

the nurse steered the patient to another doctor who would resume the treatment.

       434.    As one former longtime Company nurse explained, “It was your feet to the fire,

sweat pouring down your back.”

       435.    The Bloomberg Exposé details the story of one patient, named Stacey, who was

diagnosed with PNH in 2004. When she tried Soliris once it became available, her blood results

showed little improvement as a result of the treatment. When she told her Alexion nurse that she

and her doctor were going to stop treatment, the Alexion nurse started calling Stacey, urging her

to continue the treatment. Stacey explained: “I felt like they were scaring me, saying ‘Oh my

gosh, you really shouldn’t stop. You could get a clot and die.’”

       Patient Information Scheme

       436.    The Bloomberg Exposé also details how the Company engaged in the Patient

Information Scheme, including the steps Alexion took to locate patients suffering from PNH and

aHUS and to steer doctors to prescribe them Soliris. Alexion worked to persuade doctors to test

more frequently for PNH and aHUS, and took unethical and potentially illegal steps to view the

results of these tests, which traditionally are shared only amongst the doctor, the patient, and the

lab that performs the test.


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       437.    To this end, according to former employees and internal documents, sales

representatives were instructed to urge doctors to send the tests to preferred “partner labs,” which

for Alexion included regional labs, such as Dahl-Chase in Maine and Machaon Diagnostics Inc.

in Oakland, California, as well as national labs such as Laboratory Corp. of America Holdings

(known as LabCorp), Quest Diagnostics Inc., and Mayo Medical Laboratories, a division of the

Mayo Clinic.

       438.    Unbeknownst to patients and many of the doctors, several of these preferred labs

had agreements with Alexion to provide the Company with copies of the patients’ test results.

Although patient names were often removed from the test results shared with Alexion, the lab

provided a number of other identifying and personal details, such as the patient’s age, gender,

ZIP code, the hospital and doctor ordering the test, and a summary of the results. With this

information, sales representatives were able to easily locate patients (i.e., potential customers)

who would have otherwise been extremely difficult to find. When a result for PNH or aHUS

was reported by a lab to Alexion, the diagnostic team at the Company passed the information to

the sales team, which descended on the doctor listed in the lab result. As a former account

representative of the Company explained, “[i]t was like Normandy.”

       439.    Improper sharing of identifiable patient health information, as it seems to have

occurred here, can constitute a serious violation of the HIPAA. Indeed, in May 2017, after

investigative reporters began poking around and asking Alexion questions about these data

gathering practices and so-called “partner lab” relationships, the Company halted these practices

and explained that it was reviewing its relationships with labs, further calling into question the

legality of these previously undisclosed agreements.




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           The Patient Advocacy Group Scheme

           440.   The Bloomberg Exposé also provided additional details about the Patient

Advocacy Group Scheme, which involved Alexion’s relationship with PAGs, which Alexion

regularly fund around the world. Indeed, the Company disclosed on its website that in 2015 it

funded more than 75 of these groups.

           441.   PAGs host meetings each year to bring together patients diagnosed with PNH or

aHUS and their families, and Alexion provides grants that pay for travel, lodging, and meals.

           442.   Alexion used these PAG meetings as a way to gain access to patients (and

potential customers). The Company would send its in-house nurses to these meetings, who were

instructed to gather sign-in sheets with names and contact information of patients, apparently

without the knowledge or permission of the groups themselves.

           443.   Alexion also used its connections and contributions to PAGs to further the

Fraudulent Lawsuit Scheme. As mentioned above, Alexion has a particularly close relationship

with the PAG AFAG in Brazil—a relationship that is the subject of an investigation by Brazilian

authorities and that sparked the raid of Alexion’s offices in Brazil on May 8, 2017.

           444.   For drug makers to be reimbursed for drugs sold in Brazil, companies are

supposed to negotiate with the government on price. Five former managers and executives of the

Company explained that Alexion avoided this step, and delayed registering Soliris in Brazil for

years. Instead, the Company took advantage of fraudulent lawsuits to obtain its desired price for

Soliris.

           445.   The Brazil constitution guarantees healthcare for each citizen, and citizens can sue

the government to get access to drugs that have not yet been approved for sale by regulators. If

the citizen’s lawsuit is successful, the government must pay for the drug without the usual price




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negotiations, meaning Alexion receives the full price of Soliris in the event of a successful

lawsuit.

       446.    Because most patients in Brazil cannot afford to pursue such a lawsuit, which is

known as “judicialization,” Alexion began funding PAGs, who would in turn cover the costs of

patients’ lawsuits. One such PAG’s primary lawyers, who worked on these lawsuits on behalf of

patients, initially came from a law firm owned by the sister of Alexion’s local manager,

according to a December 2014 confidential analysis prepared by an outside law firm that Alexion

commissioned to review its business practices in Brazil.

       447.    In 2012, Alexion began funding AFAG. Although AFAG works with other drug

companies, much of its funding comes from Alexion: In 2014 and 2015, Alexion contributed

1.672 million Brazilian reais (approximately $500,000) to AFAG, which represented roughly

30% of the group’s budget.         In 2016, the donation increased to 2.675 million reais

(approximately $817,000).

       448.    Because of these significant contributions, Alexion was granted special access,

and each week, an Alexion manager would go through patient files at AFAG’s office, according

to internal documents reviewed by Bloomberg. The Alexion manager told AFAG which cases to

pursue and brought all relevant patient information back to Alexion, according to a former

manager. Three former managers of the Company explained that few doctors, patients, or

government officials understood the extent of Alexion’s influence within AFAG.

       449.    Alexion’s outside law firm, hired to review the Company’s business practices in

Brazil, concluded in its December 2014 confidential report that these operations were

“unethical.” These unethical business practices have been lucrative for the Company. By the

end of 2016, Alexion projected that 600 Brazilians would be on Soliris, which would produce




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revenue of more than $200 million, according to internal documents reviewed by Bloomberg.

Strikingly, while Soliris treats just 0.0003% of Brazil’s population, the drug accounted for 30%

of the country’s judicialization budget in 2013 and 2014.

       450.      Alexion is still under investigation in Brazil for its relationship with AFAG. As

described above, Brazil’s national police are alleging that some of the lawsuits funded by

Alexion through its donations to AFAG were fraudulent and used inaccurate diagnoses to

generate patients, according to a request for a search warrant reviewed by Bloomberg. In one

case, armed guards regularly delivered far more Soliris than was needed to a woman who was

incorrectly diagnosed with aHUS. After years of excessive shipments, the patient had stockpiled

about 2.2 million reais of the drug in her refrigerator, and she ultimately reported the situation to

Brazilian authorities, which issued a search warrant for Alexion’s offices.

       451.      Alexion’s grants to PAGs overseas have also caught the attention of U.S.

regulators. The May 2015 subpoena from the SEC described above involves these grants that

Alexion has made in Brazil, Colombia, Japan, Russia, and Turkey. The SEC’s investigation is

still ongoing.

       Effect of the Bloomberg Exposé

       452.      Following the release of the Bloomber Exposé (which occurred before the market

opened on May 24, 2017), Alexion’s stock price fell $3.42 from an opening price on May 24,

2017 of $104.50 per share, to close that same day at $101.08 per share, a decline of 3.27%. Over

the next two days, as the market continued to absorb this information, Alexion’s stock price slid

further. On May 25, 2017, Alexion’s stock price fell $5.86 from an opening price of $104.36 to

close at $98.50, a decline of approximately 5.62%, and then closed on May 26, 2017 at a price of

$97.70—a decline of over 6.5% from the May 24, 2017 opening price.




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       July 6, 2017

       453.    On July 6, 2017, Bloomberg reported that Alexion is under investigation by the

U.S. Department of Health and Human Services’ Office of Inspector General, related to the

Company’s support for charities that aid Medicare patients. The U.S. Attorney’s Office for the

District of Massachusetts is conducting a similar investigation of the Company for the same

alleged misconduct, and Alexion announced on January 4, 2017 that it had received a subpoena

in December 2016 in connection with that investigation.

       Aftermath

       July 7, 2017

       454.    According to a recent report published on FiercePharma on July 7, 2017, 30 “[t]he

U.S. Attorney’s Office for the District of Massachusetts isn’t the only one investigating Alexion

over its support of organizations that help Medicare patients.”

       455.    According to the article, “The U.S. Department of Health and Human Services’

Office of Inspector General (“OIG”)—which probes potential waste, fraud and abuse in

Medicare, Medicaid and other HHS programs—is investigating the situation, too.” Moreover, as

told to Bloomberg by the OIG and noted in the article, “there is an ‘open and ongoing

investigation’ into the Connecticut biotech.” The article additionally noted that the Company “is

‘aware’ that the OIG is ‘working on this inquiry with the U.S. Attorneys’ Office and the

Department of Justice.’”

       456.    The ongoing regulatory investigations suggest that additional details about

Alexion’s improper conduct are likely to emerge after the filing of this Derivative Complaint.



30
   Carly Helfand, Alexion under HHS investigation as part of DOJ Medicare probe,
FiercePharma, July 7, 2017, http://www.fiercepharma.com/pharma/alexion-under-hhs-
investigation-as-part-doj-medicare-probe (last accessed September 18, 2017).


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       September 12, 2017

       457.      On September 12, 2017, the Company issued a press release announcing that it

committed to an operational plan to re-align the global organization with its refocused corporate

strategy. Among other things, the re-alignment focuses investments in priority growth areas,

specifically citing as a goal: “Maximize Leadership in Complement and Grow Rare Disease

Business by Focusing Investments in Priority Growth Areas.” The re-alignment also includes

the relocation of the Company’s headquarters to Boston, Massachusetts in 2018.

       458.      According to the press release, the plan is expected to reduce the Company’s

global workforce by approximately 20% over the next twelve months. The restructuring will

achieve cost savings “by focusing the development portfolio, simplifying business structures and

processes across the Company’s global operations,” and closing of multiple Alexion sites,

including the Company’s Rhode Island manufacturing facility and certain regional and country-

based offices.

       459.      The Connecticut Department of Economic and Community Development called

the news of Alexion’s headquarters move “disappointing” and said it would ask for the return of

$26 million in economic development aid from Connecticut meant to jump-start the state’s

biotechnology sector, with penalties and interest.

       460.      The Company has already agreed to pay the money back.

                                       INSIDER SELLING

       461.      At least ten (10) of the Individual Defendants engaged in unauthorized and illegal

insider selling during the period of time that the Company’s stock price was artificially inflated

due to the Individual Defendants’ misconduct as described herein.




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       Defendant Bell

       462.   During the period of time when the Company materially misstated information to

keep the stock price inflated, and before the scheme was exposed, Defendant Bell made the

following sales of Company stock:

         Date of Sale          # Shares Sold      Price per share ($)   Value ($)
         March 1, 2017         1,240              132.5                 164,300
         February 28, 2017     2,738              131.71                360,621
         February 9, 2017      246                126.84                31,202
         February 7, 2017      1,010              128.09                129,370
         February 6, 2017      7,715              125.89                971,241
         January 10, 2017      100                144.99                14,499
         January 9, 2017       5,187              144.91                751,674
         January 5, 2017       34,878             137.46                4,794,399
         November 4, 2016      37,317             140.59                5,246,471
         October 31, 2016      1,634              135.32                221,121
         August 8, 2016        1,010              137.14                138,511
         February 8, 2016      11,474             138.79                1,592,510
         February 5, 2016      2,136              142.93                305,298
         February 4, 2016      2,262              144.38                326,587
         December 29, 2015     28,968             190.84                5,528,397
         December 28, 2015     400                190.15                76,060
         December 24, 2015     5,632              190                   1,070,080
         December 17, 2015     70,000             187.95                13,156,220
         December 11, 2015     21,319             187.77                4,003,068
         December 8, 2015      70,000             188.04                13,162,940
         November 25, 2015     35,000             181.79                6,362,755
         November 2, 2015      35,000             180.12                6,304,200
         September 9, 2015     1,050              180.1                 189,105
         August 7, 2015        1,003              190.01                190,580
         August 4, 2015        2,200              196.52                432,344
         June 18, 2015         27,835             179.63                5,000,001
         March 19, 2015        15,952             188.07                3,000,092
         March 2, 2015         1,230              180.34                221,818
         February 10, 2015     5,740              171.15                982,401
         February 9, 2015      8,660              173.98                1,506,666
         February 4, 2015      2,223              173.41                385,490
         February 3, 2015      3,000              174.25                522,750
         December 18, 2014     13,735             182.03                2,500,182



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         December 17, 2014       16,680              177.96                2,968,422
         December 9, 2014        16,665              199.94                3,332,000
         December 8, 2014        59,934              198.57                11,900,854
         December 5, 2014        56,721              197.59                11,207,785
         November 20, 2014       5,210               191.96                1,000,111
         September 26, 2014      60,000              165.66                9,939,600
         September 18, 2014      12,388              161.45                2,000,042
         September 16, 2014      32,047              160.2                 5,133,929
         September 10, 2014      12,199              165.38                2,017,470
         September 8, 2014       21,214              165.11                3,502,643
         September 5, 2014       90,919              163.76                14,888,713
         September 4, 2014       85,668              167.81                14,375,947
         August 27, 2014         5,912               169.17                1,000,133
         August 15, 2014         35,000              170.06                5,952,100
         August 14, 2014         35,000              166.29                5,820,045
         August 13, 2014         24,542              162.4                 3,985,694
         August 12, 2014         80,458              160.26                12,894,601
         August 4, 2014          5,145               157.88                812,292
         July 30, 2014           20,489              166.25                3,406,234
         July 29, 2014           1,200               164.93                197,916
         July 28, 2014           105,600             163.39                17,254,195
         June 20, 2014           90,280              163.06                14,720,966
         May 27, 2014            70,000              166.31                11,641,490
         May 20, 2014            70,000              156.78                10,974,810
         April 29, 2014          66,210              156.35                10,351,734
         April 28, 2014          3,790               155.12                587,904
         February 7, 2014        4,620               156.32                722,198
         February 4, 2014        8,870               153.63                1,362,698
         February 3, 2014        2,920               157.14                458,848
         TOTAL                   1,557,575           N/A                   264,054,327

       463.    Thus, before the fraud was exposed, Defendant Bell sold 1,557,575 Company

shares on inside information, for which he received over $264 million. His insider sales, made

with knowledge of material non-public information before the material misstatements and

omissions were exposed, demonstrate his motive in facilitating and participating in the fraud.




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        464.    Defendant Bell’s insider sales of Company stock during the Relevant Period were

highly unusual and suspicious as measured by (i) profits and the total amount and percentage of

shares disposed, (ii) the contrast with his prior trading history, and (iii) the timing of the sales.

        465.    Specifically, when Defendant Bell’s sales during the Relevant Period are

compared to his sales during the same amount of time but immediately preceding the Relevant

Period, referred to as the “Control Period,” several notable things become clear. First, during the

Relevant Period, Defendant Bell decreased his total shareholdings (i.e., the net shares owned by

Defendant Bell after stock grants pursuant to equity compensation plans and other programs) by

over 485,000 shares or approximately 55.39% compared to a 49.58% decrease in the Control

Period. Second, Defendant Bell received over 33% more in profits from sales of his stock than

he did during the Control Period. Moreover, the timing of Defendant Bell’s stock sales could not

be more suspect and this was noticed by market analysts. On November 8, 2016, analysts at

Leerink reported that Defendant Bell made a “significant stock sale” yielding “a profit of

$4.4mm” just as the first corrective disclosure was entering the market, i.e., November 4, 2016.

        466.    While Defendant Bell purports to have traded pursuant to a 10b5-1 trading plan,

such is a red herring. Bell had full control over such trading plan. In fact, between entering into

the plan in 2002 and the start of the Relevant Period, Defendant Bell modified his trading plan

three times, yet at the outset of the Relevant Period—on April 30, 2014 and July 30, 2014—he

modified his plan twice in short order so that he could sell an additional 457,460 shares.

        Defendant Sinha

        467.    During the period of time when the Company materially misstated information to

keep the stock price inflated, and before the scheme was exposed, Defendant Sinha made the

following sales of Company stock:




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         Date of Sale            # Shares Sold       Price per share ($)   Value ($)
         August 8, 2016          277                 137.14                37,987
         February 29, 2016       1,122               140.07                157,158
         February 8, 2016        3,890               136.42                530,685
         February 4, 2016        703                 144.6                 101,657
         February 5, 2016        1,954               143.92                281,213
         August 4, 2015          675                 196.52                132,651
         March 2, 2015           487                 180.34                87,825
         February 10, 2015       1,985               171.15                339,732
         February 9, 2015        2,703               174.63                472,038
         February 3, 2015        895                 174.06                155,783
         February 4, 2015        676                 174.37                117,874
         December 18, 2014       5,493               182.08                1,000,165
         December 3, 2014        50,000              199.08                9,954,000
         December 2, 2014        25,000              200.16                5,004,000
         November 6, 2014        5,693               195                   1,110,135
         October 31, 2014        19,307              195.18                3,768,340
         November 3, 2014        30,000              191.98                5,759,400
         August 4, 2014          1,525               157.82                240,675
         February 7, 2014        1,620               156.51                253,546
         February 4, 2014        2,700               153.63                414,801
         February 3, 2014        852                 157.14                133,883
         January 29, 2014        994                 133.41                132,604
         TOTAL                   158,551                                   30,186,152

       468.    Thus, before the fraud was exposed, Defendant Sinha sold 158,551 Company

shares on inside information, for which he received over $30 million. His insider sales, made

with knowledge of material non-public information before the material misstatements and

omissions were exposed, demonstrate his motive in facilitating and participating in the fraud.

       Defendant Madri

       469.    During the period of time when the Company materially misstated information to

keep the stock price inflated, and before the scheme was exposed, Defendant Madri made the

following sales of Company stock:




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         Date of Sale            # Shares Sold       Price per share ($)   Value ($)
         March 11, 2014          60,000              179.12                10,746,900
         February 7, 2014        30,000              159                   4,770,000
         TOTAL                   90,000              N/A                   15,516,900

       470.    Thus, before the fraud was exposed, Defendant Madri sold 90,000 Company

shares on inside information, for which he received over $15.5 million. His insider sales, made

with knowledge of material non-public information before the material misstatements and

omissions were exposed, demonstrate his motive in facilitating and participating in the fraud.

       Defendant Mathis

       471.    During the period of time when the Company materially misstated information to

keep the stock price inflated, and before the scheme was exposed, Defendant Mathis made the

following sale of Company stock:

         Date of Sale            # Shares Sold       Price per share ($)   Value ($)
         February 3, 2014        80,729              157.25                12,694,473

       472.    Thus, before the fraud was exposed, Defendant Mathis sold 80,729 Company

shares on inside information, for which he received about $12.7 million. His insider sale, made

with knowledge of material non-public information before the material misstatements and

omissions were exposed, demonstrate his motive in facilitating and participating in the fraud.

       Defendant Hallal

       473.    During the period of time when the Company materially misstated information to

keep the stock price inflated, and before the scheme was exposed, Defendant Hallal made the

following sales of Company stock:

         Date of Sale            # Shares Sold       Price per share ($)   Value ($)
         August 8, 2016          332                 137.14                45,530
         April 1, 2016           1,414               136.04                192,360
         February 29, 2016       2,014               140.18                282,322
         February 5, 2016        6,722               142.86                960,291


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         February 4, 2016        629                 144.43                90,846
         February 8, 2016        3,946               138.41                546,154
         August 7, 2015          329                 190.01                62,513
         August 4, 2015          612                 196.52                120,270
         March 2, 2015           730                 180.34                131,648
         February 10, 2015       1,980               171.15                338,877
         February 9, 2015        2,920               173.93                507,875
         February 3, 2015        765                 174.02                133,125
         February 4, 2015        608                 174.38                106,023
         December 18, 2014       5,494               182.03                1,000,072
         November 3, 2014        30,000              190.01                5,700,300
         August 4, 2014          1,349               158                   213,142
         February 6, 2014        10                  156.95                1,569
         February 7, 2014        1,610               156.8                 252,448
         February 3, 2014        729                 157.14                114,555
         February 4, 2014        2,390               153.63                367,175
         January 29, 2014        729                 133.41                97,255
         TOTAL                   65,312                                    11,264,350

       474.    Thus, before the fraud was exposed, Defendant Hallal sold 65,312 Company

shares on inside information, for which he received about $11.3 million. His insider sales, made

with knowledge of material non-public information before the material misstatements and

omissions were exposed, demonstrate his motive in facilitating and participating in the fraud.

       Defendant Parven

       475.    During the period of time when the Company materially misstated information to

keep the stock price inflated, and before the scheme was exposed, Defendant Parven made the

following sales of Company stock:

         Date of Sale            # Shares Sold       Price per share ($)   Value ($)
         January 5, 2017         22,659              137.86                3,123,724
         November 2, 2015        895                 178.73                159,963
         November 11, 2014       15,000              195.66                2,934,900
         May 13, 2014            12,276              160.78                1,973,735
         February 11, 2014       2,471               174.06                430,102
         TOTAL                   53,301                                    8,622,424




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         476.    Thus, before the fraud was exposed, Defendant Parven sold 53,301 Company

shares on inside information, for which he received over $8.6 million. His insider sales, made

with knowledge of material non-public information before the material misstatements and

omissions were exposed, demonstrate his motive in facilitating and participating in the fraud.

         Defendant Norby

         477.    During the period of time when the Company materially misstated information to

keep the stock price inflated, and before the scheme was exposed, Defendant Norby made the

following sale of Company stock:

            Date of Sale          # Shares Sold      Price per share ($)   Value ($)
            December 11, 2015     45,442             187.59                8,524,601

         478.    Thus, before the fraud was exposed, Defendant Norby sold 45,442 Company

shares on inside information, for which he received over $8.5 million. His insider sale, made

with knowledge of material non-public information before the material misstatements and

omissions were exposed, demonstrate his motive in facilitating and participating in the fraud.

         Defendant Thiel

         479.    During the period of time when the Company materially misstated information to

keep the stock price inflated, and before the scheme was exposed, Defendant Thiel made the

following sales of Company stock:

            Date of Sale          # Shares Sold      Price per share ($)   Value ($)
            February 28, 2017     3,783              131.01                495,610
            February 27, 2017     71                 131.2                 9,315
            February 28, 2017     54                 0                     031
            February 6, 2017      165                125.69                20,738
            December 9, 2016      2,308              130                   300,040
            October 14, 2016      4,584              120.28                551,363
            October 3, 2016       29                 122.41                3,549

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     As reported on Defendant Thiel’s Form 4 filed with the SEC on February 27, 2017.


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          September 12, 2016     225                 124.2                 27,945
          September 13, 2016     3,000               129                   387,000
          September 6, 2016      1,000               125.94                125,940
          February 16, 2016      187                 143.49                26,832
          November 10, 2015      3,000               173.34                520,020
          September 10, 2015     812                 170.01                138,052
          TOTAL                  19,218                                    2,606,404

       480.    Thus, before the fraud was exposed, Defendant Thiel sold 19,218 Company

shares on inside information, for which he received over $2.6 million. His insider sales, made

with knowledge of material non-public information before the material misstatements and

omissions were exposed, demonstrate his motive in facilitating and participating in the fraud.

       Defendant Keller

       481.    During the period of time when the Company materially misstated information to

keep the stock price inflated, and before the scheme was exposed, Defendant Keller made the

following sales of Company stock:

          Date of Sale           # Shares Sold       Price per share ($)   Value ($)
          December 4, 2014       5,000               196.25                981,250
          June 5, 2014           3,425               170                   582,250
          TOTAL                  8,425                                     1,563,500

       482.    Thus, before the fraud was exposed, Defendant Keller sold 8,425 Company shares

on inside information, for which he received about $1.6 million. His insider sales, made with

knowledge of material non-public information before the material misstatements and omissions

were exposed, demonstrate his motive in facilitating and participating in the fraud.

       Defendant Veneman

       483.    During the period of time when the Company materially misstated information to

keep the stock price inflated, and before the scheme was exposed, Defendant Veneman made the

following sales of Company stock:




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          Date of Sale             # Shares Sold        Price per share ($)   Value ($)
          December 11, 2015        895                  187.48                167,794
          December 11, 2014        1,235                193.03                238,392
          June 4, 2014             1,236                170.01                210,132
          April 29, 2013           3,115                99                    308,385
          December 12, 2012        4,579                95                    435,005
          February 17, 2012        2,000                81.1                  162,200
          TOTAL                    13,060                                     1,521,908

        484.    Thus, before the fraud was exposed, Defendant Veneman sold 13,060 Company

shares on inside information, for which she received over $1.5 million. Her insider sales, made

with knowledge of material non-public information before the material misstatements and

omissions were exposed, demonstrate her motive in facilitating and participating in the fraud.

        485.    In total, before the fraud was exposed, at least ten (10) of the Individual

Defendants collectively sold $356.3 million worth of Company common stock based on material

non-public information. And as will be shown even further at trial, each of the Individual

Defendants’ insider sales during the Relevant Period were highly unusual and suspicious as

measured by (i) profits and the total amount and percentage of shares disposed, (ii) the contrast

with his or her prior trading history, and (iii) the timing of the sales.

                                          REPURCHASES

        486.    Over the course of the Relevant Period, the Company made repurchases every

year. On May 26, 2017, just two days after the Bloomberg Exposé was published, the price per

share of Company stock fell to $97.70 at the close of market. This reflected the true price per

share of Alexion stock, had the Individual Defendants not engaged in their schemes as outlined

herein. Therefore, any repurchases by the Company should have been made valuing their

common stock at $97.70.




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       487.     During the fiscal year ended December 31, 2014, the Individual Defendants

caused the Company to repurchase 1,903,000 shares of its own common stock at an average

price per share of approximately $159, for a total cost to the Company of approximately

$302,599,000.

       488.     Due to the artificial inflation of the Company’ stock price caused by the

misrepresentations alleged to have been made during the Relevant Period, which benefitted

certain Individual Defendants who engaged in insider sales of Company stock, the Company

paid on average $61 more than each such share was worth during the fiscal year ended December

31, 2014. Thus, the total over payment by the Company for its repurchases of its own stock

during the fiscal year ended December 31, 2014 was $116,653,900.

       489.     During the fiscal year ended December 31, 2015, the Individual Defendants

caused the Company to repurchase 1,963,000 shares of its own common stock at an average

price per share of approximately $166.94, for a total cost to the Company of approximately

$327,699,000.

       490.     Due to the artificial inflation of the Company’s stock price caused by the

misrepresentations alleged to have been made during the Relevant Period, which benefitted

certain Individual Defendants who engaged in insider sales of Company stock, the Company

paid on average $69 more than each such share was worth during the fiscal year ended December

31, 2015. Thus, the total overpayment by the Company for its repurchases of its own stock

during the fiscal year ended December 31, 2015 was $135,918,120.

       491.     During the fiscal year ended December 31, 2016, the Individual Defendants

caused the Company to repurchase approximately 3,000,000 shares of its own common stock at




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an average price per share of approximately $143.33, for a total cost to the Company of

approximately $430,000,000.

       492.   Due to the artificial inflation of the Company’ stock price caused by the

misrepresentations alleged to have been made during the Relevant Period, which benefitted

certain Individual Defendants who engaged in insider sales of Company stock, the Company

paid on average $46 more than each such share was worth during the fiscal year ended December

31, 2016. Thus, the total over payment by the Company for its repurchases of its own stock

during the fiscal year ended December 31, 2016 was $136,890,000.

       493.   During the three months ended March 31, 2017, the Individual Defendants caused

the Company to repurchase 550,000 shares of its own common stock at an average price per

share of approximately $123.74, for a total cost to the Company of approximately $68,057,000.

       494.   Due to the artificial inflation of the Company’ stock price caused by the

misrepresentations alleged to have been made during the Relevant Period, which benefitted

certain Individual Defendants who engaged in insider sales of Company stock, the Company

paid on average $26 more than each such share was worth during the three months ended March

31, 2017. Thus, the total over payment by the Company for its repurchases of its own stock

during the three months ended March 31, 2017 was $14,322,000.

       495.   During the month ended April 30, 2017, the Individual Defendants caused the

Company to repurchase 270,000 shares of its own common stock at an average price per share of

$118.08, for a total cost to the Company of approximately $31,881,600.

       496.   Due to the artificial inflation of the Company’ stock price caused by the

misrepresentations alleged to have been made during the Relevant Period, which benefitted

certain Individual Defendants who engaged in insider sales of Company stock, the Company




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paid on average $20 more than each such share was worth during the month ended April 30,

2017. Thus, the total over payment by the Company for its repurchases of its own stock during

the month ended April 30, 2017 was $5,400,000.

       497.    Thus, in total, the Company overpaid approximately $409.2 million for

repurchases made between the beginning of the Relevant Period and the date the Company’s

stock began to trade at its true price following the Bloomberg Exposé.

     SUMMARY OF THE INDIVIDUAL DEFENDANTS’ WRONGFUL CONDUCT

       498.    In breach of their fiduciary duties, the Individual Defendants willfully or

recklessly caused the Company’s above-alleged internal control failures, and willfully or

recklessly caused or permitted the Company to make the false and misleading statements and

omissions of material fact to the investing public as set forth above.

       499.    The Individual Defendants also failed to take any actions to stop the wrongful

conduct and eventually exposed the Company to substantial liabilities.

       500.    The Individual Defendants also breached their fiduciary duties by engaging in,

and/or causing the Company to engage in, the Fraudulent Sales Pitch Misconduct, the Pull-in

Sales Misconduct, the Nurse Coordination Scheme, Patient Information Scheme, Patient

Advocacy Group Scheme, and the Fraudulent Lawsuit Scheme.                These schemes involved

violations of a plethora of federal and state laws and regulations (and even violations of Brazilian

law), including but not limited to, the FCPA, the HIPAA, the Food, Drug, and Cosmetic Act, the

Exchange Act, FTC regulations, SEC regulations, the Anti-Kickback Statute, the FCA, PPACA,

other anti-bribery statutes, and consumer protection laws.

       501.    The Individual Defendants willfully or recklessly made and/or caused the

Company to make false and misleading statements of material fact that failed to disclose: (1) the




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Company and Individual Defendants’ engagement in the Nurse Coordination Scheme; (2) the

Company and Individual Defendants’ engagement in the Patient Information Scheme; (3) the

Company and Individual Defendants’ engagement in the Patient Advocacy Group Scheme;

(4) the Company and Individual Defendants’ engagement in the Fraudulent Lawsuit Scheme; (5)

the Adverse Material Facts Regarding Soliris Sales Methods; (6) that Defendants Hallal and

Sinha resigned from the Company not for “personal reasons” or “to pursue other opportunities”

but rather to attempt to escape liability for knowing misconduct that the Company had

discovered they engaged in and/or to avoid culpability for their part in the Fraudulent Sales Pitch

Misconduct and the Pull-in Sales Misconduct and the other schemes outlined herein; (7) that the

Company was not committed to complying with applicable law or Company policies,

procedures, and ethics; and (8) that Alexion was not maintaining effective internal controls and

disclosure controls and procedures.

       502.    Additionally, while the Individual Defendants caused the Company’s stock to be

artificially inflated, the Company overpaid for repurchases of its own common stock and certain

Individual Defendants benefitted themselves by engaging in insider sales.

       503.    In further breach of their fiduciary duties, the Individual Defendants failed to

maintain adequate internal controls.

                                  DAMAGES TO ALEXION

       504.    As a direct and proximate result of the Individual Defendants’ conduct, Alexion

will lose and expend many millions of dollars.

       505.    Such expenditures include, but are not limited to, legal fees associated with the

Securities Class Actions filed against the Company and certain of the Individual Defendants, the

investigations and eventual enforcement actions by the SEC, U.S. Attorney’s Office for the




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District of Massachusetts, the DOJ, the OIG, and Brazilian authorities, and amounts paid to

outside lawyers, accountants, and investigators in connection thereto.

       506.    Such costs include, but are not limited to, costs incurred in connection to fines and

settlement fees arising from breaches of applicable law relating to the Nurse Coordination

Scheme, Patient Information Scheme, Patient Advocacy Group Scheme, and the Fraudulent

Lawsuit Scheme.

       507.    Such losses include, but are not limited to, the hundreds of millions of dollars lost

due to over payment for repurchases of the Company’s own common stock.

       508.    Such losses include, but are not limited to, fees and penalties incurred as a result

of the Company’s being forced to move its headquarters to Boston.

       509.    Such losses include, but are not limited to, the compensation paid to Defendants

Hallal and Sinha, and other executive director defendants herein, who engaged in intentional and

knowing misconduct that damaged the Company and whose compensation would have been

subject to and recoverable under the Company’s clawback policy.

       510.    Additionally, these losses include, but are not limited to, all lavish compensation

and benefits paid to the Individual Defendants who breached their fiduciary duties to the

Company, including bonuses tied to the Company’s attainment of certain objectives, and benefits

paid to the Individual Defendants who breached their fiduciary duties to the Company.

       511.    As a direct and proximate result of the Individual Defendants’ conduct, Alexion

has also suffered and will continue to suffer a loss of reputation and goodwill, and a “liar’s

discount” that will plague the Company’s stock in the future due to the Company’s and their

misrepresentations and the Individual Defendants’ breaches of fiduciary duties and unjust

enrichment.




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                                 DERIVATIVE ALLEGATIONS

        512.    Plaintiff brings this action derivatively and for the benefit of Alexion to redress

injuries suffered, and to be suffered, as a result of the Individual Defendants’ breaches of their

fiduciary duties as directors and/or officers of Alexion, gross mismanagement, abuse of control,

waste of corporate assets, unjust enrichment, violations of Sections 10(b), 14(a) and 20(a) of the

Exchange Act and SEC Rules 10b-5 and 14a-9 promulgated thereunder, as well as the aiding and

abetting thereof.

        513.    Alexion is named solely as a nominal party in this action. This is not a collusive

action to confer jurisdiction on this Court that it would not otherwise have.

        514.    Plaintiff is, and has been since the Relevant Period began, a shareholder of

Alexion. Plaintiff will fairly and adequately represent the interests of Alexion in enforcing and

prosecuting its rights, and, to that end, has retained competent counsel, experienced in derivative

litigation, to enforce and prosecute this action.

                             DEMAND FUTILITY ALLEGATIONS

        515.    Plaintiff incorporates by reference and re-alleges each and every allegation stated

above as if fully set forth herein.

        516.    A pre-suit demand on the Board of Alexion is futile and, therefore, excused. At

the time of filing of this action, the Board consists of the following ten (10) individuals:

Defendants Hantson, Brennan, Parven, Veneman, Rummelt, Burns, Coughlin, Mollen, and Baker

(collectively, the “Director-Defendants”), and non-defendant Paul A. Friedman (“Friedman”)

(together with the Director-Defendants, the “Directors”). Plaintiff needs only to allege demand

futility as to five of the ten Directors who are on the Board at the time this action is commenced.




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       517.    Demand is excused as to all of the Director-Defendants because each one of them

faces, individually and collectively, a substantial likelihood of liability as a result of the schemes

they engaged in knowingly or recklessly to cause and/or allow the Company to engage in the

Fraudulent Sales Pitch Misconduct, Pull-in Sales Misconduct, Fraudulent Lawsuit Scheme,

Nurse Coordination Scheme, Patient Information Scheme, and Patient Advocacy Group Scheme,

and to make false and misleading statements and omissions of material facts, while they caused

the Company to repurchase its own stock at artificially inflated prices and two of the Director-

Defendants engaged in insider sales, which renders them unable to impartially investigate the

charges and decide whether to pursue action against themselves and the other perpetrators of the

schemes.

       518.    In complete abdication of their fiduciary duties, the Director-Defendants either

knowingly or recklessly participated in the conduct alleged herein. The fraudulent schemes were

intended to make the Company appear more stable, profitable, and attractive to investors. While

investors were duped into believing the fraud perpetrated by the Individual Defendants and

before the fraud was exposed, the Company repurchased its own stock for hundreds of millions

of dollars and ten of the Individual Defendants collectively sold $356.3 million worth of

Company stock at artificially inflated prices based on material inside information. As a result of

the foregoing, the Director-Defendants breached their fiduciary duties, face a substantial

likelihood of liability, are not disinterested, and demand upon them is futile, and thus excused.

       519.    Additional reasons that demand on Defendant Hantson is futile follow. Defendant

Hantson is the Company’s CEO and has served as a Company director since March 27, 2017,

and is thus, as the Company admits in the 2017 Proxy Statement, not independent. Moreover,

Defendant Hantson is a named defendant in the Securities Class Action and faces a substantial




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likelihood of liability therein. While the truth had begun to leak out before Defendant Hantson

took control of the Company, he contributed to the Company’s false and misleading statements,

and is arguably even more culpable than most for his misconduct because he was on notice that

the Company was under fire for its misconduct yet still issued false and misleading statements.

For instance, Defendant Hantson approved the 2017 Proxy Statement, which contained

information regarding the signing of separation agreements with Defendants Hallal and Sinha.

Defendant Hantson should have taken this opportunity to place proper blame on Defendants

Hallal and Sinha for attempting to escape liability through their abandonment. Indeed, he could

have and should have corrected the Company’s false statements regarding the reasons for

Defendant Hallal’s and Defendant Sinha’s departures, yet he utterly and inexplicably failed to do

so. The most natural inference is that Defendant Hantson was covering for Defendant Hallal and

Sinha, who so clearly engaged in intentional and knowing misconduct as alleged herein. Neither

did Defendant Hantson take the opportunity in the 1Q 2017 Press Release and related conference

call or any other subsequent Company filing to disclose: (1) the Adverse Material Facts

Regarding Soliris Sales Methods; (2) the Company and Individual Defendants’ engagement in

the Fraudulent Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the

Nurse Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the

Patient Information Scheme; and (5) the Company and Individual Defendants’ engagement in the

Patient Advocacy Group Scheme. Instead, Defendant Hantson participated in an April 27, 2017

conference call and discussed the Company’s sales and operations in Brazil and said nothing of

the Company’s aforementioned schemes. Thus, he either actively concealed the details of these

schemes or at the very best conducted little, if any, oversight of the Company’s engagement in

such schemes, and the scheme to make false and misleading statements and/or omissions of




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material fact, consciously disregarded his duties to monitor engagement in the schemes, and

consciously disregarded his duties to protect corporate assets. His lack of oversight of the

schemes to make false and misleading statements and/or omissions of material fact is evident in

the fact that he signed the Company’s quarterly filing for the second quarter of 2017 filed with

the SEC on July 27, 2017, which contained the same false and misleading statements of material

fact that the previous quarterly reports contained, even though the filers had the advantage of

knowing about the May 8, 2017 raid of the Company’s Brazilian offices in Operation Serpent’s

Chalice. Thus, for these reasons, too, Defendant Hantson breached his fiduciary duties, faces a

substantial likelihood of liability, is not independent or disinterested, and thus demand upon him

is futile and, therefore, excused.

       520.    Additional reasons that demand on Defendant Brennan is futile follow.

Defendant Brennan served as Alexion’s interim CEO from December 11, 2016 to March 27,

2017 and has served as a Company director since 2014. He was appointed Chairman of the

Board on May 10, 2017. Defendant Brennan is a named defendant in the Securities Class Action

and faces a substantial likelihood of liability therein.     Defendant Brennan received lavish

compensation, including $320,082 in 2015 and over half-a-million dollars from the Company as

compensation for his short service as interim CEO. A day after Defendant Brennan took over as

CEO, the Company issued the 12/12/16 Press Release, which contained some of the most

obvious and egregious lies, including ones relating to the reasons for Defendants Hallal’s and

Sinha’s departure. Moreover, Defendant Brennan botched the long-awaited filing of the 3Q

2016 10-Q, which he signed and attested to its contents, by failing to fully disclose the truth even

though he was well aware of it due to the Audit Committee’s completed investigation. As fully

described herein, immediately after the filing of the 3Q 2016 10-Q, analysts expressed frustration




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with Alexion’s lack of transparency. The 3Q 2016 10-Q failed to disclose the Company and

Individual Defendants’ engagement in, or any details regarding, the Fraudulent Lawsuit Scheme,

Nurse Coordination Scheme, Patient Information Scheme, Patient Advocacy Group Scheme and

further failed to disclose the real reasons for the abrupt departures of the Company’s CEO and

CFO. It was only a matter of months before the door was blown right open, literally with the

May 8, 2017 raid on Alexion’s Brazil offices, and figuratively with the Bloomberg Exposé.

Thus, he either actively concealed the details of these schemes or at the very best conducted

little, if any, oversight of the Company’s engagement in such schemes, and the scheme to make

false and misleading statements and/or omissions of material fact, consciously disregarded his

duties to monitor engagement in the schemes, and consciously disregarded his duties to protect

corporate assets. His lack of oversight of the scheme to make false and misleading statements

and/or omissions of material fact is evident in the fact that he signed the 3Q 2016 10-Q. He also

conducted little, if any, oversight of the artificial inflation of the Company’s stock price which

resulted in the Company over paying approximately $409.2 million during the Relevant Period

for repurchases of its own common stock. His large Company stock holding, worth nearly $1

million before the fraud was exposed, reveals his interest in keeping the Company’s stock price

as high as possible. Thus, for these reasons, too, Defendant Brennan breached his fiduciary

duties, faces a substantial likelihood of liability, is not independent or disinterested, and thus

demand upon him is futile and, therefore, excused.

       521.    Additional reasons that demand on Defendant Parven is futile follow. Defendant

Parven has been a Company director since 1999. As an initial matter, Defendant Parven has no

incentive to grant any demand because he has already informed the Board that he will not stand

for re-election at Alexion’s 2018 annual meeting of shareholders. During the Relevant Period,




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Defendant Parven served as a member of the Company’s Audit and Finance Committee,

Leadership and Compensation Committee, and Nominating and Corporate Governance

Committee. Thus, he had a hand in all of the Board’s business. As a member of the Audit

Committee, and pursuant to the Audit and Finance Committee Charter, Defendant Parven was

responsible for reviewing the Company’s press releases and SEC filings, and for oversight of the

Company’s financial statements, accounting, and financial reporting processes.           Instead,

Defendant Parven conducted little, if any, oversight of the Company’s engagement in the

schemes described herein, and the scheme to make false and misleading statements and/or

omissions of material fact, consciously disregarded his duties to monitor engagement in the

schemes, and consciously disregarded his duties to protect corporate assets.        His lack of

oversight of the scheme to make false and misleading statements and/or omissions of material

fact is evident in the fact that he signed the 2014-2016 10-Ks. He also conducted little, if any,

oversight of the artificial inflation of the Company’s stock price which resulted in the Company

over paying approximately $409.2 million during the Relevant Period for repurchases of its own

common stock. His large Company stock holding, worth nearly $8 million before the fraud was

exposed, reveals his interest in keeping the Company’s stock price as high as possible.

Defendant Parven’s insider sales before the fraud was exposed, which yielded over $8.6 million

in proceeds, demonstrate his motive in facilitating and participating in the fraud. Further, as a

member of the Leadership and Compensation Committee, Defendant Parven was responsible for

the Company’s failure to properly claw-back the compensation of executive officers who

knowingly and intentionally engaged in misconduct, hurt the Company, and then abandoned the

Company, such as Defendants Hallal and Sinha. Thus, for these reasons, too, Defendant Parven




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breached his fiduciary duties, faces a substantial likelihood of liability, is not independent or

disinterested, and thus demand upon him is futile and, therefore, excused.

       522.    Additional reasons that demand on Defendant Veneman is futile follow.

Defendant Veneman has been a Company director since 2010. During the Relevant Period,

Defendant Veneman served as Chair of the Nominating and Corporate Governance, and a

member of the Pharmaceutical Compliance and Quality Committee and Strategy and Risk

Committee. Thus, she had a hand in much of the Board’s business. As a member of the Strategy

and Risk Committee, pursuant to its charter, Defendant Veneman was responsible for overseeing

the Company’s risk management processes. In this, Defendant Veneman utterly failed. The

Company had been misrepresenting that its internal controls were effective even though they

were not effective as of December 31, 2015, March 31, 2016 and June 30, 2016. Indeed, the

Company’s internal controls suffered from a material weakness. This is in addition to the

Company’s and Individual Defendants’ engagement in all the schemes described herein,

including the Fraudulent Sales Pitch Misconduct, Pull-in Sales Misconduct, Fraudulent Lawsuit

Scheme, Nurse Coordination Scheme, Patient Information Scheme, and Patient Advocacy Group

Scheme. Defendant Veneman, as a member of the Strategy and Risk Committee signed multiple

SEC filings that falsely attested to adequate internal and risk controls. In reality, Defendant

Veneman conducted little, if any, oversight of the Company’s engagement in the schemes

described herein, and the scheme to make false and misleading statements and/or omissions of

material fact, consciously disregarded her duties to monitor engagement in the schemes, and

consciously disregarded her duties to protect corporate assets. Her lack of oversight of the

scheme to make false and misleading statements and/or omissions of material fact is evident in

the fact that she signed the 2014-2016 10-Ks. She also conducted little, if any, oversight of the




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artificial inflation of the Company’s stock price which resulted in the Company over paying

approximately $409.2 million during the Relevant Period for repurchases of its own common

stock. Her large Company stock holding, worth over $5.4 million before the fraud was exposed,

reveals her interest in keeping the Company’s stock price as high as possible. Defendant

Veneman’s insider sales before the fraud was exposed, which yielded over $1.5 million in

proceeds, demonstrate her motive in facilitating and participating in the fraud. Thus, for these

reasons, too, Defendant Veneman breached her fiduciary duties, faces a substantial likelihood of

liability, is not independent or disinterested, and thus demand upon her is futile and, therefore,

excused.

       523.    Additional reasons that demand on Defendant Rummelt is futile follow.

Defendant Rummelt has been a Company director since 2010. During the Relevant Period,

Defendant Rummelt served as Chair of the Quality Compliance Committee, and a member of the

Science and Innovation Committee and Strategy and Risk Committee. Thus, he had a hand in

much of the Board’s business. As a member of the Strategy and Risk Committee, pursuant to its

charter, Defendant Rummelt was responsible for overseeing the Company’s risk management

processes. In this, Defendant Rummelt utterly failed. The Company had been misrepresenting

that its internal controls were effective even though they were not effective as of December 31,

2015, March 31, 2016 and June 30, 2016. Indeed, the Company’s internal controls suffered

from a material weakness. This is in addition to the Company’s and Individual Defendants’

engagement in all the schemes described herein, including the Fraudulent Sales Pitch

Misconduct, Pull-in Sales Misconduct, Fraudulent Lawsuit Scheme, Nurse Coordination

Scheme, Patient Information Scheme, and Patient Advocacy Group Scheme.                 Defendant

Rummelt, as a member of the Strategy and Risk Committee signed multiple SEC filings that




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falsely attested to adequate internal and risk controls. In reality, Defendant Rummelt conducted

little, if any, oversight of the Company’s engagement in the schemes described herein, and the

scheme to make false and misleading statements and/or omissions of material fact, consciously

disregarded his duties to monitor engagement in the schemes, and consciously disregarded his

duties to protect corporate assets. His lack of oversight of the scheme to make false and

misleading statements and/or omissions of material fact is evident in the fact that he signed the

2014-2016 10-Ks. He also conducted little, if any, oversight of the artificial inflation of the

Company’s stock price which resulted in the Company over paying approximately $409.2

million during the Relevant Period for repurchases of its own common stock.            His large

Company stock holding, worth over $4.3 million before the fraud was exposed, reveals his

interest in keeping the Company’s stock price as high as possible. Thus, for these reasons, too,

Defendant Rummelt breached his fiduciary duties, faces a substantial likelihood of liability, is

not independent or disinterested, and thus demand upon him is futile and, therefore, excused.

       524.    Additional reasons that demand on Defendant Burns is futile follow. Defendant

Burns has been a Company director since 2014. During the Relevant Period, Defendant Burns

served as Chair of the Strategy and Risk Committee and as a member of the Leadership and

Compensation Committee, and Nominating and Corporate Governance Committee. Thus, she

had a hand in much of the Board’s business. As Chair of the Strategy and Risk Committee,

pursuant to its charter, Defendant Burns assumed the highest responsibility for overseeing the

Company’s risk management processes. In this, Defendant Burns utterly failed. The Company

had been misrepresenting that its internal controls were effective even though they were not

effective as of December 31, 2015, March 31, 2016 and June 30, 2016. Indeed, the Company’s

internal controls suffered from a material weakness. This is in addition to the Company’s and




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Individual Defendants’ engagement in all the schemes described herein, including the Fraudulent

Sales Pitch Misconduct, Pull-in Sales Misconduct, Fraudulent Lawsuit Scheme, Nurse

Coordination Scheme, Patient Information Scheme, and Patient Advocacy Group Scheme.

Defendant Burns, as Chair of the Strategy and Risk Committee signed multiple SEC filings that

falsely attested to adequate internal and risk controls. In reality, Defendant Burns conducted

little, if any, oversight of the Company’s engagement in the schemes described herein, and the

scheme to make false and misleading statements and/or omissions of material fact, consciously

disregarded her duties to monitor engagement in the schemes, and consciously disregarded her

duties to protect corporate assets.      This is not surprising given that Defendant Burns

simultaneously serves on the Board of five public companies, which is simply begging for a lack

of oversight. Her lack of oversight of the scheme to make false and misleading statements

and/or omissions of material fact is evident in the fact that she signed the 2014-2016 10-Ks.

Defendant Burns also conducted little, if any, oversight of the artificial inflation of the

Company’s stock price which resulted in the Company over paying approximately $409.2

million during the Relevant Period for repurchases of its own common stock. Further, as a

member of the Leadership and Compensation Committee, Defendant Burns was responsible for

the Company’s failure to properly claw-back the compensation of executive officers who

knowingly and intentionally engaged in misconduct, hurt the Company, and then abandoned the

Company, such as Defendants Hallal and Sinha. Thus, for these reasons, too, Defendant Burns

breached her fiduciary duties, faces a substantial likelihood of liability, is not independent or

disinterested, and thus demand upon her is futile and, therefore, excused.

       525.    Additional reasons that demand on Defendant Coughlin is futile follow.

Defendant Coughlin has been a Company director since 2014. During the Relevant Period, he




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served as Chair of the Audit and Finance Committee and a member of the Nominating and

Corporate Governance Committee and Quality Compliance Committee. As Chair of the Audit

and Finance Committee, and pursuant to the Audit and Finance Committee Charter, Defendant

Coughlin was chiefly responsible for reviewing the Company’s press releases and SEC filings,

and for oversight of the Company’s financial statements, accounting, and financial reporting

processes. Instead, Defendant Coughlin conducted little, if any, oversight of the Company’s

engagement in the schemes described herein, and the scheme to make false and misleading

statements and/or omissions of material fact, consciously disregarded his duties to monitor

engagement in the schemes, and consciously disregarded his duties to protect corporate assets.

His lack of oversight of the scheme to make false and misleading statements and/or omissions of

material fact is evident in the fact that he signed the 2014-2016 10-Ks. He also conducted little,

if any, oversight of the artificial inflation of the Company’s stock price which resulted in the

Company over paying approximately $409.2 million during the Relevant Period for repurchases

of its own common stock. Thus, for these reasons, too, Defendant Coughlin breached his

fiduciary duties, faces a substantial likelihood of liability, is not independent or disinterested, and

thus demand upon him is futile and, therefore, excused.

       526.    Additional reasons that demand on Defendant Mollen is futile follow. Defendant

Mollen has been a Company director since 2014. During the Relevant Period, he served as Chair

of the Leadership and Compensation Committee and a member of the Audit and Finance

Committee and Nominating and Corporate Governance Committee. Accordingly, Defendant

Mollen had some of the most important responsibilities on the Board.                Nevertheless, he

underperformed in all aspects. As a member of the Audit Committee, and pursuant to the Audit

and Finance Committee Charter, Defendant Mollen was responsible for reviewing the




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Company’s press releases and SEC filings, and for oversight of the Company’s financial

statements, accounting, and financial reporting processes. Instead, Defendant Mollen conducted

little, if any, oversight of the Company’s engagement in the schemes described herein, and the

scheme to make false and misleading statements and/or omissions of material fact, consciously

disregarded his duties to monitor engagement in the schemes, and consciously disregarded his

duties to protect corporate assets. His lack of oversight of the scheme to make false and

misleading statements and/or omissions of material fact is evident in the fact that he signed the

2014-2016 10-Ks. He also conducted little, if any, oversight of the artificial inflation of the

Company’s stock price which resulted in the Company over paying approximately $409.2

million during the Relevant Period for repurchases of its own common stock.                 His large

Company stock holding, worth over $515,000 before the fraud was exposed, reveals his interest

in keeping the Company’s stock price as high as possible. Further, as Chair of the Leadership

and Compensation Committee, Defendant Mollen was chiefly responsible for the Company’s

failure to properly claw-back the compensation of executive officers who knowingly and

intentionally engaged in misconduct, hurt the Company, and then abandoned the Company, such

as Defendants Hallal and Sinha. Thus, for these reasons, too, Defendant Mollen breached his

fiduciary duties, faces a substantial likelihood of liability, is not independent or disinterested, and

thus demand upon him is futile and, therefore, excused.

       527.    Additional reasons that demand on Defendant Baker is futile follow. Defendant

Baker has been a Company director since 2015. During the Relevant Period, he served as Chair

of the Science and Innovation Committee and as a member of the Quality Compliance

Committee and Strategy and Risk Committee.              As a member of the Strategy and Risk

Committee, pursuant to its charter, Defendant Baker was responsible for overseeing the




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Company’s risk management processes. In this, Defendant Baker utterly failed. The Company

had been misrepresenting that its internal controls were effective even though they were not

effective as of December 31, 2015, March 31, 2016 and June 30, 2016. Indeed, the Company’s

internal controls suffered from a material weakness. This is in addition to the Company’s and

Individual Defendants’ engagement in all the schemes described herein, including the Fraudulent

Sales Pitch Misconduct, Pull-in Sales Misconduct, Fraudulent Lawsuit Scheme, Nurse

Coordination Scheme, Patient Information Scheme, and Patient Advocacy Group Scheme.

Defendant Baker, as a member of the Strategy and Risk Committee signed multiple SEC filings

that falsely attested to adequate internal and risk controls. In reality, Defendant Baker conducted

little, if any, oversight of the Company’s engagement in the schemes described herein, and the

scheme to make false and misleading statements and/or omissions of material fact, consciously

disregarded his duties to monitor engagement in the schemes, and consciously disregarded his

duties to protect corporate assets. His lack of oversight of the scheme to make false and

misleading statements and/or omissions of material fact is evident in the fact that he signed the

2015-2016 10-Ks. He also conducted little, if any, oversight of the artificial inflation of the

Company’s stock price which resulted in the Company over paying approximately $409.2

million during the Relevant Period for repurchases of its own common stock.             Of all the

Directors, Defendant Baker beneficially owned by far the largest amount of Company stock,

worth over $901 million before the fraud was exposed and representing 2.98% of all outstanding

Company common stock, which glaringly reveals his interest in keeping the Company’s stock

price as high as possible. Defendant Baker has an unparalleled interest in that regard. Thus, for

these reasons, too, Defendant Baker breached his fiduciary duties, faces a substantial likelihood




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of liability, is not independent or disinterested, and thus demand upon him is futile and,

therefore, excused.

        528.    Reasons that demand on non-defendant Friedman is futile follow. Friedman is an

unelected director on the Board who was appointed to the Board on September 14, 2017 by the

same corrupt, non-independent, and interested Directors discussed herein. Thus, Friedman is

considered fruit from the poisonous tree and cannot be trusted to impartially consider a demand

on the Board to bring an action against the Individual Defendants, many of whom appointed him

to his current position on the Board.

        529.    Additional reasons why demand on the Board is futile, follow.

        530.    The Individual Defendants face a substantial likelihood of liability for the

Company’s repurchases of its own stock during the Relevant Period which resulted in a total

over payment by the Company of approximately $409.2 million. The repurchases were made

while the Company’s stock price was artificially inflated due to the false and misleading

statements alleged herein.        Thus, any demand on the Director-Defendants, particularly

Defendants Parven and Veneman, who engaged in insider sales and benefitted especially from

the artificial inflation, would be futile.

        531.    Demand in this case is excused because the Directors, who are named as

defendants in this action, control the Company and are beholden to each other. The Directors

have longstanding business and personal relationships with each other and the Individual

Defendants that preclude them from acting independently and in the best interests of the

Company and the shareholders.           These conflicts of interest precluded the Directors from

adequately monitoring the Company’s operations and internal controls and calling into question




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the Individual Defendants’ conduct. Thus, any demand on the Directors would be futile, and is

therefore excused.

       532.    Demand is also futile, and therefore excused, because the Directors failed to take

legal action against Defendants Hallal and Sinha, who were significant contributors to the

wrongdoing alleged herein and signed almost all of the SEC filings referenced herein.

Defendants Hallal and Sinha left the Company without disclosing the truth behind their

respective roles in the wrongdoing, and the Directors failed to claw-back the compensation

already paid to Defendants Hallal and Sinha. Instead, the Company facilitated the dissemination

of lies regarding their departure, representing that Defendant Hallal left for “personal reasons”

and Defendant Sinha left “to pursue other opportunities.”

       533.    Moreover, demand in this case is excused because the Director-Defendants

violated the Code of Ethics.      In violation of the Code of Ethics, the Director-Defendants

conducted little, if any, oversight of the Company’s internal controls over public reporting and of

the Company’s engagement in the schemes alleged herein, including the schemes to issue

materially false and misleading statements to the public, engage in the Fraudulent Sales Pitch

Misconduct, Pull-in Sales Misconduct, Fraudulent Lawsuit Scheme, Nurse Coordination

Scheme, Patient Information Scheme, and Patient Advocacy Group Scheme, and facilitate and

disguise the Individual Defendants’ violations of law, including breaches of fiduciary duty,

insider transactions, waste of corporate assets, unjust enrichment, abuse of control, gross

mismanagement, and violations of Sections 10(b), 14(a) and 20(a) of the Exchange Act and SEC

Rules 10b-5 and 14a-9 promulgated thereunder. In violation of the Code of Ethics, the Director-

Defendants consciously disregarded their duties of loyalty, ethics, and to act in the best interests

of the Company.




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       534.    Alexion has been and will continue to be exposed to significant losses due to the

wrongdoing complained of herein, yet the Directors have not filed any lawsuits against

themselves or others who were responsible for that wrongful conduct to attempt to recover for

Alexion any part of the damages Alexion suffered and will continue to suffer thereby. Thus, any

demand on the Directors would be futile.

       535.    The Individual Defendants’ conduct described herein and summarized above

could not have been the product of legitimate business judgment as it was based on bad faith and

intentional, reckless, or disloyal misconduct. Thus, none of the Directors can claim exculpation

from their violations of duty pursuant to the Company’s charter (to the extent such a provision

exists). As a majority of the Directors face a substantial likelihood of liability, they are self-

interested in the transactions challenged herein and cannot be presumed to be capable of

exercising independent and disinterested judgment about whether to pursue this action on behalf

of the shareholders of the Company. Accordingly, demand is excused as being futile.

       536.    The acts complained of herein constitute violations of fiduciary duties owed by

Alexion’s officers and directors, and these acts are incapable of ratification.

       537.    The Directors may also be protected against personal liability for their acts of

mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’ liability

insurance if they caused the Company to purchase it for their protection with corporate funds,

i.e., monies belonging to the stockholders of Alexion. If there is a directors’ and officers’

liability insurance policy covering the Directors, it may contain provisions that eliminate

coverage for any action brought directly by the Company against the Directors, known as, inter

alia, the “insured-versus-insured exclusion.” As a result, if the Directors were to sue themselves

or certain of the officers of Alexion, there would be no directors’ and officers’ insurance




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protection. Accordingly, the Directors cannot be expected to bring such a suit. On the other

hand, if the suit is brought derivatively, as this action is brought, such insurance coverage, if such

an insurance policy exists, will provide a basis for the Company to effectuate a recovery. Thus,

demand on the Directors is futile and, therefore, excused.

       538.     If there is no directors’ and officers’ liability insurance, then the Directors will not

cause Alexion to sue the Individual Defendants named herein, since, if they did, they would face

a large uninsured individual liability. Accordingly, demand is futile in that event as well.

       539.     Thus, for all of the reasons set forth above, all of the Directors, and, if not all of

them, at least five of the Directors, cannot consider a demand with disinterestedness and

independence. Consequently, demand upon the Board is excused as futile.

                                           FIRST CLAIM

                        Against Individual Defendants for Violations of
              Section 10(b) and Rule 10b-5 of the Securities Exchange Act of 1934

       540.     Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

       541.     The Individual Defendants participated in a scheme to defraud with the purpose

and effect of defrauding Alexion. Not only is Alexion now defending claims that it violated

Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder, but the Company

itself is also one of the largest victims of the unlawful scheme perpetrated upon Alexion by the

Individual Defendants. With the price of its common stock trading at artificially-inflated prices

due to the Individual Defendants’ misconduct, the Individual Defendants caused the Company to

repurchase hundreds of millions of dollars of its own shares on the open market at artificially-

inflated prices, damaging Alexion by hundreds of millions of dollars.




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       542.    During the Relevant Period, the Individual Defendants also individually and in

concert, directly and indirectly, by the use and means of instrumentalities of interstate commerce

and/or of the mails, engaged and participated in a continuous course of conduct designed to

falsify the Company’s press releases, public statements made in conference calls, and periodic

and current reports filed with the SEC.

       543.    The Individual Defendants employed devices, schemes and artifices to defraud

while in possession of adverse, material, non-public information and engaged in acts, practices

and a course of conduct that included the making of, or participation in the making of, untrue

and/or misleading statements of material facts and/or omitting to state material facts necessary in

order to make the statements made about Alexion not misleading.

       544.    The Individual Defendants, as top executives and directors of the Company, are

liable as direct participants in the wrongs complained of herein. Through their positions of

control and authority as directors and officers of the Company, the Individual Defendants were

able to and did control the conduct complained of herein and the content of the public statements

disseminated by Alexion.

       545.    The Individual Defendants acted with scienter during the Relevant Period, in that

they either had actual knowledge of the schemes and the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose the true facts, even though such facts were available to them. The

Individual Defendants were the top executives of the Company, or received direct briefings from

them, and were therefore directly responsible for the schemes set forth herein and for the false

and misleading statements and/or omissions disseminated to the public through press releases,

conference calls, and filings with the SEC. Indeed, the Company was on notice, at the very latest




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as of August 2014 that its disclosures were inadequate, especially with regard to its dealings with

foreign governments and disclosures regarding net product sales, as explained herein.

       546.    In addition to each of the Individual Defendants approving the issuance of the

Company’s false and misleading statements while they were serving as a senior executive and/or

director of the Company, as members of the Board, each of the Individual Defendants then

serving as a director would have signed the Company’s false and misleading Form 10-K’s filed

with the SEC during the Relevant Period, including all of the Individual Defendants who were

officers and/or directors at the relevant time, who signed at least one of the 2014-2016 10-Ks.

       547.    By virtue of the foregoing, the Individual Defendants have violated Section 10(b)

of the Exchange Act, and Rule 10b-5 promulgated thereunder.

       548.    Plaintiff on behalf of Alexion has no adequate remedy at law.

                                        SECOND CLAIM

              Against the Individual Defendants for Violations of Section 20(a)
                           of the Securities Exchange Act of 1934

       549.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

       550.    The Individual Defendants, by virtue of their positions with Alexion and their

specific acts, were, at the time of the wrongs alleged herein, controlling persons of Alexion

within the meaning of Section 20(a) of the Exchange Act. The Individual Defendants had the

power and influence and exercised the same to cause Alexion to engage in the illegal conduct

and practices complained of herein.




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                                          THIRD CLAIM

                        Against Individual Defendants for Violations of
                        Section 14(a) of the Securities Exchange Act of 1934

       551.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

       552.    Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t shall

be unlawful for any person, by use of the mails or by any means or instrumentality of interstate

commerce or of any facility of a national securities exchange or otherwise, in contravention of

such rules and regulations as the [SEC] may prescribe as necessary or appropriate in the public

interest or for the protection of investors, to solicit or to permit the use of his name to solicit any

proxy or consent or authorization in respect of any security (other than an exempted security)

registered pursuant to section 12 of this title [15 U.S.C. § 78l].”

       553.    Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that

no proxy statement shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or

which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. § 240.14a-9.

       554.    Under the direction and watch of the Directors, the 2014 Proxy Statement, 2015

Proxy Statement, and 2016 Proxy Statement failed to disclose: (1) the Adverse Material Facts

Regarding Soliris Sales Methods, (2) the Company and Individual Defendants’ engagement in

the Fraudulent Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the

Nurse Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the



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Patient Information Scheme; (5) the Company and Individual Defendants’ engagement in the

Patient Advocacy Group Scheme; (6) the real reasons for the abrupt departures of the Company’s

CEO and CFO; and (7) that Alexion was not maintaining effective internal controls or disclosure

controls and procedures, and in fact had a material weakness in such controls. Moreover, the

2014 Proxy Statement falsely assured investors of Defendant Hallal’s positive performance,

competency and commitment to the Company.            Additionally, the 2015 Proxy Statement’s

representation regarding the Individual Defendants’ compliance with the Company’s Code of

Ethics was false because at the time the statement was made, senior management was not only

failing to comply with the Code of Ethics, but encouraging others to violate the Code of Ethics.

       555.    Finally, the statements contained in the Company’s 2017 Proxy Statement were

materially false and misleading because they failed to disclose that Defendants Hallal and Sinha

were key instigators and conspirators of the Fraudulent Sales Pitch Misconduct, the Pull-in Sales

Misconduct, the Fraudulent Lawsuit Scheme, the Nurse Coordination Scheme, the Patient

Information Scheme, and the Patient Advocacy Group Scheme, and further failed to disclose the

real reasons for the abrupt departures of the Company’s CEO and CFO.

       556.    In the exercise of reasonable care, the Individual Defendants should have known

that by misrepresenting or failing to disclose the foregoing material facts, the statements

contained in the 2014-2017 Proxy Statements were materially false and misleading.             The

misrepresentations and omissions were material to Plaintiff in voting on the matters set forth for

shareholder determination in each of the 2014-2017 Proxy Statements, including but not limited

to, election of directors, approval of officer compensation, and appointment of an independent

auditor.




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       557.    The Company was damaged as a result of the Individual Defendants’ material

misrepresentations and omissions in each of the 2014-2017 Proxy Statements.

                                        FOURTH CLAIM

              Against the Individual Defendants for Breach of Fiduciary Duties

       558.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

       559.    Each Individual Defendant owed to the Company the duty to exercise candor,

good faith, and loyalty in the management and administration of Alexion’s business and affairs.

       560.    Each of the Individual Defendants violated and breached his or her fiduciary

duties of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.

       561.    The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breach of the fiduciary duties they owed to the Company, as alleged herein. The

Individual Defendants intentionally or recklessly breached or disregarded their fiduciary duties

to protect the rights and interests of Alexion.

       562.    In breach of their fiduciary duties, the Individual Defendants failed to maintain an

adequate system of oversight, disclosure controls and procedures, and internal controls over

financial reporting.

       563.    In breach of their fiduciary duties, the Individual Defendants willfully or

recklessly caused the Company to engage in the Fraudulent Sales Pitch Misconduct, the Pull-in

Sales Misconduct, the Fraudulent Lawsuit Scheme, the Nurse Coordination Scheme, the Patient

Information Scheme, and the Patient Advocacy Group Scheme.

       564.    In further breach of their fiduciary duties, the Individual Defendants willfully or

recklessly caused the Company to violate federal and state laws and regulations, including but




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not limited to, FCPA, HIPAA, the Food, Drug, and Cosmetic Act, the Exchange Act, FTC

regulations, SEC regulations, the Anti-Kickback Statute, the FCA, PPACA, other anti-bribery

statutes, and consumer protection laws, as well as internal Company policies and procedures by

engaging in the aforementioned schemes and creating a material weakness in the Company’s

internal controls.

       565.    In further breach of their fiduciary duties owed to Alexion, the Individual

Defendants willfully or recklessly caused the Company to: (1) allow Defendants Hallal and

Sinha to escape liability for their intentional or reckless misconduct, and, going even further,

(2) overcompensate them in light of their wrongdoing and fail to recoup their compensation

pursuant to the Company’s executive compensation recoupment policy, or “clawback” policy.

       566.    In further breach of their fiduciary duties owed to Alexion, the Individual

Defendants willfully or recklessly caused the Company to make false and misleading statements

and omissions of material fact. Specifically, the Individual Defendants willfully or recklessly

made and/or caused the Company to make false and/or misleading statements and/or omissions

of material fact that failed to disclose, inter alia: (1) the Adverse Material Facts Regarding

Soliris Sales Methods, (2) the Company and Individual Defendants’ engagement in the

Fraudulent Lawsuit Scheme; (3) the Company and Individual Defendants’ engagement in the

Nurse Coordination Scheme; (4) the Company and Individual Defendants’ engagement in the

Patient Information Scheme; (5) the Company and Individual Defendants’ engagement in the

Patient Advocacy Group Scheme; (6) the real reasons for the abrupt departures of the Company’s

CEO and CFO; and (7) that Alexion was not maintaining effective internal controls or disclosure

controls and procedures, and in fact had a material weakness in such controls. As a result of the

foregoing, the Company’s public statements referenced herein were materially false and




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misleading at the times that they were made. The Individual Defendants failed to correct and/or

caused the Company to fail to rectify any of the wrongs described herein or correct the false and

misleading statements and omissions of material fact referenced herein, rendering them

personally liable to the Company for breaching their fiduciary duties.

       567.    The Individual Defendants had actual knowledge of the misrepresentations and

omissions of material facts set forth herein, or acted with reckless disregard for the truth, in that

they failed to ascertain and to disclose such facts, even though such facts were available to them.

Such material misrepresentations and omissions were committed knowingly or recklessly and for

the purpose and effect of artificially inflating the price of Alexion’s securities and disguising

insider transactions. Such material misrepresentations and omissions also led to the Company

over paying for repurchases of its own stock by approximately $409.2 million.

       568.    The Individual Defendants had actual or constructive knowledge that they had

caused the Company to improperly engage in the fraudulent schemes set forth herein and to fail

to maintain adequate internal controls. The Individual Defendants had actual knowledge that the

Company was engaging in the fraudulent schemes set forth herein, and that internal controls

were not adequately maintained, or acted with reckless disregard for the truth, in that they caused

the Company to improperly engage in the fraudulent schemes and to fail to maintain adequate

internal controls, even though such facts were available to them. Such improper conduct was

committed knowingly or recklessly and for the purpose and effect of artificially inflating the

price of Alexion’s securities and engaging in insider transactions.

       569.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.




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       570.    As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, Alexion has sustained and continues to sustain significant damages. As a

result of the misconduct alleged herein, the Individual Defendants are liable to the Company.

       571.    Plaintiff on behalf of Alexion has no adequate remedy at law.

                                          FIFTH CLAIM

                      Against Individual Defendants for Unjust Enrichment

       572.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

       573.    By their wrongful acts, violations of law, and false and misleading statements and

omissions of material fact that they made and/or caused to be made, the Individual Defendants

were unjustly enriched at the expense of, and to the detriment of, Alexion.

       574.    The Individual Defendants either benefitted financially from the improper

conduct and their engaging in lucrative insider transactions and received unjustly lucrative

bonuses tied to the false and misleading statements, or received bonuses, stock options, or

similar compensation from Alexion that was tied to the performance or artificially inflated

valuation of Alexion, or received compensation that was unjust in light of the Individual

Defendants’ bad faith conduct.

       575.    Plaintiff, as a shareholder and a representative of Alexion, seeks restitution from

the Individual Defendants and seeks an order from this Court disgorging all profits, including

from insider transactions, benefits, and other compensation—including any performance-based

or valuation-based compensation—obtained by the Individual Defendants due to their wrongful

conduct and breach of their fiduciary and contractual duties.

       576.    Plaintiff on behalf of Alexion has no adequate remedy at law.




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                                         SIXTH CLAIM

                     Against Individual Defendants for Abuse of Control

       577.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

       578.    The Individual Defendants’ misconduct alleged herein constituted an abuse of

their ability to control and influence Alexion, for which they are legally responsible.

       579.    As a direct and proximate result of the Individual Defendants’ abuse of control,

Alexion has sustained significant damages. As a direct and proximate result of the Individual

Defendants’ breaches of their fiduciary obligations of candor, good faith, and loyalty, Alexion

has sustained and continues to sustain significant damages. As a result of the misconduct alleged

herein, the Individual Defendants are liable to the Company.

       580.    Plaintiff on behalf of Alexion has no adequate remedy at law.

                                       SEVENTH CLAIM

                  Against Individual Defendants for Gross Mismanagement

       581.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

       582.    By their actions alleged herein, the Individual Defendants, either directly or

through aiding and abetting, abandoned and abdicated their responsibilities and fiduciary duties

with regard to prudently managing the assets and business of Alexion in a manner consistent

with the operations of a publicly-held corporation.

       583.    As a direct and proximate result of the Individual Defendants’ gross

mismanagement and breaches of duty alleged herein, Alexion has sustained and will continue to

sustain significant damages.




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         584.   As a result of the misconduct and breaches of duty alleged herein, the Individual

Defendants are liable to the Company.

         585.   Plaintiff, on behalf of Alexion, has no adequate remedy at law.

                                         EIGHTH CLAIM

                 Against Individual Defendants for Waste of Corporate Assets

         586.   Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

         587.   As a result of the foregoing, and by failing to properly consider the interests of the

Company and its public shareholders, the Individual Defendants have caused Alexion to waste

valuable corporate assets, to incur many millions of dollars of legal liability and/or costs, to

defend unlawful actions, to engage in internal investigations and respond to external

investigations, and to lose financing from investors and business from future customers who no

longer trust the Company and its products. The Individual Defendants have also caused Alexion

to lose hundreds of millions of dollars as a result of over payment for repurchases of its own

stock.

         588.   As a result of the waste of corporate assets, the Individual Defendants are each

liable to the Company.

         589.   Plaintiff on behalf of Alexion has no adequate remedy at law.

                                     PRAYER FOR RELIEF

         FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor against all

Individual Defendants as follows:

                (a)    Declaring that Plaintiff may maintain this action on behalf of Alexion, and

that Plaintiff is an adequate representative of the Company;




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               (b)      Declaring that the Individual Defendants have violated Sections 10(b),

14(a) and 20(a) of the Exchange Act and SEC Rules 10b-5 and 14a-9 promulgated thereunder;

               (c)      Declaring that the Individual Defendants have breached and/or aided and

abetted the breach of their fiduciary duties to Alexion;

               (d)      Determining and awarding to Alexion the damages sustained by it as a

result of the violations set forth above from each of the Individual Defendants, jointly and

severally, together with pre-judgment and post-judgment interest thereon;

               (e)      Directing Alexion and the Individual Defendants to take all necessary

actions to reform and improve its corporate governance and internal procedures to comply with

applicable laws and to protect Alexion and its shareholders from a repeat of the damaging events

described herein, including, but not limited to, putting forward for shareholder vote the following

resolutions for amendments to the Company’s Bylaws or Articles of Incorporation and the

following actions as may be necessary to ensure proper corporate governance policies:

                     1. a proposal to strengthen the Board’s supervision of operations and develop

            and implement procedures for greater shareholder input into the policies and

            guidelines of the board;

                     2. a provision to permit the shareholders of Alexion to nominate at least five

            candidates for election to the board;

                     3. a proposal to ensure the establishment of effective oversight of compliance

            with applicable laws, rules, and regulations; and

                     4. a proposal prohibiting the Company from repurchasing common stock on

            the open market or from senior executives pursuant to Rule 10b5-1 trading plans

            within six months of sales of Alexion common stock by the Company’s senior




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           executives.

                (f)   Awarding Alexion restitution from Individual Defendants, and each of

them;

                (g)   Awarding Plaintiff pre and post judgment interest and the costs and

disbursements of this action, including reasonable attorneys’ and experts’ fees, costs, and

expenses; and

                (h)   Granting such other and further relief as the Court may deem just and

proper.


Dated: September 22, 2017                      Respectfully submitted,

Of Counsel:                                    FARNAN LLP

THE ROSEN LAW FIRM, P.A.                       /s/ Brian E. Farnan
Phillip Kim                                    Brian E. Farnan (Bar No. 4089)
275 Madison Avenue, 34th Floor                 Michael J. Farnan (Bar No. 5165)
New York, NY 10016                             919 N. Market St., 12th Floor
Telephone: (212) 686-1060                      Wilmington, DE 19801
Facsimile: (212) 202-3827                      Telephone: (302) 777-0300
Email: pkim@rosenlegal.com                     Facsimile: (302) 777-0301
                                               Email: bfarnan@farnanlaw.com
THE BROWN LAW FIRM, P.C.                       Email: mfarnan@farnanlaw.com
Timothy W. Brown
240 Townsend Square
Oyster Bay, NY 11771
Telephone: (516) 922-5427
Facsimile: (516) 344-6204
Email: tbrown@thebrownlawfirm.net
                                               Attorneys for Plaintiff




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